Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 1 of 76 PageID: 65741




                         Exhibit 25
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page   2 of 76 PageID: 65742
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  Risk factors for ovarian cancer: a case -control study
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                               Summary A hospital-based case-control study of ovarian cancer was conducted in London and Oxford
                               between October 1978 and February 1983. Menstrual characteristics, reproductive and contraceptive history
                               and history of exposure to various environmental factors were compared between 235 women with his-
                               tologically diagnosed epithelial ovarian cancer and 451 controls. High gravidity, hysterectomy, female sterilisa-
                               tion and oral contraceptive use were associated with a reduced risk of ovarian cancer. Infertility and late age
                               at menopause were associated with an increase in risk. While these factors were related, they were each found
                               to be independently associated with ovarian cancer risk after adjusting for the effect of the other factors.




  While results from recent case -control studies have con-              and clear cell in 12 (5%) cases. Mixed and undifferentiated
  sistently shown that multiparity and oral contraceptive use            types of epithelial tumours accounted for the remaining 32
  are associated with a reduced risk of ovarian cancer, the              (14%) cases. Excluded from the analyses were nine women
  association of the cancer with other reproductive, hormonal            with a non-epithelial ovarian neoplasm, 11 with a primary
  and related factors such as age at menopause, history of               tumour in an unknown site outside the ovary, 21 with a
  hysterectomy or use of oestrogen replacement therapy is less           primary tumour in an unknown site although one consistent
  clear. We have conducted a hospital-based case-control                 with an ovarian origin, one with a benign tumour and three
  study in London and Oxford which was designed to inves-                for whom pathology material could not be obtained.
  tigate the independent contributions of reproductive history              For each case it was planned to select two age-matched
  and contraceptive use to ovarian cancer risk. In particular, it        controls from women being treated in the same hospital.
  was planned to attempt to segregate out the effect on risk of          Women with bilateral oophorectomy were excluded from the
  infertility from that of voluntary limitation of family size.          control group as were women admitted with conditions that
  The association between ovarian cancer and other possible              have been related to reproductive history or oral contracep-
  aetiological agents was also examined.                                 tive use (all circulatory and gynaecological diseases, gallblad-
                                                                         der and thyroid diseases, rheumatoid arthritis, malignant
                                                                         disease of the breast, uterus and bladder, and melanoma).
  Subjects and methods                                                      It proved logistically impossible to select two age-matched
                                                                         controls for each case from the same hospital and it was
  Between October 1978 and February 1983 five interviewers               decided merely to ensure that the age distribution of the
  identified and questioned women with a diagnosis of ovarian            controls was approximately the same as that of the cases.
  cancer and women selected as controls at 13 hospitals in               For 63 cases recruited from a London hospital where only
  London and two in Oxford. A standard questionnaire was                 cancer patients are treated, controls were selected from other
  used to obtain information on reproductive and menstrual               London hospitals. For these reasons, the data were analysed
  history and on exposure to various substances such as                  using an unmatched approach with adjustments being made
  exogenous oestrogens, cigarettes and talc. A month by month            to relative risk estimates for age and socio-economic status.
  record was made of the specific contraceptive methods used             A total of 451 controls have been included in the analyses.
  by each woman between the ages of 16 and 45 years, or, if              The admission diagnoses for these patients were gastrointes-
  under 45 years, up to the time of diagnosis (cases) or inter-          tinal disease (105), bone or joint disease (70), respiratory
  view (controls). The methods were classified as sheaths,               disease (39), renal or other urinary disease (35), neurological
  diaphragms, intrauterine devices, oral contraceptives or               disease (30), fractures or other injuries (28), skin or sub-
  'other methods' (spermicides, rhythm and coitus interruptus).          cutaneous tissue disease (17), malignant neoplasms of the
  Women who reported using a contraceptive diaphragm were                digestive organs (15) and bone or skin (2), benign neoplasms
  asked if they had stored it in talc. Also recorded were                of the digestive organs (4) respiratory system (4) and other
  months during which a woman was not using contraception                sites (8) and various other conditions and symptoms (94).
  due to sexual abstinence, pregnancy, menopause or because              This final category included patients with haemorrhoids (15)
  she or her partner had been sterilised. The other months               and those with symptoms relating to the respiratory system
  when a woman reported using no method of contraception                 (10), gastrointestinal tract (20) and urinary system (10).
  although sexually active have been classified as months of                Maximum likelihood estimates of relative risk (RR)
  'unprotected intercourse'. The total duration of use of each           together with their 95% confidence interval (95% CI) and
  contraceptive method, of any contraceptive method, of unp-             tests for trend where appropriate were computed by multiple
  rotected intercourse and of pregnancy were computed for                logistic regression techniques (Breslow & Day, 1980) using
  each woman.                                                            the GLIM statistical package (Baker & Nelder, 1978). All
     The study was confinied to women aged less than 65 years            relative risks have been adjusted for age in 5-year strata
  whose diagnosis of ovarian cancer had been made within two             (20-24, 25-29, . . . 60-64) and for social class in six
  years of interview. A total of 280 cases were interviewed and          categories (1,II,JII non-manual, III manual, IV and V). Age
  pathological specimens were histologically classified by Pro-          of the cases was taken as age at diagnosis of ovarian cancer
  fessor C. Hudson and Dr M. Curling from St Bartholomews                and of the controls as age at interview. Social class was based
  Hospital. A total of 235 women with epithelial ovarian                 on occupation (Office of Population Censuses and Surveys,
  cancer were included in the analyses. For these women, the             1970) using husband's occupation for ever married women
  tumour type was described as serous in 101 (43%) cases,                and own occupation for those who had never married. Other
  mucinous in 38 (15%) cases, endometrioid in 52 (22%) cases             relative risk adjustments and tests for trend have been made
                                                                         with the exposures as continuous variables. When the data
  Correspondence: M. Booth.                                              were examined by place of interview (London or Oxford),
  Received 3 February 1989; and in revised form 9 May 1989.              there were no notable differences in the risk estimates
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 3 of 76 PageID: 65743
                                                                                       RISK FACTORS FOR OVARIAN CANCER                                     593

  associated with the major variables of interest. The relative         Table II Relative risks for ovarian cancer associated with pregnancy
  risks have not, therefore, been stratified by place of interview.                                    history
  The terms nulligravid and gravid have been used to denote,            Variable                        Cases Controls                  RR        (95% CI)
  respectively, women who have never knowingly conceived
  and women who have had at least one pregnancy. Parity has             Gravidityb
  been defined as number of live and still births.                        Gravid                         176            376             1.Oa
                                                                          Nulligravid                     59             74             1.7       (1.1 -2.6)
                                                                        Nulligravid and ever
  Results                                                               sexually active                   37            44              1.9       (1.1-3.1)
                                                                        Nulligravid and never
  The age distributions of the cases and controls are shown in          sexually active                   22            30              1.5       (0.8-2.6)

  Table I. The average age of the cases was slightly higher than        Number of pregnancies
  that of the controls. There was an excess of cases in social               0                            59             74             1.Oa
  classes I, II, and III non-manual (58%) as compared to                                                  43             71             0.8       (0.4-1.3)

  controls (43%) (P = 0.05) and, because of this, all relative               2                            63            107             0.7       (0.4-1.1)
                                                                             3                            37             98             0.5       (0.3-0.8)
  risks have been adjusted for social class as well as age. Table            4                            13             41             0.4        (0.2-0.8)
  II shows the relative risks for ovarian cancer associated with                                          20             59             0.4        (0.2-0.8)
  various aspects of pregnancy history. Nulligravid women had                                            x2    for   trend    =   4.3   P<0.05

  a higher risk of ovarian cancer than gravid women                                                        (gravid women only)
  (RR = 1.7, 95% CI 1.1-2.6). The relative risks were elevated          Estimated reduction in relative risk             0.86                     (0.78-0.94)
  both in nulligravid women who had been sexually active and            associated with each pregnancq y
  in those who had not, although significantly so only for the
  sexually active. Among those who had ever been pregnant,              Parityb
  the relative risks decreased as the number of pregnancies                  0                            66             87             I.Oa
                                                                                                          48             84             0.7        (0.4- 1.2)
  increased, (X2 (trend) = 4.3, P <0.05). Similarly, among                   2                            61            127             0.6        (0.4- 1.0)
  parous women, the higher the parity the lower the relative                 3                            40             88             0.6        (0.3- -1.0)
  risks (X2 (trend) = 3.9, P <0.05). After adjusting for parity,             4                            12             30             0.5        (0.2- 1.0)
  the relative risks associated with successive numbers of                                                 8             34             0.3        (0.1- -0.7)
  incomplete pregnancies (spontaneous and induced abortions)                                              x2 for trend        =   3.9 P<0.05

  also decreased although the trend was not statistically                                                  (parous women only)
  significant (X2 (trend) = 0.5). Women having their first preg-        Estimated reduction in relative risk            0.84   (0.75-0.94)
  nancy after the age of 35 years had a significantly higher risk       associated with each birth
  of ovarian cancer than women with a first pregnancy before            No. of incomplete preg-
  the age of 20 years. Their risk was also higher than that for         nanciesb.c
  nulligravid women. There was, however, no marked nor                       0                            185           330
                                                                                                                                        l
                                                                                                                                            .02
  significant trend of increasing risk the later the age at first                                          39            83         0.9            (0.6- -1.4)
  pregnancy (X2 (trend) = 1.0). Analyses by age at first livebirth           2                                 7         18         0.7            (0.3- -1.8)
  gave similar findings. After adjustment for number of livebir-                                               4         19         0.6            (0.2- -1.7)
                                                                                                                                   = 0.5
  ths, women who had breastfed for more than two years in                                                          X2
  total had over three times the risk of ovarian cancer com-            Estimated reduction in relative                                 0.92      (0.75- 1.13)
  pared to women who had never breastfed (P < 0.05) but                 risk associated with each incomplete pregnancy
   overall, there was no significant trend the longer the duration
   of lactation.                                                        Age at first pregnancy
                                                                        (years)d
      Analyses of infertility and subfertility as risk factors for         15- 19                         26             65              1.02
   ovarian cancer were restricted to the 213 (91 %) cases and 240          20 -24                         73      182       0.9    (0.5- 1.5)
   (93%) controls who reported that they had ever been sexually            25 -29                         49       96       1.2    (0.7-2.2)
   active. Among these women, 30 (14%) with ovarian cancer and             30-34                          17       29       1.2    (0.8-2.7)
   34 (8%) controls reported, when so questioned, that they had                   35                       9        4       4.1    (1.1 -15.1)
   had problems in becoming pregnant and, of these, 16 cases and        Nulligravid                       59       74       2.0    (1.1 -3.7)
   12 controls had never conceived. Analysis of the data on                                        x2 for trend = 1.0 (gravid women only)
   contraceptive use suggested that there were other women who          Months of lactatione
   might have been infertile or subfertile. Although sexually active,   None                              44            107              1.0o
   they had used contraception infrequently or not at all and had            <6                           66            124      1.3               (0.8- -2.2)
   had few or no pregnancies. For all women who had ever been              7-12                           29             80      0.9               (0.5- -1.6)
   sexually active, the risk of ovarian cancer increased with             13- 18                          13             29      1.2               (0.5- -2.5)
   increasing duration of unprotected intercourse after adjustment        19-24                            5              7      2.1               (0.7- -6.7)
   for gravidity (X2 (trend) = 10.2, P <0.01). The effect was most           ,25                          12             15      3.4               (1.1 -10.8)
   marked among nulligravid women who reported more than 10                                                        x2 for trend = 1.8
   years of unprotected intercourse. Their risk was over six times        All relative risks adjusted for age and social class. 'Reference
   that of nulligravid women who reported less than three months        category. b Data missing for I control. cRelative risks adjusted for parity.
   of unprotected intercourse (Table III). Among gravid women,          dData missing for 2 cases and 1 control. eWomen with livebirths only.
                                                                        Relative risks adjusted for number of live births.
   those reporting over 10 years of unprotected intercourse had a
   higher risk than other gravid women. There was no significant
   trend in risk associated with the duration of use of any             contraception (X2 (trend) = 1.2) although sexually active nulli-
                                                                        gravid women who had never used any method of contraception
                                                                        had about twice the risk of ovarian cancer compared to all other
    Table I Age distribution and average age of cases and controls      sexually active women (Table IV).
  Age (years)                 Cases (%)             Controls (%)           Of the specific methods of contraception studied, ever having
                                                                        used oral contraception and having been sterilised were
  20-34                         13 (5.5)               33 (7.3)         associated with a statistically significantly reduced risk of
  35-44                        27 (11.5)               75 (16.6)
                                                                        ovarian cancer, while no method was associated with a
  45-54                         87 (37.0)             156 (34.6)
  55-64                        108 (46.0)             187 (41.5)        significantly elevated risk (Table V). As only three cases had
                                                                        been sterilised it was not possible to assess whether age at
  Total                           235                    451            sterilisation influenced the risk of ovarian cancer. Table VI
  Average age (years)             52.4                   51.4
                                                                        shows detailed analyses of the relative risks associated with oral
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 4 of 76 PageID: 65744
 594      M. BOOTH et al.

 Table III Relative risks for ovarian cancer associated with duration of     contraceptive use. The risks decreased as duration of use
                 unprotected intercourse by gravidity                        increased although, among those who had ever used such
                                                     RR      (95% CI)
                                                                             contraceptives, the trend was not significant (X2 (trend) = 1.2).
                               Cases Controls                                Whatever their age at first use, women who used oral contracep-
 Nulligravid women                                                           tives had a lower risk of ovarian cancer than those who had
 Duration of un-                                                             never used them, the risk being lowest in those who had first
 protected intercourse (months)b                                             used oral contraceptives under the age of 25 years. The risk of
    <,3                                                                      developing ovarian cancer did not increase as time since
   4-60                           12      26      1.oa       (0.4-6.5)
   61-120                          4       6      1.5        (0.1-7.8)       discontinuing use increased. Women who had stopped using
   > 120                           1       4      0.7        (2.1-20.4)      oral contraceptives more than ten years previously had a
                                  20       8      6.5                        statistically significant reduced risk of 0.3 compared to women
                      X2 for trend = 11.2 P<0.001                            who had never used them. Women both under the age and over
 Gravid women                                                                the age of 40 years had a reduced risk of ovarian cancer
 Duration of un-                                                             associated with oral contraceptive use, but the reduction was
 protected intercourse (months)b                                             greater in the younger women. Gravid and nulligravid women
    <,3                                                                      who had used oral contraceptives had a reduced risk of ovarian
   4-60                            78      176        1.1 (0.5-2.4)          cancer.
   61-120                          51       113       1.1 (0.5-2.6)             Table VII shows the relative risks associated with age at
   > 120                           10        27       1.1 (0.4-3.2)          menarche and age at natural menopause. There was no trend in
                                   37       60        1.6 (0.7-4.0)          risk with age at menarche (X2 (trend) = 0.03). In contrast, risk
                       X2 for trend = 2.6                                    increased the later the age at natural menopause (X2 (trend) =
    Sexually active women only. Relative risks adjusted for age and social   7. 1, P < 0.01). Women having their menopause at the age of 50
 class. aReference category. bTime when sexually active and at risk of       years or later had nearly three times the risk of women who were
 pregnancy but using no contraception.                                       menopausal before the age of 45 years. The risks and trend
                                                                             associated with age at menopause were similar irrespective of
                                                                             whether they were adjusted for age in five year or one year strata.
  Table IV Relative risks for ovarian cancer associated with duration of     Table VI Relative risks for ovarian cancer associated with oral
                  use of contraception by gravidity                                              contraceptive (OC) use
                                Cases Controls        RR     (95% CI)                                       Cases Controls           RR      (95% CI)
  Nulligravid women                                                          Duration of OC use
  Duration of use of con-                                                    (years)
  traception                                                                    Never used                   178       306           l.O"
    Never used                    15     10           1.0"
                                                                                <5                            24        70           0.6 (0.3- '1.0)
     < 10 years                   14     21           0.5    (0.1 -1.7)         5-10                          10        29           0.6 (0.2- 1.4)
    10-20 years                    6       9          0.5    (0.1-2.5)          >10                            1        15           0.1 (0.01 1.0)
    > 20 years                     2      4           0.4    (0.1 -3.2)                                     x2 for trend within users = 1.2
                      X2 for trend = 0.9
                                                                             Age at first OC use
  Gravid women                                                               (years)
  Duration of use of con-                                                       Never used                    178       306           1.0"
  traception                                                                     <25                             6       39           0.1 (0.04 --0.5)
    Never used                    32      47          0.4    (0.2-1.1)          25-29                            6       17           0.6 (0.2 2.0)
     < 10 years                   25      56          0.3    (0. I - 1.0)       30-34                          11        27           0.7 (0.3 1.6)
     10 -20 years                 55     147          0.4    (0.1 -1.2)          B 35                           12       31           0.7 (0.4 1.5)
    > 20 years                    64     126          0.5    (0.2-1.5)                              2 for trend within users   =   5.9, P <0.05
                       x2 for trend = 0.3
                                                                             Time since
     Sexually active women only. Relative risks adjusted for age, social     discontinuing OC use
  class and duration of unprotected intercourse. aReference category.        (years)
                                                                                Never used                    178       306           1.0"
                                                                               Current users                    6        19           0.5    (0.2 1.5)
                                                                                <5                             12        24           0.8    (0.4- 1.9)
                                                                                5- 10                           9        25           0.8    (0.3 - 1.9)
                                                                                >10                             8        46           0.3    (0.1 -0.7)
  Table V Relative risks for ovarian cancer associated with the use of
                                                                                  >I
                                                                                        0~~         ,2for trend within users   =   2.6
                 different methods of contraception
                                                                              Age (years)
  Method of contraception        Cases Controls RR            (95% CI)          <40
                                                                                  OC use
  Sheath          Never used      108      205       l.0a                                   Never used        11        11            1.0
                   Ever used      105      215       1.1      (0.8-1.7)                      Ever used         9        35           0.2     (0. 1 -0.9)
  Diaphragm Never used            178      329       1.Oa                         40
                   Ever used        35      91       0.7      (0.4-1.1)           OC use
  Intrauterine    Never used      201      383       1.Oa                                   Never used       167       295            1.0"
  device           Ever used        12      37       0.8      (0.4- 1.7)                     Ever used        26        79           0.7     (0.4-- 1.2)
  Oral            Never used       178     306       1.Oa                     Gravidity
  contraception Ever used           35     114       0.5      (0.3-0.9)       Gravid womenb
                                                                                  OC use
  Partner with           No       203      404       1.Oa                                  Never used       149      280        1.0"
  vasectomy              Yes        10      16       2.1      (0.9-4.9)                     Ever used        27       96       0.5 (0.3 -0.9)
  Female                 No       210      375       lO.a                     Nulligravid women
  sterilisation          Yes         3      45       0.2      (0.1 -0.6)           OC use
  Other          Never Used        156     292       1.oa                                  Never used       29        26        1.0l
  methodsb         Ever used        57     128       1.1      (0.7 -1.7)                    Ever used         8       18       0.3 (0.05 -2.8)
     Sexually active women only. Relative risks adjusted age, social
                                                          for                   Sexually active women only. Relative risks adjusted for age, social
  class, gravidity and duration of unprotected intercourse. aReference        class, gravidity and duration of unprotected intercourse. aReference
  category. bUse of spermicides, rhythm or coitus interruptus.                category. bRelative risks adjusted for gravidity.
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 5 of 76 PageID: 65745
                                                                                                      RISK FACTORS FOR OVARIAN CANCER                         595


  Table VII Relative risks for ovarian cancer associated with age at                 significantly increased risk of ovarian cancer associated with
              menarche and age at natural menopause                                  ever having recieved hormone replacement therapy (Table X).
                                 Cases Controls         RR     (95% CI)
                                                                                     The excess was confined to women who had reported a
                                                                                     hysterectomy who had an 1-fold risk. The cases did not report
  Age at menarche                                                                    more severe menopausal symptoms. Among the hormone
  (years)b                                                                           treated women with ovarian cancer, 23% had endometrioid or
    >14                            97       197         l.Oa                         clear cell tumours compared to 38% in the untreated women.
    12- 13                         89       185         0.9     (0.6- 1.3)              The reproductive and related factors found to be statistically
    < 12                           46        66         1.3     (0.8-2.1)
                        X2 for trend = 0.03                                          significantly related to ovarian cancer risk (gravidity, duration
                                                                                     of unprotected intercourse, use of oral contraception, having
  Age at natural                                                                     been sterilised, age at natural menopause and having had a
  menopause (years)c                                                                 hysterectomy) are not independent and we also computed the
    < 45                           10        34        1.oa                          relative risks associated with each factor after adjusting for the
    45-49                          47        77        2.0 (0.9-4.7)
    >50                            84        99        2.5 (1.1-5.8)                 others (Table XI). As sterilisation is often a consequence of high
                       X2 for trend =7.1 P <0.01                                     parity, the risks associated with gravidity were not adjusted for
    Relative risks adjusted for age and social class. aReference category.
                                                                                     sterilisation as this was considered to be overadjustment. In this
  bData on age at menarche missing for 3 cases and 3 controls. cData on              study, 40% of the sterilised women had five or more children
  age at menopause missing for 2 cases and 1 control.                                compared with 9% of the unsterilised women. Each of the
                                                                                     variables remained statistically significantly related to ovarian
                                                                                     cancer risk, suggesting that each may be independently
  Women who reported hysterectomy, with or without unilateral                        associated with the risk of developing ovarian cancer.
  oophorectomy, had a much reduced risk (Table VIII). Since                              There was no significant difference between the percentage of
  there were only 10 women with ovarian cancer who had had a                          cases (53%) and controls (57%) who had ever smoked cigaret-
  hysterectomy it was not possible to assess the effect of age at                     tes. No cases or controls reported having worked with asbestos.
  hysterectomy on ovarian cancer risk.                                                No cases but three controls reported a radiation-induced
    Total duration of ovulation was estimated as the months from                      menopause.
  menarche to diagnosis (cases) or interview (controls), or to                           Women who reported using talc more than once a week or
  menopause, whichever came first, minus the total months of                          daily had higher risks of ovarian cancer than women who
  anovulation due to pregnancy and oral contraceptive use.                            reported less frequent use (Table XII). Although the relative risk
  Women who reported a hysterectomy were excluded from these                          of 2.0 associated with weekly use was statistically significant
  analyses as it was unknown if or when they had stopped
  ovulating. For all women combined, there was a strong trend of
  increasing risk the longer the duration of ovulation (X2 (trend)
  = 17.8, P <0.001) (Table IX). In separate analyses by                                 Table VIII Relative risks for ovarian cancer associated with reported
                                                                                              history of hysterectomy and/or unilateral oophorectomy
  menopausal status, there was no significant effect of duration of
  ovulation after adjustment for the 'anovulatory' factors used to                                                     Cases Controls       RR      (95% CI)
  estimate that exposure, namely, months of pregnancy and oral                          Reported womb intact            220    370           1.Oa
  contraceptive use and age at menopause for post-menopausal                            Reported unilateral               5       9          0.9     (0.4-2.1)
  women and months of pregnancy and oral contraceptive use for                          oophorectomy by no
  premenopausal women. Duration of ovulation is very sensitive                          hysterectomy
  to age but the risks and trends were virtually unaffected when                        Reported hysterectomy             8        62        0.2     (0.1-0.4)
  adjusted for age in one year rather than five year strata.                            but conserved ovaries
     Five (2%) cases and 29 (6%) controls reported having taken                         Reported hysterectomy             2        10        0.4     (0.1 -1.1)
  hormone pills as a pregnancy test and five (2%) cases and 13                          and unilateral
  (3%) controls had been given hormones to prevent miscarriage.                         oophorectomy
  For all post-menopausal women, there was a small but non-                               Relative risks adjusted for age and social class. aReference category.


                                  Table IX Relative risks for ovarian cancer associated with duration of ovulation
                                                                                                                                        Relative risks
                                                                                                               Relative risks           adjusted for age,
                                                                                                               adjustedfor age,         social class,
                                                                                               Relative risks social class and          duration of
                                       Duration of                                            adjusted for age duration of              anovulation and age
                                    ovulation (years)          Cases         Controls         and social class anovulation              at menopause
   All womenb
                                           < 30                 59             163                  1.0a
                                          30- 34                73             106                  2.0
                                          35 -39                68              92               2.0
                                           >40                  19              13               4.3
                                                                                 X2 for trend = 17.8 P < 0.001
   Post-menopausal women
                                            < 30                14              53               1.0                      1.0a                      1.0"
                                          30-34                 54              81               2.4                      2.1                       0.9
                                          35 -39                58              72               2.4                      1.9                       0.6
                                           >40                  14              10               5.0                      4.0                       0.7
                                                                                 X2 for trend = 12.3 P <0.001              7.7P <0.01               0.5
   Premenopausal women
                                           < 30                 45             110     1.0a                  1.0a
                                          30-34                 19              25     1.5                   1.1
                                          35-39                 10              20     1.3                   0.9
                                           > 40                  5               3     3.2                   1.9
                                                                      X2 for trend = 4.4 P < 0.05            0.6
     Women reporting a hysterectomy excluded: aReference category. bData missing for 6 cases and 4 controls. cTotal months of pregnancy and oral
   contraceptive use.
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 6 of 76 PageID: 65746
  596       M. BOOTH et al.

  Table X Relative risks for ovarian cancer associated with the use of         (P = 0.007), there was no consistent trend of increasing risk
        hormone replacement therapy for menopausal symptoms                    with increasing frequency of talc use (X2 (trend)= 3.80,
                                  Cases Controls RR (95% CI)                   P = 0.05). There was no significant difference between the
                                                                               percentages of cases (86%) and controls (81 %) who had used
  All post-menopausal                                                          and kept their diaphragm in talc.
  women
     Use of hormone
    replacement therapy
       No                          122    249      1.oa
       Yes                          34      44     1.5 (0.9-2.6)               Discussion
  Women reporting                                                              As in most previously reported studies (Booth & Beral, 1985)
  hysterectomy                                                                 we found that nulligravid women had an increased risk of
     Use of hormone
    replacement therapy                                                        ovarian cancer and that risk decreased as the number of
       No                           5      62      1.0a                        pregnancies increased. We also found that the greater the
       Yes                           5     10     10.9 (1.7-69.0)              number of incomplete pregnancies the lower the risk,
  Post-menopausal                                                              although the trend was not significant. Most other studies
  women other than                                                             have not investigated if women of low gravidity have an
  those reporting                                                              increased risk of ovarian cancer because of reduced fertility
  hysterectomy                                                                 or because of voluntary limitation of family size, although
     Use of hormone                                                            Joly et al. (1974), McGowan et al. (1979) and Nasca et al.
     replacement therapy                                                       (1984) found a higher risk in women who had tried to
       No                          177     187     1.oa                        conceive but had failed. Our findings also suggest that infer-
       Yes                           29     34     1.2 (0.7 -2.3)              tility is a risk factor for ovarian cancer. Women who had not
     Post-menopausal women only. Relative risks adjusted for age and           conceived but had been sexually active for more than 10
  social class. aReference category.                                           years without using contraception had about six times the
                                                                               risk of all other women. Approximately half these women
  Table XI Relative risks associated with the factors found to be              had undergone investigations for infertility. For only five
               significantly related to ovarian cancer                         cases and one control was the cause of their infertility deter-
  Factor               RR       (950% CI)         X2 test for trend (1 d.f.)   mined. Thus, it is not possible to assess whether this high risk
  Graviditybc                                                                  group had normal or impaired ovarian function. Subfertility
       0               1.0a                                                    may also be associated with ovarian cancer. Gravid women
       1               0.8     (0.4 -1.5)                                      reporting over 10 years of unprotected intercourse had a
       2               0.8     (0.4 -1.4)                                      50% higher risk than other gravid women, but this increase
       3               0.6     (0.3 -1.1)                                      was not statistically significant.
       4               0.4     (0.2 -1.0)                                         Age at first pregnancy was not found to be associated with
   ,   5               0.5     (0.2 -1.0)               6.5 P<0.05             ovarian cancer risk although women having a first pregnancy
  Unprotected                                                                  after the age of 35 years had a higher risk compared to
    intercourse (months)b                                                      women having a first pregnancy at earlier ages and to nullig-
   <3                 1.0a                                                     ravid women. Since subfertility might be a risk factor for
   4- 60              1.3      (0.8 -2.0)                                      ovarian cancer, the relative risks associated with age at first
  61 -120             1.1      (0.5 -2.5)                                      pregnancy were also adjusted for duration of unprotected
    > 120             1.9      (1.2 -3.2)               7.8 P <0.05            intercourse. The raised risk for women with a first pregnancy
  Oral contraceptive useb                                                      after 35 years persisted (RR = 3.9, 95% CI 1.1- 14.2). Results
  Never used          1.oa                                                     from other studies regarding the risk for women having a
    < S years         0.6      (0.3 -1.1)                                      first child at relatively older ages are inconclusive, some
  6- 10 years         0.6      (0.3 -1.4)                                      finding no association (Newhouse et al., 1977; Casagrande et
  > 10 years          0.1      (0.02 -1.1)              4.6 P < 0.05           al., 1979; Cramer et al., 1983; Lesher et al., 1985), others an
  Ever sterilizedb    0.2      (0.05 -0.6)*                                    increased risk (Joly et al., 1974; McGowan et al., 1979;
  Age at natural                                                               Hildreth et al., 1981; Franceschi et al., 1982). Only Frances-
       menopaused                                                              chi et al. (1982) found the increased risk to be statistically
   < 45 years          1.oa                                                    significant and independent of parity.
  45-49 years          1.9     (0.8 -4.5)               8.2 P <0.01               Overall, there was no association between use of any con-
     50 years          2.6     (1.1 -6.1)                                      traception and ovarian cancer. Of the specific methods
  Ever reported        0.2     (0.1 -0.5)*                                     studied, female sterilisation and use of oral contraception
       hysterectomyb                                                           were associated with a significant reduction in risk and no
     The relative risks associated with each factor have been adjusted for     method was associated with a significant increase in risk. The
  age, social class and all the other factors in the table. aReference         associations remained after adjusting for gravidity and dur-
  category. bSexually active women only. cRelative risks not adjusted for      ation of unprotected intercourse, the measure used to
  sterilization, see text for details. dWomen reporting natural menopause      indicate infertility. While few studies have examined the
  only. *P < 0.001.                                                            association between female sterilisation and ovarian cancer,
                                                                               the relation between oral contraceptives and ovarian cancer
  Table XII Relative risks for ovarian cancer associated with reported         has been demonstrated in many studies (Booth & Beral,
               frequency of talc use in the genital area
                                                                               1985). Like others, we demonstrated that the longer oral
                              Cases    Controls        RR        (95% CI)      contraceptives had been used, the lower the risk. Our findings
  Reported frequency                                                           also suggested that the earlier the age at first use the lower
    of talc useb                                                               the risk and that the protective effect of oral contraceptives
  Never                        76           178        1.oa                    persists after their use is stopped.
  Rarely                        6            16        0.9     (0.3-2.4)          It has been suggested that inhibition of ovulation, as
  Monthly                       7            24        0.7     (0.3-1.8)       induced by pregnancy and oral contraceptives, is the factor
  Weekly                       57            77        2.0     (1.3 -3.4)      which protects against ovarian cancer (Fathalla, 1971). If so,
  Daily                        71           139        1.3     (0.8- 1.9)      postpartum anovulation associated with lactation might also
                                     X2 for trend = 3.80, P = 0.05             be expected to be protective. We found no evidence that the
     Relative risks adjusted for age and social class. aReference category.    longer a woman had breastfed the lower her risk of ovarian
  bData missing for 18 (8%) cases and 17 (4%) controls as questions on         cancer. Indeed, the highest risk was found in those who had
  talc use introduced three months after study began.                          breastfed longest. Results from other studies are contradic-
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19   Page
                                                  RISK FACTORS FOR 7 of 76 PageID:
                                                                   OVARIAN CANCER 65747
                                                                                   597

  tory (Cramer et al., 1983; Mori et al., 1984; Risch et al.,               related with the 'anovulatory' factors used to estimate the
  1983; Cancer and Steroid Hormone Study, 1987).                            exposure. In an attempt to determine whether duration of
      Our finding that age at menarche was not associated with              ovulation had an effect over and above that expressed by its
  risk is consistent with results from most other studies (Casa-            relation with these factors, the risks and trends were adjusted for
  grande et al., 1979; McGowan et al., 1979; Hildreth et al.,               duration of anovulation due to pregnancy and oral contracep-
  1981; Franceschi et al., 1982). Age at natural menopause,                 tive use and, where appropriate, for age at menopause. The
  however, was strongly related to risk. While Hildreth et al.              significance of the effect disappeared. We conclude that it is not
  (1981), Franceschi et al. (1982) and Tzonou et al. (1984) also            possible to determine from these data whether it is the above
  demonstrated that the later the age at menopause the greater              factors which inhibit ovulation that prevent ovarian cancer,
  the risk, other studies have found no association (West, 1966;            whether repeated ovulations promote it, or whether a combina-
  Newhouse et al., 1977; Annegers et al., 1979; McGowan et                  tion of both is acting.
  al., 1979; Cramer et al., 1983).                                             Our finding of no overall relationship between hormone
      A lower frequency of hysterectomy, of unilateral oophorec-            replacement therapy and ovarian cancer supports those of other
  tomy, or of both among cases compared to controls has also                investigators (Newhouse et al., 1977; Hildreth et al., 1981; Weiss
  been reported from several other studies (Wynder et al.,                  et al., 1982). An increased risk associated with the therapy was
   1969; Joly et al., 1974; Annegers et al., 1979; McGowan et               found among women who reported hysterectomy, but the
  al., 1979; Franceschi et al., 1982; Cramer et al., 1983). As              finding was based on very few cases and may have been due to
  these studies were case-control in design, there may have                 chance. We did not find an increased risk associated with
  been some misclassification of controls who, rather than                  oestrogen therapy for any particular tumour types as suggested
  having a hysterectomy with ovarian conservation, actually                 by Cramer et al. (1981) and Weiss et al. (1982).
   had a hysterectomy with bilateral oophorectomy. Another                     The evidence linking talc with ovarian cancer is controversial
  explanation for the findings might be that if at hysterectomy             (Anonymous, 1977; Roe, 1979; Longo & Young 1979; Cramer
   a woman's ovaries look diseased, it is likely that they are              et al., 1982; Hartge et al., 1983). In this study, women who
   removed. If the diseased ovaries were precancerous, those                reported talc use in the genital area more than once a week or
   women who might otherwise have developed ovarian cancer                  daily had higher risks of ovarian cancer than women who used
   do not. Following hysterectomy with ovarian conservation,                talc less frequently. The women were not asked how long they
   reduced ovarian function or ovarian failure occurs in a pro-             had been using talc. It is possible that because of their symptoms
   portion of women, due possibly to the blood supply to the                or disease-related pelvic examinations, the frequency of current
   ovaries being compromised (Beavis et al., 1969; Ellsworth et             talc use by the cases may not have reflected their frequency of
   al., 1983). Female sterilisation was also associated with a low          past use. Since these and other results (Cramer et al., 1982;
   risk of ovarian cancer. Neil et al. (1975) have suggested that            Hartge et al., 1983) are insufficient to reject an association,
   the menstrual disturbance that many women experience after                further work is needed on the relation between genital use of talc
   sterilisation may reflect changed ovarian function due to                 and ovarian cancer.
   damage to the vascular supply to the ovaries. If both
   hysterectomy and female sterilisation can indirectly affect              We would like to thank the Imperial Cancer Research Fund for
   ovarian function then both procedures could also influence               financing the study, Professor Sir Richard Doll for helpful advice,
                                                                            Professor Christopher Hudson and Dr Marigold Curling for reviewing
   the risk of ovarian cancer.                                              the histology, Dr Eve Wiltshaw, the consultants, nurses and other staff
       Recent investigators have shown that the longer a woman              of the participating hospitals for their co-operation and support of the
   ovulates the greater her risk of ovarian cancer (Casagrande et           study, Ann Bateman, Kate Rodriques, Gillian Saunders and Rosalie
   al., 1979; Hildreth et al., 1981; Franceschi et al., 1982; Wu et al.,    Thomson for their skilful interviewing, and Nina Saroi for typing the
    1988). We also found that risk increased the longer the duration        manuscript. Margaret Booth is funded by a grant from the Medical
   of ovulation. Duration of ovulation is, however, highly cor-             Research Council.




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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 9 of 76 PageID: 65749




                         Exhibit 26
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 10 of 76 PageID:
                                  65750




  Perinea! Exposure to Talc and Ovarian Cancer
  Risk
  BERNARD L. HARLOW, PhD, DANIEL W. CRAMER, MD, ScD, DEBRA A. BELL, MD,
  AND WILLIAM R. WELCH, MD

  Objective: We sought to detennine whether the use of talc in             lium to induce such mesotheliomas. Longo and
  genital hygiene increases the risk for epithelial ovarian                Young3 further speculated that cosmetic talc might act
  cancer.                                                                  in this manner because of its chemical similarity to
    Metltods: We interviewed 235 white women diagnosed
                                                                           asbestos. Although there is little doubt that asbestos
  with epithelial ovarian cancer between 1984-1987 at ten
  Boston metropolitan area hospitals and 239 population-                   may induce mesotheliomas, the link between genital
  based controls of similar race, age, and residence.                      exposure to talc and ovarian cancer is less clear.
    Results: Overall, 49% of cases and 39% of controls re-                    The few epidemiologic studies that have examined
  ported exposure to talc, via direct application to the per-              the association between talc and ovarian cancer re-
  ineum or to undergarments, sanitary napkins, or dia-                     ported only modest elevations of risk, but data on all
  phragms, which yielded a 1.5 odds ratio (OR) for ovarian                 potential sources of genital talc exposure were limit-
  cancer (95% confidence interval [Cl] 1.0-2.1). Among women               ed. 4-7 The purpose of this report was to present
  with perineal exposure to talc, the risk was significantly               findings from a new case-control study of ovarian
  elevated in the subgroups of women who applied it: 1)
                                                                           cancer conducted in the Boston metropolitan area, in
  directly as a body powder (OR 1.7, 95% CI 1.1-2.7), 2) on a
  daily basis (OR 1.8, 95% CI 1.1-3.0), and 3) for more than 10            which we considered a variety of modes for perinea!
  years (OR 1.6, 95% CI 1.0-2.7). The greatest ovarian cancer              talc exposure, the frequency and duration of use, and
  risk associated with perinea! talc use was observed in the               various reproductive characteristics that might influ-
  subgroup of women estimated to have made more than                       ence the ability of talc to enter the pelvic cavity and
  10,000 applications during years when they were ovulating                affect the ovaries.                                 ·
  and had an intact genital tract (OR 2.8, 95% CI 1.4-5.4);
  however, this exposure was found in only 14% of the women
  with ovarian cancer.                                                     Materials and Methods
     Co11cl11sio11s: These data support the concept that a life-
                                                                           Between July 1984 and September 1987, we identified
  time pattern of perineal talc use may increase the risk for
  epithelial ovarian cancer but is unlikely to be the etiology             394 women between 18-76 years of age diagnosed with
  for the majority of epithelial ovarian cancers. (Obstet Gy-              borderline or malignant epithelial ovarian cancer at
  11ecol 1992;80:19-26)                                                    one of ten participating hospitals in the Boston metro-
                                                                           politan area. Permission to contact each patient was
                                                                           obtained in advance from the physician of record. An
   The theory that human ovarian cancer may be me-                         in-person interview was conducted with 272 (69%) of
   sotheliomas that originate from asbestos exposure was                   the 394 cases identified. Thirty-one percent were not
   first proposed by Graham and Graham. 1 Later, Parm-                     interviewed because of physician and/or patient re-
   ley and Woodruff suggested that effluences that may                     fusal, patient death, or relocation. The final sample for
   arise from the vagina, uterus, or tubes might enter the                 analysis was further restricted to the 235 white women
   pelvic cavity and interact with ovarian surface epithe-                 confirmed as having an epithelial ovarian tumor based
                                                                           on an independent pathology review conducted by
                                                                           two of the authors (DAB and WRW).
      From the Obstetrics nnd Gynecology Epidemiology Center, Brigl1n111     Controls were selected from the Massachusetts
   nnd Women's Hospital, Harvard Medical Sclzool, Boston, Massac/111-      Town Books, annual publications that list residents by
   setts.
      Supported by grant R01 CA 42008 from the National Cancer             name, age, and address according to voter precincts.
   Ins titrite.                                                            For each new ovarian cancer case interviewed, a ran-



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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 11 of 76 PageID:
                                  65751



 Table 1. Influence of Any Perinea! Talc Exposure* on Ovarian Cancer Risk by Characteristics of Study Participants, Boston
          Metropolitan Area, 1984-1987
                                                Cases                                 Controls
                                                          Talc                                  Talc                Crude
                                     Total              exposure            Total             exposure               OR               95% Cl

 All subjects                        235              114 (48.5%)             239             94 (39.3%)              1.5             1.0-2.1
 Age (y)
   <50                                 96               41 (42.7%)            101             28 (28.0%)              1.9             1.2-3.4
   2:50                               139               73 (52.5%)            138             66 (47.8%)              1.2             0.8--2.l
 Education (y)
   :Sl2                                93               51 (54.8%)            115             48 (41.7%)              1.7             1.1-3.0
   >12                                142               63 (44.4%)            124             46 (37.1%)              1.4             0.9-2.4
 Marital status
   Never married                       40              14 (35.0%)              24              6 (25.0%)              1.6             0.5-5.7
   Ever married                       195             100 (51.3%)             215             88 (40.9%)              1.5             1.0-2.7
 Religion
   Jewish                              35               21 (60.0%)             21             12 (57.1%)              1.1             0.4-3.9
    Non-Jewish                        200               93 (46.5%)            218             82 (37.6%)              1.4             0.9-2.5
 Weight (lb)
    <140                              123               53 (43.1%)            125             49 (39.2%)              1.2             0.7-1.9
    ;;,:140                           112               61 (54.5%)            114             45 (39.2%)              1.8             1.1-3.1
 Use of OCs (mo)
    ;;,:3                              66               31 (47.0%)             82             27 (32.9%)              1.8             0.8--4.5
    <3 or never                       169               83 (49.1%)            157             67 (42.7%)              1.3             0.8-2.3
 No. of live-born children
    0                                  79               30 (38.0%)             43             12 (27.9%)              1.6             0.7-4.0
    1                                  31               21 (67.7%)             27              5 (18.5%)              9.2             2.9-46.2
    2                                  40               24 (60.0%)             63             26 (41.3%)              2.1             0.9-3.3
    2:3                                85               39 (45.9%)            106             51 (48.1%)              0.9             0.6-1.6
   OR = odds ratio; CI = confidence interval; OCs = oral contraceptives.
   • Sources of perinea! talc exposure include: dusting of underwear, diaphragms, or sanilary napkins; use by partner on his perinea! area; use
 as a body powder.



 dom number generator selected one page from the                          during infancy with diapering could be obtained, and
 town book corresponding to the case's precinct of                        women using talc as a body powder on areas other
 residence. By working forward in the town book, we                       than the perineum were considered nonexposed. For
 selected the first five female subjects within 2 years of                each exposure, we inquired about brands used, age at
 age of the case as potential controls. Of these five, the                first use, total years of use, and frequency of use per
 first subject of the same race as the case without a                     month, to enable us to estimate the total lifetime
 history of a bilateral oophorectomy was asked to par-                    number of applications from all sources of exposure.
 ticipate in the study. Of the 526 controls contacted, 239                   Differences between cases and controls in the distri-
 interviews were conducted (25% could not be reached,                     bution of these various exposures to talc were exam-
 10% reported a history of bilateral oophorectomy, and                    ined both qualitatively and quantitatively. The influ-
 19% declined to participate). Further details of the                     ence of confounders and effect modifiers was assessed
 study methods can be found elsewhere. 8                                  first through stratification and then using uncondi-
    The in-person interview focused on the following:                     tional logistic regression. 9 The primary matching vari-
 demographic and occupational history; medical and                        able, age, was retained in each logistic model. The X2
 reproductive histories, including pregnancies, hor-                      test for linear trend was calculated based on the change
  mones used, and gynecologic operations; dietary his-                    in deviance in models with and without continuous
  tory; cigarette smoking; and hygienic practices. The                    exposure variables. 9
  hygienic practices included information regarding the
  use of douches, type of sanitary protection used, and
  perineal exposure to talc. Queried sources of perinea!
                                                                           Results
  talc exposure included dusting of underwear, sanitary                    Table 1 shows the proportion of cases and controls
  napkins, and diaphragms; exposure via husband's use                      with any reported perinea! talc exposure, and the
  of talc; and more direct exposure to the perineum as a                   associated crude exposure odds ratio (OR), by certain
  body powder. No reliable information on talc exposure                    demographic and reproductive subgroups. Overall, a



  20 Harlow et al        Talc and Ovarian Cancer                                                                     Obstetrics & Gy11ecologij
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 12 of 76 PageID:
                                  65752



 Table 2. History of Talc Exposure by Types of Application, Brand of Powders, Years and Frequency of Use, and Era of Use
                                                                                                                Adjusted
                                                                Cases                   Controls                  OR•                 95% Cl
 No genital talc application                                  121 (51.5%)              145 (60.7%)                 1.0
 Any genital talc application                                 114 (48.5%)               94 (39.3%)                 1.5                UJ-2.1
 Type of application
   Only via sanitary napkins and/or undenvear                   9 (3.8%)                12 (5.0%)                  1.1                0.4-2.8
   Via partner or applications to diaphragm'                   20 (8.5%)                21 (8.8%)                  1.2                0.6-2.4
   Via dusting powder to perineum'                             85 (36.2%)               61 (25.5%)                 1.7                1.1-2.7
 Applications of talc per month
   <5                                                          32 (13.6%)               28 (11.7%)                 1.5                0.8-2.7
   S-29                                                        24 (10.2%)               25 (10.5%)                 1.2                0.6-2.2
   2:30                                                        58 (24.7%)               41 (16.7%)                 1.8                1.1-3.0
 Years of talc use
   <10                                                         14 (6.0%)                15 (6.3%)                  1.2                O.S-2.6
   10-29                                                       49 (20.9%)               39 (16.3%)                 1.6                1.0-2.7
   2:30                                                        51 (21.7%)               40 (16.3%)                 1.6                1.0-2.7
 Age (y) at first talc use
   <20                                                         66 (28.1%)               50 (20.9%)                 1.7                1.1-2.7
   20-25                                                       27 (11.5%)               26 (10.9%)                 1.2                0.6-2.2
   >25                                                         21 (8.9%)                18 (7.5%)                  1.6                0.8-3.2
 Years since last talc use
   Within last 6 mo                                            48 (20.4%)               27 (11.3%)                 2.3                1.3-4.0
   Between 6 mo-10 y                                           36 (15.3%)               39 (16.3%)                 1.1                0.7-1.9
   10 y or more                                                30 (12.8%)               28 (11.7%)                 1.4                0.8-2.6
 Era of use*
   Exclusive use after 1960                                    29 (12.3%)               30 (12.6%)                 1.1                0.6--2.1
   Any use before 1960                                         75 (31.9%)               57 (23.9%)                 1.7                1.1-2.7
 Brand of application§
   Brand or generic baby powder                                91 (38.7%)               72 (30.1%)                 1.6                1.1-2.5
   Deodorizing or other scented powders                        16 (6.8%)                17 (7.2%)                  1.2                0.6--2.5
    OR = odds ratio; CI = confidence interval.
    •Adjusted for parity (0, 1-2, >2), education (<12 years, >12 years), marital status (never married, ever married), religion Uewish,
  non-Jewish), use of sanitary napkins (no, yes), douching (no, yes), age (continuous), and weight (<140 lb, 2:140 lb).
    ' Includes combinations with sanitary napkins or undenvear.
    1
      Restricted to women older than 10 years in 1960; 100 cases and 118 controls were unexposed and used as the referent group.
    § Excludes seven cases and five controls with unknown powders. Seven cases and four controls reported combinations of more than one brand
  and were classified according to the brand used most frequently and for the longest period. Specific brands mentioned by cases were: Johnson
  and Johnson, 71; generic baby powder, 20; Shower to Shower, four; other scented, 12. Specific brands mentioned by controls were: Johnson and
  Johnson, 54; generic baby powder, 18; Shower to Shower, three; other scented powder, 14.



  greater percentage of cases (48.5%) than controls                         ligion, weight, and parity were considered confound-
  (39.3%) reported any perinea! exposure to talc-                           ers and were included as covariates in subsequent
  containing powders. Subgroups of controls in which                        multivariate models. Use of OCs did not confound the
  exposure to talc appeared to be more common were                          talc-ovarian cancer association.
  women older than 50 years (P = .002), ever married (P                        Table 2 examines the association between talc use
  = .12), Jewish (P = .08), and parous (P = .05). Controls                  and ovarian cancer by variables related to the specific
  who reported no oral contraceptive (OC) use also                          types and kinds of applications, and measures of
  reported greater talc use. However, this interaction                      duration including length, frequency, and period of
  may be explained by the older age distribution among                      use. Compared with women with no genital talc expo-
  controls who reported perinea! application of talc. We                    sure, women exposed to talc only through use as a
  observed stronger associations between talc and ovar-                     dusting powder on sanitary napkins or underwear had
  ian cancer risk in the subgroups of cases and controls                    no appreciable increased risk for ovarian cancer. There
  younger than age 50, less well educated, heavier than                     was also no substantial increase in risk among women
  140 lb 5 years before diagnosis, and reporting a history                  exposed to talc only through a husband's use or use in
  of one or two live births. The number of live births was                  the storage of diaphragms, or in combination with
   the only factor that produced statistically significant                  applications to sanitary napkins or underwear. The
  heterogeneity in the ORs for the talc and ovarian                         most frequent method of perinea! talc exposure was
   cancer association. Age, education, marital status, re-                  use as a dusting powder directly to the perineum,



  VOL. 80, NO. 1, JULY 1992                                                                 Harlow et al      Talc and Ovarian Cancer       21
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 13 of 76 PageID:
                                  65753



  Table 3. Estimated Total Lifetime Perinea! Applications of Talc-Containing Powders in Cases and Controls
                                                                                                                    Adjusted
                           Applications                                      Cases             Controls               OR•                95% CI

  Total applications
    None                                                                      121                145                   1.0
    <1000                                                                      18                 19                   1.3               0.7-2.7
    1000-10,000                                                                54                  44                  1.5               0.9-2.4
    >10,000                                                                    42                  31                  1.8               1.0-3.0
       )(- 1df test for linear trend = 2.85, P = .094t
  Applications excluding use after hysterectomy or tubal ligation
    None                                                                      121                 145                  1.0
    <1000                                                                      19                  19                  1.4               0.7-2.9
    1000-10,000                                                                57                  46                  1.5               0.9-2.4
    >10,000                                                                    38                  29                  1.7               1.0-3.0
       )(- 1df test for linear trend = 3.19, P = .o77t
  Applications excluding use after hysterectomy or tubal
    ligation, and use during nonovulatory months*
    None                                                                      124                 149                  1.0
    <1000                                                                      24                  23                  1.5               0.8-2.9
    1000-10,000                                                                55                  51                  1.3               0.8-2.0
    >10,000                                                                    32                  16                  2.8               1.4-5.4
       )(- ldf test for linear trend = 6.15, P = .otst
    Abbreviations as in Table 2.
    •Adjusted for parity (0, 1-2, >2), education (<12 years, >12 years), marital status (never married, ever married), religion Oewish,
  non-Jewish), use of sanitary napkins (no, yes), douching (no, yes), age (continuous), and weight (<140 lb, ;;:140 lb).
    t Trend test based on actual applications as a continuous variable.
    1 Excludes exposures while taking oral contraceptives, while pregnant or breast-feeding, or occurring after menopause. There were three cases
  and four controls who moved from "exposed" to "nonexposed" in this category, as all of the exposure occurred during oral contraceptive use,
  pregnancies, or after menopause.



   alone or in combination with either a partner's use or                   amined the association separately in women who only
   use in the storage of diaphragms. This exposure oc-                      used talcum powder after 1960 and in women who
   curred in 85 cases (36.2%) and 61 controls (25.5%) (P =                  reported any use of talcum powder before 1960 (Table
   .01). Of the application modes studied, direct perinea!                  2). After restricting the population to women older
   application produced the greatest risk (OR 1.7, 95%                      than age 10 in 1960 and adjusting for age, parity, and
   confidence interval [CI] 1.1-2.7).                                       a number of other demographic characteristics, we
      We also examined the talc-ovarian cancer association                  found that the association of talc and ovarian cancer
   by frequency and years of use (Table 2). When                            was greater in women using talc products before 1960
   monthly frequency was considered as a continuous                         (P = .025).
   variable in the logistic model, the Ji- linear test of trend                The last entry in Table 2 shows the risks by brand of
   was 4.06 (P = .046), indicating that the risk for ovarian                powder used. No subjects could recall exclusive use of
   cancer increased significantly with increasing fre-                      starch-based powders. Brand or generic "baby pow-
   quency of applications per month. The categorical                        der" was used most frequently and was the category
   analysis showed that relative to non-users, the risk                     associated with a statistically significant risk for ovar-
   was greatest in women who applied talc at least once                     ian cancer. With respect to other powders, four cases
   per day. When years of use was included as a contin-                     and three controls reported primary use of deodorizing
   uous variable, the test for linear trend was 3.32 (P =                   powders, and 12 cases and 14 controls reported pri-
    .07). The categorical analysis showed that relative to                  mary use of other scented powders. It should be
    non-users, women who applied talc for more than 10                      appreciated that, because the period of exposure often
    years were at 60% greater risk for ovarian cancer.                      occurred over decades, verification of brands was not
    Likewise, perinea! applications of talc early in life                    possible.
    (before age 20) or applications within 6 months of                         Table 3 examines the ovarian cancer risk associated
    diagnosis (reference age for controls) produced the                      with the total number of applications to the perineum,
    stronger ORs.                                                            estimated by cumulating frequency and years of use
       To assess whether the risk of ovarian cancer with                     for the various kinds of exposures. An 80% excess risk
    perinea! exposure to talc was affected by the time when                  was associated with an estimated exposure of more
    talc-containing products were manufactured, we ex-                       than 10,000 applications (equivalent to daily use for 30



   22   Harlow et al      Talc and Ovarian Cancer                                                                     Obstetrics & Gynecologi;
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 14 of 76 PageID:
                                  65754



  Table 4. Adjusted Odds Ratios and 95% Confidence Intervals for Ovarian Cancer by Any Perinea! Exposure to Tak* and
           Indicators of Ovulation and Tubal Occlusion
                                                  Cases                                Controls
                                                            Talc                                   Talc             Adjusted
                                       Total              exposure            Total              exposure                ORt              95% CI
   All subjects                         235            114 (48.5%)             239               94 (39.3%)              1.5              1.0-2.1
   Mid-cycle pain
     No                                 181               88 (48.6%)           184               77 (41.9%)              1.4              0.9-2.2
     Yes                                 54               26 (48.2%)            55               17 (30.9%)              2.0              0.8--5.2
   Regular period
     No                                  26              12 (46.2%)             34               16 (47.1%)              1.1               0.4-3.4
     Yes                                209             102 (48.8%)            205               78 (38.1%)              1.7               1.1-2.5
   PID or ectopic pregnancy
     No                                 226             113 (50.0%)            230               92 (40.0%)              1.6               1.1-2.4
     Yes                                  9               1 (11.1%)              9                2 (22.2%)              0.1              0.01-7.0
     PID = pelvic inflammatory disease; other abbreviations as in Table 2.
     • Sources of perinea! talc exposure include: dusting of underwear, diaphragms, or sanitary napkins; use by partner on his perinea! area; use
   as a body powder.
     t Adjusted for parity (0, 1-2, >2), education (<12 years, >12 years), marital status (never married, ever married), religion Gewish,
   non-Jewish), use of sanitary napkins (no, yes), douching (no, yes), age (continuous), and weight (<140 lb, ;;;:140 lb).



   years) as compared with non-users. When considered                        talc when restricted to specific histologic type and
   as a continuous variable in the logistic model, the i'"                   grade of ovarian tumors. The greatest association was
   linear test of trend was 2.85 (P = .094). The remaining                   found in women diagnosed with an endometrioid
   entries in Table 3 show how conditions that either                        tumor or borderline ovarian tumor.
   close the upper genital tract or are associated with
   anovulation affect the dose response of number of
   applications on ovarian cancer risk. The second entry
                                                                             Discussion
   shows the effect of censoring applications that oc-                       Animal and epidemiologic studies have addressed the
   curred after tubal ligation or hysterectomy. No appre-                    plausibility of an association between talc and ovarian
   ciable change in the ORs or the dose response was                         cancer. Intraperitoneal injection of talc in rodents pro-
   noted. The third entry shows the effect of censoring                      duced papillary changes in the surface epithelium not
   applications after hysterectomy and tubal ligation and                    inconsistent with the first stage in the development of
   use during presumed nonovulatory periods. Excluded                        surface papillary epithelial neoplasms. 10 However, be-
   were exposures occurring while taking OCs, while                          cause the ovaries of small rodents are surrounded by a
   pregnant or breast-feeding, and after menopause. The
   risk associated with fewer than 10,000 applications was
   not substantially altered. However, the risk associated                   Table 5. History of Talc Use by Histologic Type and Grade
   with more than 10,000 applications was nearly three-
                                                                                                                  No
   fold and statistically significant. The X'" test for a linear                                      Any use    use of        Adjusted
    trend of risk, by number of applications as a continu-                     Histologic type         of talc    talc           OR'       95% CI
    ous variable, increased to 6.15 (P = .015).
                                                                             Controls                    94        145           1.0
      Table 4 shows the association of talc exposure and                     Histologic type
    ovarian cancer based on other clinical factors that may                    Serous                    60         64           1.4       0.9-2.2
    predict either ovulation or tubal occlusion. The ORs                       Mucinous                  17         25           1.2       0.6-2.5
    were greater in women with a history of mid-cycle pain                     Endometrioid              18         11           2.8       1.2-6.4
                                                                               Other                     19         21           1.6       0.8--3.3
    or regular periods-potential clinical predictors of ovu-
                                                                             Histologic grade
    latory cycles. An association between talc and ovarian                     Borderline                32         30           2.4       1.2-4.5
    cancer was absent in women with a history of either                        Grade 1                    6         11           1.0       0.3-2.8
    pelvic inflammatory disease or ectopic pregnancy-                          Grade 2                   21         22           1.5       0.7-3.0
    potential markers of a dosed genital tract. However,                       Grade 3                   27         24           1.5       0.8-2.8
                                                                               Undifferentiated          28         34           1.2       0.7-2.2
    only nine cases and nine controls reported a history of
    pelvic inflammatory disease or ectopic pregnancy, and                      Abbreviations as in Table 2.
                                                                               • Adjusted for parity (0, 1-2, >2), education (<12 years, >12
    the CI on the exposure OR was correspondingly wide.                      years), marital status (never married, ever married), religion Gewish,
       Table 5 shows the relative risk for any perinea! use of               non-Jewish), age (continuous), and weight (<140 lb, '2::140 lb).



    VOL. 80, NO. 1, JULY 1992                                                                    Harlow et al    Talc and Ovarian Cancer        23
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 15 of 76 PageID:
                                  65755



 Table 6. Odds Ratios With 95% Confidence Intervals of Ovarian Cancer in Relation to Any Perinea) Exposure to Talc as
          Reported in Previous Epidemiologic Studies
                                                          Cases                               Controls
                                                                    Talc                               Talc               Crude
           Author(s) (year)                    Total              exposure          Total            exposure              OR             95% Cl

 Cramer et al4 (1982)                            215            92 (42.8%)            215            61 (28.4%)            1.9            1.3-2.9
 Hartge et al (1983)*                            135            67 (49.6%)            171           100 (58.5%)            0.7            0.4-1.1
 Whittemore et al5 (1988)                        188            98 (52.1%)            539           248 (46.0%)            1.4            0.9-2.0
 Harlow and Weiss• (1989)t                       116            49 (42.2%)            158            64 (40.5%)            1.1            0.7-2.1
 Booth et al7 (1989)                             217           141 (65.0%)            434           256 (59.0%)            1.3            0.9-1.9
 Harlow et al (1992) (current study)             235           114 (48.5%)            239            94 (39.3%)            1.5            0.9-1.8
 All studies*                                   1106           561 (50.7%)           1756           823 (46.9%)            1.3            1.1-1.6
    Abbreviations as in Table 2.
    • Hartge P, Hoover R, Lesher LP, et al. Talc and ovarian cancer (letter). JAMA 1983;250:1844. Odds ratio may include nonperineal talc exposure
  as well.
    t Restricted to borderline ovarian tumors.
    t Meta-analysis. 19




  peritoneal bursa which often becomes occluded and                          associations with direct perinea! application. Dose re-
  distended with follicular fluid after intraperitoneal in-                  sponse of perineal talc exposure from all sources by
  jection of foreign bodies, 1 it is difficult to distinguish                frequency or years of use was not available in the
  whether the papillary changes are the effects of for-                      studies by Hartge et al (Hartge P, Hoover R, Lesher
  eign-body exposure or bursa! distention. It would be                       LP, et al. Tak and ovarian cancer [letter]. JAMA
  worthwhile to repeat the talc experiments in guinea                        1983;250:1844), Harlow and Weiss, 6 or Cramer et al. 4
  pigs or rabbits, the animals used in the original re-                      Whittemore et al5 reported no significant dose re-
  search of Graham and Graham. 1                                             sponse by years or frequency of use, whereas Booth et
      Is there evidence to suggest that talc can translocate                 a!7 reported a marginally significant trend with fre-
  from the vagina to the peritoneal cavity? It is known                      quency of use. Using the techniques of meta-analysis,
  that red cells and endometrial tissue are capable of                       in which ORs from multiple studies are weighted by
  retrograde flow from the fallopian tubes. 11 Experi-                       their variances, 19 we calculated a statistically signifi-
  ments in rats confirmed the presence of talc in the                        cant OR of 1.3 for any perinea! talc exposure and
  ovaries after the introduction of a talc suspension into                   ovarian cancer risk (95% CI 1.1-1.6) from the various
  the vagina and cervical os. 12 In humans, two studies                      studies. We therefore conclude that there is an associ-
  observed the migration of inert carbon particles 13 and                    ation, albeit modest, between ovarian cancer and per-
  radioactively labeled human albumin microspheres 14                        inea! talc use. However, insufficient detail has been
  from the vagina to the fallopian tubes. In addition,                       available to rule out a stronger association in certain
  several investigators have observed birefringent crys-                     subgroups of users.
   tals embedded in ovarian tissue. 1s...17 However, critics                    Our study included greater detail on genital talc use,
   have argued that these findings resulted from poorly                      including methods, frequency, and years of use (Table
   designed studies or lack of precision in measuring                        2). Talc applied as a dusting powder directly to the
   particulates, due to leaching of radionucleotide mark-                    perineum carried a greater risk than less direct expo-
   ers from the test materials or the introduction of                        sure via a partner's use or the dusting of undergar-
   contaminants during tissue processing. 18 In six multip-                   ments, sanitary napkins, or diaphragms. Current use
   arous cynomolgus monkeys separately caged, no                              of talc was associated with a greater ovarian cancer risk
   translocation of talc was observed after 30 consecutive                    than past use. Daily versus less than daily talc use, and
   days of douching with a suspension. of neutron-                            talc use for more than 10 years versus less than 10
   activated talc coupled with weekly injections of oxyto-                    years, were associated with greater risk for ovarian
   cin.18 However, this study was not able to address the                     cancer.
   effects of long-term use or coitus, which might facili-                       Most subjects reported use of "baby powder." We
    tate talc translocation.                                                  were unable to confirm a previous finding that pow-
       Several epidemiologic studies4-7 have addressed the                    ders with "deodorizing" agents were associated with
    genital talc-ovarian cancer association (Table 6). Each                   particular risk. 6 Thus, this study failed to answer a key
   study has consistently reported little or no association                   issue in the talc-ovarian cancer association: whether
    with the use of talc-dusted diaphragms, and stronger                      the risk pertains to all cosmetic talcs or only to certain


   24 Harlow et al        Talc and Ovarian Cancer                                                                      Obstetrics & Gynecologi;
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 16 of 76 PageID:
                                  65756




  preparations likely to be contaminated by asbestos.          association noted in women with borderline ovarian
  Cralley et al20 and Rohl et al21 found considerable          tumors, of whom only 13% reported long-term talc
  variation in the purity of cosmetic talcs, with fiberform    exposure. This variation in risk among histologic sub-
  contents varying from less than 1 to 30%. Most of these      types may reflect a chance finding or a need to examine
  products were manufactured before 1970 and it is             endometrioid and borderline tumors more carefully for
  likely that the asbestiform content has decreased since      evidence of a foreign-body effect.
  1976, when manufacturers instituted voluntary guide-            An unusual observation was the strong association
  lines on asbestos contamination. Our finding of a            between talc use and ovarian cancer in the subgroup of
  lower ovarian cancer risk in women with exclusive use        women with one or two pregnancies but a lower risk in
  of talc after 1960 may support this theory. Because of       women with either no children or three or more
  the difficulty in obtaining a complete and detailed          children. Although chance may be the most likely
  history of powders used, the issue of whether risk           explanation for this finding, we wonder whether this
  pertains only to asbestos-contaminated powders may           peculiar interaction might reflect, in part, an effect of
  need to be settled by animal experiments.                    pregnancy on the degree of openness of the cervical os
     In our analysis, we first calculated all genital aEPli-   and its ability to allow translocation of vaginal partic-
  cations of talc based upon frequency and years of use.       ulates. The parous cervix has a larger os than the
  As a continuous variable in a multivariate model, no         nulliparous cervix, and this could explain the greater
  significant dose response was observed between total         risk in women with one child compared with women
  genital apphcatlons of talc and ovarian cancer risk.         with no live births. At the other extreme, multiple
  Because the "translocation" fheory assumes an open           pregnancies may offer other protective mechanisms
  genital tract, we then excluded application after tubal      (such as reduced ovulation as discussed above) that
  ligation or hysterectomy, but observed no appreciable        could outweigh this effect. Clearly, this is a very
  change in the dose response. Further restricting talc        speculative hypothesis but one that might be tested in
  exposure to months when the women were likely to be          experimental studies (ie, repeating the vaginal talc
  ovulatory, we observed a significant dose response,          experiments in nulliparous and parous mice or pri-
  such that women with an intact genital tract and more        mates).
   than 10,000 applications during ovulatory cycles had            Noncausal explanations are possible in any epidemi-
  nearly a threefold increase in risk for ovarian cancer.      ologic research. We cannot rule out the pOSSJ.bility of
  Some additional evidence that might support an inter-        differential over- or under-reporting of talc exposure in
   action with ovulation includes stronger associations in     our cases and controls. especially in those with repro-
   women with regular periods and mid-cycle pain. Cra-         ductive events that enhance ORs. In addition, though
   mer et al4 suggested that talc contamination around the     we were successful in interviewing 69% of eli~ble
   time of ovulation might lead to the incorporation of talc   ovarian cancer cases and 81 % of eligible controls con-
   particulates into inclusion cysts that may form with         tacted, we cannot assess wnether the cases and con-
   ovulation. Experiments on foreign-body tumorigenesis         trols not mterv1ewed could have selectively differed in
   have shown that implantation of foreign bodies into          their reproductive characteristics or in their use of
   the lumens of epithelial-lined organs provides a favor-      talc-containing powders. Because our associations are
   able environment for carcinogenesis. 22 Alternatively,      based upon responses from participating cases and
   Mostafa et al 16 speculated that foreign-body exposure      controls, the validity of our results depends upon the
   might produce cortical "granulomas" whose link to            assumption that respondents and non-respondents
   stromal hyperactivity (and hormonally related cancers)       were similar with respect to talc and other relevant
   is argued in older literature. 23                            exposures, or that the magnitude of any respondent-
      We observed that the talc association was strongest       non-respondent difference was similar for cases and
   in women with endometrioid or borderiine ovarian             controls. Because the interview provided the only
   tumors. However. an earlier study by Cramer ei al4           source of "exposure" information, we were unable to
   reported no such variation in risk by histologic sub-        assess the likelihood of this assumption. The extent of
   type It was noted that a greater proportion of women         this bias, however, is likely to be small because the
   with endometrioid tumors than with other histologic          reproductive characteristics and history of talc expo-
   types of ovarian cancer reported more than 10,000            sure in participating cases and controls are, for the
   lifetime applications of talc during ovulatory cycles        most part, reasonably consistent with earlier epidemi-
   while having an intact genital tract (34 versus 16%).        ologic studies of ovarian cancer. Finally, in our attempt
   Although this may explain in part the strong talc-           to present the most accurate ORs, we made a variety of
   ovarian cancer association noted in women with en-           adjustments to account for the confounding influence
   dometrioid tumors, it does not explain the strong            of factors associated with both ovarian cancer risk and



  VOL. 80, NO. 1, JULY 1992                                                   Harlow et al   Talc and Ovarian Cancer   25
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 17 of 76 PageID:
                                  65757


   talc exj:>osure. Nevertheless, we cannot rule out the                      11. Sampson JA. The development of the implantation theory for the
                                                                                  origin of endometriosis. Am J Obstet Gynecol 1940;40:549-57.
   presence of other unknown factors that might have
                                                                              12. Henderson WJ, Hamilton TC, Baylis MS, et al. The demonstra-
   influenced, in part, our observed associations.                                tion of the migration of talc from the vagina and posterior uterus
      Because the overall association between genital use                         to the ovary in the rat. Environ Res 1986;40:247-50.
   of talc and ovarian cancer remains weak, it is unlikely                    13. Egli GE, Newton MD. The transport of carbon particles in the
   that this exposure-disease pathway is the principal one.                       human female reproductive tract. Fertil Steril 1961;12:151-5.
                                                                              14. Venter PF, Iturralde M. Migration of particulate radioactive tracer
   involved in ovarian cancer etiology. We have previ·                            from the vagina to the peritoneal cavity and ovaries. S Afr Med J
   ously discussed the role of dietary and metabolic                              1979;55:917-9.
   factors in a model for ovarian cancer involving gonad-                     15. Henderson WJ, Joslin CAF, Turnbull AC, Griffiths K. Talc and
   otropin stimulation of failing ovaries. 8 Even if an                           carcinoma of the ovary and cervix. J Obstet Gynaecol Br Com-
                                                                                  monw 1971;78:266-72.
   etiologic association were to pertain in the subgroups
                                                                              16. Mostafa SAM, Bargeron CB, Flower RW, Rosenshein NB, Parm-
   of daily users or users with more than 10,000 applica-                         ley TH, Woodruff JD. Foreign body granulomas in normal ova-
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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 18 of 76 PageID:
                                  65758




                       Exhibit 27
16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 19 of 76
                           65759
16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 20 of 76
                           65760
16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 21 of 76
                           65761
16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 22 of 76
                           65762
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 23 of 76 PageID:
                                  65763




                       Exhibit 28
    Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 24 of 76 PageID:
                                      65764
GYNECOLOGIC       ONCOLOGY    45, 20-25 (1992)




              Mineral Fiber Exposure and the Development of Ovarian Cancer
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                                                                  eligibility criteria were ascertained from the Johns Hop-
   A hospital-based case-control study of the association between
                                                                  kins    Hospital. One hundred eight (77.1%) of these cases
fiber exposure and the development of epithelial ovarian cancer
wasperformedat the Johns HopkinsHospitalin Baltimore, Mary-       were      successfully interviewed. These cases were diag-
land. Genital and respiratory fiber exposureswere ascertained     nosed      within 6 months of admission, were pathologically
from incident cases(N = 77) and age-race matchedcontrols(N        confirmed       by examination of the ovaries, were admitted
 = 46) using a structured questionnaire.Caseswere ascertained as in-patients for treatment or diagnosis, and were resi-
between1981and 1985.An increasedrisk was observedfor ex- dents of the United States. Controls were in-patient fe-
posureto talc on sanitary napkins(OR = 4.79,95% CI, = 1.29- males without gynecologic or malignant conditions who
17.79), genital fiber exposurefrom different sourcesfor a long were initially matched to cases by age (within 5 years),
(cumulative exposure237.4 years) length of time (OR = 2.35, race, and date of diagnostic admission (within 1 year).
95%CI = 0.95-5.80), and occupationalfiber exposurein relatives Since it was difficult to find controls meeting all of the
(OR = 2.81, 95% CI = 0.90-8.75). A negative associationwas matching criteria, a control could not be found for all
observedfor antecedenttubal ligation (OR = 0.15, 95% CI =
                                                                  cases. Unmatched cases were therefore matched a pos-
0.027-0.88). Findings from this study should be confhmed in
larger investigations. 0 1992 Academic press, Inc.                teriori    to controls, to form matched triplets of 2 cases
                                                                  and 1 control. A posteriori matching was performed
                                                                  within the same 5year interval, by race and by closest
                       INTRODUCTION                               date of diagnostic admission. The matching procedure
   Occupational exposure to asbestos has been identified          allowed for the inclusion of 77 cases in the study. There
                                                                  were      46 matched sets, of which 31 consisted of 2 cases
as a risk factor for ovarian cancer in several studies [l-
                                                                  and    1  control. No matched control could be found for 13
31. Similarly, fiber-containing        substances, such as talc,
                                                                  cases,     which were excluded from the analysis.
have also been implicated as risk factors [4-91. A matched
case-control study of epithelial ovarian cancer was con-                                                                 METHODS
ducted, in which the role of both genital and respiratory
sources of fiber was assessed, to confirm these findings.                                      Data were ascertained primarily from a questionnaire
                                                                                            that was administered to participants both by telephone
                         STUDY POPULATION                                                   and in the hospital. Information    on previous abdominal
                                                                                            and gynecologic operations was also ascertained from
   Cases and controls were ascertained from the Johns                                       medical records.
Hopkins Hospital between 1981 and 1985. This analysis                                          The questionnaire elicited information on the presence
is restricted to the 77 cases who were matched to 46                                        and length of genital fiber and respiratory fiber exposure,
hospital controls and treated for conditions other than                                     reproductive factors, estrogen use, family history of can-
gynecologic or malignant diseases. Originally 140 newly                                     cer in first-degree relatives, and other contraceptive use.
diagnosed cases of epithelial ovarian cancer who met the                                    Descriptions of the questions used to ascertain fiber ex-
                                                                                            posure are listed in Appendix 1. Fiber exposure was de-
  ’ Present address: Department of Health and Safety Studies, Uni-
versity of Illinois at Urbana-Champaign, 120 Huff Hall, 1206 S. Fourth                      fined as exposure to asbestos, talc (which may contain
St., Champaign, IL 61820 (Correspondence to Dr. Rosenblatt at this                          asbestos), and fiberglass.
address).                                                                                      An attempt was made to estimate the overall effect of

                                                                                       20
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   Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 25 of 76 PageID:
                                     65765
                                             FIBERS AND OVARIAN          CANCER                                                  21

“dose” or length of genital and respiratory fiber exposure.                                 TABLE 1
This was accomplished by adding the number of years of                     Distribution of Matched Cases and Controls
each type of genital or respiratory exposure from all                                        Cases                  Controls
sources. Since many of these exposures occurred at the
same time, these variables should be considered as crude                               N              %        N                %
measures of dose rather than the true length of exposure.
                                                               Age (years)
   Conditional logistic regression [lo] was used to deter-       Less than 30           3             3.9       2               4.4
mine the strength of the association. Odds ratios were           30-39                  1             1.3       1               2.2
calculated to describe the relationship of genital and res-      40-49                 11            14.3       8              17.4
piratory fiber exposure to ovarian cancer. The odds ratio        50-59                 21            27.3      10              21.7
is an estimate of the relative risk for relatively rare dis-     60-69                 35            45.4      21              45.6
                                                                 70-79                  5             6.5       3               6.5
eases such as ovarian cancer and, in this paper, is referred     80 or higher           1             1.3       1               2.2
to as the relative risk estimate (RR).                           Total                 77                      46
   The following variables were assessed as potential          Race
confounders:                                                     White                 70            90.9      41              89.1
                                                                 Black                  7             9.1       5              10.9
     Tobacco use                                                 Total                 77                      46
           Number of cigarettes per day
     Ovulatory time period
     Number of pregnancies                                        If a potential confounder changed the relative risk es-
     Cancer in mother or father                                timate associated with a fiber exposure by more than 15%,
     Obesity 1 year prior to diagnosis                         it was retained in the multivariate   model. Confounders
     Obesity 20 years prior to diagnosis                       were sequentially added to multivariate models, depend-
     Obesity at highest weight during the 20 years prior       ing on the level with which they changed the odds ratio
to diagnosis
                                                               of a fiber related exposure.
     Obesity according to average weight during the 20
                                                                  Interaction between fiber exposures and potential con-
years prior to diagnosis
                                                               founders was evaluated by comparing the deviance of
     Husband’s and subject’s education
                                                               models with and without the interaction term [12].
     Previous cancer
     Marital status                                                                         RESULTS
     Religion
     Use of oral contraceptives                                Age and Racial Distribution
     Use of contraceptive foams, creams, and jellies by
themselves                                                       Table 1 lists the age and racial distribution of cases and
     Use of an IUD                                             controls. Most cases and controls were in the age groups
                                                               40 to 69. It was difficult to obtain controls that did not
   On the basis of the strength of their relative risk es-     have a chronic disease, resulting in a lower than expected
timates and the difference in frequency with which they        number of controls.
were observed in cases and controls, the following vari-
ables were identified as potential confounders: measures       Diagnoses of Controls
of obesity, socioeconomic status (subject’s education; RR
 = 0.5, 95% CI = 0.2-l.l),      and religion (Jewish, RR =        Controls were selected so that they did not have their
2.9, 95% CI = 0.6-13.8; Catholic, RR = 0.5, 95% CI             primary diagnostic condition for more than 1 year. Table
 = 0.2-1.5), reproductive status (total live births, 1-2,      2 lists the primary diagnosis of the controls included in
RR = 0.7, 95% CI = 0.2-1.9; live births >2, RR =               the study.
0.4, 95% CI = 0.2-1.3), and oral contraceptive use (OR
                                                               Genital Fiber Exposure
 = 0.9, 95% CI = 0.3-23.0).
   Obesity 1 year prior to diagnosis (RR = 2.3, 95% CI            Different sources of genital fiber exposure were ex-
 = 0.9-6.1), obesity 20 years prior to diagnosis (RR =         amined (Table 3). Exposure from any of the potential
2.1, 95% CI = 0.7-6.9), and obesity according to highest       sources of genital fiber was highly prevalent (91.1% in
weight during the 20 years prior to diagnosis (RR = 1.5,       controls) and not found to be related to ovarian cancer
95% CI = 0.7-3.2) were also found to be potential con-         (RR = 1.0, 95% CI = 0.2-4.0). Since it was felt that
founders. Obesity was defined as a height/weight index         this index did not accurately characterize cumulative ex-
greater than that exhibited by women in the 85th per-          posure, the median length of exposure from all genital
centile [ll] of the population.                                sources (with the time since tubal ligation subtracted) was
     Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 26 of 76 PageID:
                                       65766
22                                            ROSENBLATT.   SZKLO.   AND ROSENSHEIN

                              TABLE 2                                 asbestos showed an increased risk of lung cancer [16],
        Distribution of Matched Controls by Primary Diagnosis         asbestos has been observed in cosmetic face powders [17-
                                                                       191, and papillary growth has been observed after im-
Diagnosis of restricted controls                       N      %
                                                                      plantation of asbestos [20] and talc [21] into the peritoneal
Infectious and parasitic diseases                      1      2.2     cavity.
Diseases of the digestive system                       6     13.0         We found an increased relative risk (4.8) for talc use
Opthamologic disorders                                15     32.6     on sanitary napkins with a smaller effect for genital bath
Diseases of the circulatory system                    11     23.9
Symptoms, signs, and ill-defined conditions            8     17.4     talc exposure (RR = 1.7). This is in accordance with the
Diseases of musculoskeletal and connective tissue      1      2.2     original finding of a significant increased risk for perineal
Diseases of the endocrine system or metabolic or                      talc exposure (RR = 1.9, 95% CI = 1.3-2.9) by Cramer
   immunologic disorders                               1      2.2     et al. [4]. Preliminary  findings from a Chinese study also
Diseases of the respiratory system                     1      2.2     suggest that perineal application of talc-containing dusting
Benign neoplasms                                       1      2.2
Injury and poisoning                                   1      2.2     powder increased the risk of epithelial ovarian cancer (RR
                                                                       = 3.9, 95% CI = 1.1-13.8) [5]. A nonsignificant effect
Total                                                 46    100.00
                                                                      for genital talc exposure (on genitals, sanitary napkins,
                                                                      or underwear) was detected in the study of Hartge et al.
                                                                      [6] (RR = 2.5, 95% CI = 0.7-10.0). Whittemore et al.
used to categorize the dose of genital fiber exposure. A              [7] detected an increased risk (RR = 1.4, P = 0.06) for
relative risk estimate of borderline significance was seen            perineal exposure. In a study of borderline ovarian tu-
for exposure above the median length of time (37.4 years,             mors, an increased risk was also observed with talc ex-
RR = 2.4, 95% CI = 1.0-5.8). A significant negative                   posure from use on sanitary napkins (RR = 1.9, 95%
association was observed for previous tubal ligation (RR              CI = 0.9-6.9, 8).
 = 0.2, 95% CI = 0.03-0.9).                                              We also investigated the relationship with cumulative
    A history of several gynecologic and abdominal oper-             duration of all forms of genital fiber exposure (with the
ations, given by responses to the questionnaire, was ex-             time since tubal ligation subtracted). The positive asso-
amined to determine if exposure to talc from surgeon’s               ciation (RR = 2.35) in our study for exposure longer
gloves increased risk [13]. No statistically significant re-         than the median length of time contrasts with the lack of
lationships were detected but, with the exception of ovar-           association with duration observed by Whittemore et al.
ian biopsies, relative risk estimates were generally below            [7]. Whittemore et al. [7], however, did observe a positive
1. An attempt was made to combine information from                   dose-response relationship with frequency of exposure
the questionnaire and medical records, with no important             (l-20 times per month, RR = 1.3, 95% CI = 0.8-2.0;
changes in the relative risk estimates.                              >20 times per month, RR = 1.4, 95% CI = 0.9-2.2).
    Moderately elevated relative risk estimates, which were          Although Booth et al., [9] did not observe a significant
not statistically significant, were observed with use of con-        (P = 0.05) trend of increasing risk with more frequent
doms, diaphragms (when powder was used), and genital                 use, weekly genital talc use (RR = 2.0, 95% CI = 1.3-
bath talc. The level of association observed with exposure           3.4) was associated with an increased risk of ovarian
to talc on sanitary napkins (RR = 4.8, 95% CI = 1.3-                 cancer.
18.0) was significantly greater than unity.                              The results of our study and others suggest that genital
                                                                     fiber exposure may be associated with an adverse effect
Respiratory Fiber Exposure
                                                                     [4-S] but further study is needed to determine if this
   Numerous sources of respiratory fiber exposure were               relationship is causal in nature.
evaluated (Table 4): the only such source showing an                     The present study also showed a significant negative
important effect was occupational fiber exposure in rel-             association with tubal ligation (RR = 0.15). Harlow [22]
atives (RR = 2.8, 95% CI = 0.9-8.8). This relative risk              (RR = 0.3, 95% CI = 0.3-l.l),            Booth et al. [9] (RR
estimate was calculated after three cases who were both               = 0.2, 95% CI = O.l-0.6), Mori et al. [23] (RR = 0.4,
exposed to asbestos themselves and received asbestos ex-             95% CI = 0.2-l.O), Whittemore           et al. [7] (RR = 0.6,
posure from their relatives were excluded.                           P = 0.07), and Irwin et al. [24] (RR = 0.7, 95% CI =
                                                                     0.5-1.0) also observed negative associations. Although
                           DISCUSSION                                the findings of our study differ from the positive associ-
                                                                     ation observed by Koch et al. [25] the comparison rates
  Genital talc exposure has been proposed as an etiologic            [26] used in Koch’s cohort study may have been
agent of ovarian cancer [14] because talc was observed               underestimated.
more frequently in cancerous ovaries [15] than in non-                   Tubal ligation may protect against ovarian cancer by
cancerous ovaries, occupational studies of talc-containing           inhibiting the carcinogenic action of talc through blockage
   Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 27 of 76 PageID:
                                     65767
                                                      FIBERS AND OVARIAN             CANCER                                                     23

                                                                    TABLE       3
                 Number and FrequencyDistribution of Casesand Controls with Odds Ratios for Genital Fiber Exposure
                                                   and Other Related Variables
                                                               Cases                       Controls
                                                                                                                                95% confidence
Exposure interval                     Attribute            N            %             N                %          Odds ratio       interval

Genital fiber use                      Yes                67           87.0           40              88.0            1.0         0.2-4.ob
                                       No                 10           13.0            5              11.1
                                       Missing             0                           1
Length of use of genital ti-           a37.4              39           55.7           16              39.0           2.4          1.0-5.8
  beP (years)                          c37.4              31           44.3           25              61.0
                                       Missing             7                           5
(Median of cases and                   Median                          41.9                           24.0
  controls)
Ovarian biopsies                       Yes                 6            7.8            3               6.5            1.1         0.3-4.4
                                       No                 71           92.2           43              93.5
Unilateral oophorectomy                Yes                 8           10.4            5              10.9           0.8          0.2-2.5’
                                       No                 69           89.6           41              89.1
Tubal ligation                         Yes                 4            5.2            6              13.0           0.2          0.3-0.9d*e
                                       No                 73           94.8           40              87.6
Hysterectomy                           Yes                19           24.7           12              26.1           0.7          0.3-1.7d
                                       No                 58           75.3           34              73.9
Condom use                             Yes                35           49.3           22              51.2            1.6         0.6-3.9b,d
                                       No                 37           50.7           21              48.8
                                       Missing             5                           3
Diaphragm use with                     Yes                14           18.9            5              11.4           3.0          0.8-10.8b.d
  powder                               No                 60           81.1           39              88.6
                                       Missing             3                           2
Genital bath talc                      Yes                22           28.9            8              18.6            1.7         0.7-3.9
                                       No                 54           71.0           35              81.4
                                       Missing             1                           3
Sanitary napkin with talc              Yes                21           30.0            6              13.6           4.8          1.3-17.6
  exposure                             No                 49           70.0           38              86.4
                                       Missing             7                           2

  ’ After subtraction of the time since tubal ligation, for those who had ligation
  ’ Adjusted for number of live births.
  ’ Adjusted for religion.
  d Adjusted for years of education on subject.
  ’ Adjusted for highest weight 20 years prior to diagnosis.
  ’ Adjusted for highest weight 1 year prior to diagnosis.


of the fallopian tube or through a “screening” effect [27].                   ovarian cancer may be associated with genital fiber ex-
The effects of antecedent tubal ligation should be eval-                      posure (especially talc on sanitary napkins) and occupa-
uated in future studies of ovarian cancer to determine if                     tional exposure to fibers in relatives. Given its small sam-
a negative association is consistently observed and to de-                    ple size and the potential selection bias stemming from
termine the reason for this.                                                  inclusion of patients from only one hospital, further re-
   Several cohort studies of women with respiratory ex-                       search needs to be performed in order to confirm our
posure to asbestos detected an increased relative risk for                    findings.
ovarian cancer [l-3]. We elicited information about em-
ployment by relatives in occupations with asbestos or fi-                                                    APPENDIX       1
berglass exposure 1281 and the relative risk was found to
be elevated (RR = 2.8). In a previous case-control study                             Questions Asked to Ascertain Fiber Exposures
of ovarian cancer, the relative risk for occupational as-
                                                                              Genital Fiber Exposure
bestos exposure in relatives was not elevated [29], al-
though the authors did not describe how the asbestos                             1. Have you had any of the following operations prior
exposure was ascertained. Our initially suggestive findings                   to your hospitalization    in ___. 3
regarding asbestos or fiberglass exposure in relatives                             -Biopsy or removal of part of an ovary
should be evaluated further in additional studies.                                 -Removal      of one ovary
   In summary, our study shows that the development of                             -Removal      of uterus (hysterectomy)
     Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 28 of 76 PageID:
                                       65768
24                                           ROSENBLATT,        SZKLO,     AND ROSENSHEIN

                                                         TABLE 4
          Number and Frequency Distribution of Casesand Controls with Odds Ratios for SelectedCharacteristicsRelated
                                                to Respiratory Fiber Exposure
                                                                Cases                   Controls
                                                                                                                         95% confidence
Exposure interval                     Attribute            N              %         N               %     Odds ratio        interval

Respiratory fiber exposure            Yes                  69            89.6      41              89.1      1.3            0.3-3.6
                                      No                    8            10.4       5              10.4
Cosmetic face powder use              Yes                  38            50.7      24              54.5      1.1            0.4-2.7b
                                      No                   37            49.3      20              45.4
                                      Missing                                       2
Insulation installed at               Yes               3f;              39.5      17              37.8      1.2            0.3-4.6’
   residence                          No                46               60.5      28              62.2
                                      Missing            1                          1
Living in the vicinity of a fi-       Yes                7                9.2       4               8.9      1.0            0.3-3.4
   ber-emitting industrial            No                69               90.8      41              91.1
   establishment                      Missing            1                          1
Applied bath talc to body             Yes               47               61.8      24              55.8      1.6            0.6-2.7
   (respiratory exposure)             No                29               38.2      19              44.2
                                      Missing            1                          3
Fiber exposure in relatives           Yes               186             24.3        5              10.9      2.8            0.9-8.8
                                      No                56              75.7       41              89.1
Use of spackhng and taping            Yes               20              29.0       14              31.1      1.6            0.5-3.4”,’
                                      No                49              71.0       31              68.9
                                      Missing            8                          1

  a Adjusted for highest weight 1 year prior to diagnosis.
  ’ Adjusted for years of education on subject.
  ’ Adjusted for number of live births.
  d Three cases were excluded because they had been directly exposed to fibers and had a household member who had been occupationally
exposed to fibers. Fiber exposure included asbestos, talc, or fiberglass exposure.
  ’ Adjusted for religion.


      -Tubal    ligation                                                     3. Have you ever lived in the vicinity of a shipyard, an
      -Any other abdominal operation                                      asbestos or talc mine, or an asbestos, talc, or fiberglass
(These items were confirmed by examination of medical                     processing plant prior to your hospitalization       in -?
records)                                                                     4. Have you regularly applied talcum powder to your
   2. Did you use a diaphragm prior to your hospitalization               body after bathing or for other reasons prior to your
in -.      7                                                              hospitalization      in -?
      If yes: Did you use a powder to dust and dry the                          Did you commonly apply the talcum powder to your
diaphragm?                                                                face, upper torso, or legs and feet?
      If yes: Was it talc?                                                   5. Have you or anyone who has ever lived in your
   3. Did you and your sexual partner ever use a condom                   household (including your husband) been employed in
prior to your hospitalization in -?                                       any of the following industries prior to your hospitali-
   4. Have you regularly applied talcum powder to your                    zation in -.
body after bathing or for other reasons prior to your                           (a) Installaiion     or removal of insulation materials
hospitalization in -?                                                           (b) Brake lining manufacture
      Did you commonly apply the talcum powder to your                          (c) Automobile       repair involving brake repair
genital area?                                                                   (d) Roofing using asbestos materials
   5. Have you used talc on sanitary napkins or any other                       (e) Asbestos milling or mining
sanitary products used during your menstrual period prior                       (f) Asbestos textile or paper manufacture
to your hospitalization in -.    7                                              (g) Building construction
                                                                                (h) Other industries where asbestos is used
Respiratory     Fiber Exposure                                                  (i) Talc mining and milling
   1. Prior to your hospitalization in -        had you ever                    (j) Other industries where talc is used
regularly used cosmetic face powder?                                            (k) Fiberglass or mineral wool manufacture
   2. Have you ever had insulation installed in a place                         (1) Other industries where fiberglass or mineral wool
that you lived in prior to your hospitalization    in -.  3                     was used
      Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 29 of 76 PageID:
                                        65769
                                                        FIBERS AND OVARIAN             CANCER                                                         25


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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 30 of 76 PageID:
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                       Exhibit 29
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 31 of 76 PageID:
                                  65771
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 32 of 76 PageID:
                                  65772
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 33 of 76 PageID:
                                  65773
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 34 of 76 PageID:
                                  65774
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 35 of 76 PageID:
                                  65775
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 36 of 76 PageID:
                                  65776
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 37 of 76 PageID:
                                  65777
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 38 of 76 PageID:
                                  65778




                       Exhibit 30
        Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 39 of 76 PageID:
                                          65779
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       HAIR DYES, ANALGESICS, TRANQUILIZERS AND PERINEAL TALC
       APPLICATION AS RISK FACTORS FOR OVARIAN CANCER
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          In a hospital-based case-control study of ovarian cancer          viewed in the hospital wards by 2 medical residents of the
       conducted in Athens (1989-1991), 189 women with histologi-           respective hospitals.
       cally confirmed common malignant epithelial tumors of the               Cases and controls were also asked to report the frequency
       ovary were compared with 200 hospital visitor controls. All          of use (over an extended period before the onset of the present
       interviews were conducted by personal interview in the 2
       participating hospitals and the data were analyzed by modelling      disease for cases, or a comparable period before the interview
      through logistic regression, controlling for demographic and          for controls) of analgesics (never or rarely; infrequently, i.e.
      reproductive variables. Tranquilizing and hypnotic drugs (mostly      once per week or less; and frequently, i.e. twice per week or
      diazepam) were not associated with risk of ovarian cancer: the        more, on the average), tranquilizers or hypnotics (never or
      adjusted relative risk (RR) and 95% confidence interval (CI)          rarely; frequently), hair dyes (never; up to 4 times per year; 5
      were 0.96 (0.57 to 1.63), whereas use of analgesics (mostly           or more times per year) and talc in the perineal region (no;
      salicylates) was associated with significantly reduced risk of the    yes). Until recently, when acetaminophen-based drugs became
      disease (RR 0.51; CI 0.26 to 1.02). There was no evidence that        popular, most over-the-counter analgesics in Greece were
      perinea! application of talc was associated with increased risk
      (RR 1.05; CI 0.28 to 3.98) but the frequency of reporting talc use    based on salicylates, whereas diazepam-based drugs have
      was low in the study population. There was a statistically            dominated the tranquilizer market in Greece (the distinction
      significant (p for trend 0.007) and a dose-dependent association      between tranquilizers and hypnotics was not easily apparent to
      between hair dyeing and risk of ovarian cancer. Compared to           most women, and both categories were in the past frequently
      never-users, women dyeing their hair up to 4 times per year had      sold without prescription).
      a relative risk of 1.74 (0.91 to 3.32) whereas those dyeing their       The analysis was done first after stratification by age in
      hair 5 or more times per year had a relative risk of 2.16 (1.19 to   10-year groups and then by modeling the data through multi-
      3.89).
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                                                                            ple logistic regression using the SAS statistical package. In the
                                                                            multivariate analysis the following variables were controlled
                                                                           for, on account of their possible importance as selection or
         Ovarian cancer is an important cause of morbidity and             confounding factors: age (in 5-year groups); years of schooling
      mortality in most populations. The prognosis of the disease is       (0-5, 6-11, 12+ years); weight before onset of the disease (in
      poor and has improved little over the last 30 years. Several         5-kg, continuously); age at menarche (in single years, continu-
      epidemiologic studies exploring the etiology of ovarian cancer       ously); menopausal status (pre-menopausal, menopausal in-
      have been undertaken and; recently, 2 major meta-analyses            cluding climacteric); for post-menopausal and climacteric age
      have summarized the results of European (Franceschi et al.,          at menopause (in 5-years, continuously); parity (nulliparous,
      1991a,b; Negri et al., 1991) and American (Whittemore et al.,        parous); for parous age at first birth (in 5-years, continuously);
      1992a,b,c) studies. The only consistent findings were the            tobacco smoking (non-smokers, ever-smokers); average con-
      inverse associations of ovarian cancer risk with parity and oral     sumption of alcoholic beverages (in glasses/day, continu-
      contraceptive use (Negri et al., 1991; Franceschi et al., 1991b;     ously); and average coffee drinking (in cups/day, continu-
      Hankinson et al., 1992; Whittemore et al., 1992a); these             ously). The 4 variables examined in this study (use of analgesics,
     associations cannot explain the almost 3-fold international           tranquilizers, hair dyes and talc in the perineal region) were
     variation in the incidence of ovarian cancer.                         also simultaneously introduced in the multivariate. model,
        In a case-control study undertaken in Athens in 1989-1991          although there was virtually no mutual confounding among
     we have examined, in addition to reproductive variables and           them.
     tobacco, coffee and ethanol consumption (Polychronopoulou
     et al., 1993) the possible importance, as ovarian cancer risk                                       RESULTS
     factors,- of hair dyes, analgesics, tranquilizers and perineal talc
     application. The evidence concerning the potential involve-              The results concerning analgesics and tranquilizers/hypnot-
     ment of these factors in the etiology of ovarian cancer is            ics are presented in Table I. There is clearly no evidence that
     limited, speculative, or indirect. In this paper we report the        either analgesics or tranquilizers/hypnotics increase the risk of
     results of our study with respect to these factors.                   ovarian cancer. On the contrary, after adjustment for a set of
                                                                           probable confounding factors, the inverse association with
                                                                           frequency of use of analgesics becomes marginally significant
                       SUBJECTS AND METHODS                                with an apparent dose-response trend.
                                                                              Table II shows frequency distributions as well as crude and
       The characteristics of the study subjects have been described       adjusted rate ratios associated with the practice and frequency
    (Polychronopoulou et al., 1993). Briefly, cases were 189 women         of hair dyeing and the local application of talc in the perinea!
    residents of Greater Athens and under 75 years of age (90% of          region. Although the number of talc users is in general small
    those eligible), who underwent surgery for a common epithe-
    lial ovarian tumor in the 2 major cancer hospitals of the
    Greater Athens area between June 1989 and March 1991,
    whereas controls were 200 women, residents of the Greater                3To whom correspondence and reprint requests should be ad-
                                                                           dressed.
    Athens area and under 75 years of age, visiting patients
    hospitalized in the same wards as the cancer patients at the
    same time (94% of those eligible). The women were inter-                 Received: April 4. 1993 and in revised form June 7, 1993.


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        Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 40 of 76 PageID:
                                          65780

                                                        HAIR DYES, DRUGS AND OVARIAN CANCER                                                                409
         TABLE I - REPORTED USE OF ANALGESICS AND TRANQUILIZERS/HYPNOTICS BY 189 WOMEN WITH OVARIAN CANCER (COMMON EPITHELIAL
                        TUMORS) AND 200 COMPARISON WOMEN. RELATIVE RISK POINT ESTIMATES (95% CONFIDENCE INTERVALS)

                                                                                  Use of analgesics                                     p-value for trend
                                                Never/rarely                    Infrequently                             Frequently          (1 d.f.)

         Cases                                      43                          102                                         44
         Controls                                   35                          112                                         53
         RR crude)                                   1                     0.74 0.44-1.25)                           0.68 (0.37-1.23)          0.21
         RR age-adjusted)                               1                  0.93 0.53-1.63)                           0.61 (0.32-1.17)          0.11
         RR multiple regression)'                       1                  0.78 0.43-1.43)                           0.51 (0.26-1.02)          0.05
                                                                           Use of tranqui lizers/hypn ()tics
                                                                                                                                         p-value (1 d.f.)
                                                                No                                             Yes

         Cases                                                 143                                       46
         Controls                                              146                                       54
         RR crude)                                                  1                              0.87 0.55-1.37                              0.55
         RR age-adjusted)                                           1                              0.87 0.53-1.42                              0.58
         RR multiple regression)"                                   1                              0.96 0.57-1.63                              0.89
         'Controlling for age, years of schooling, weight before onset of the disease, age at menarche, menopausal status and age at menopause,
      parity and age at first birth, tobacco smoking, coffee drinking, consumption of alcoholic beverages, hair dyeing, perineal talc application,
      as well as for mutual (analgesics-tranquilizers/hypnotics) confounding influences.

           TABLE II - DISTRIBUTIONS OF 189 WOMEN WITH OVARIAN CANCER (COMMON EPITHELIAL TUMORS) AND 200 COMPARISON WOMEN BY
            FREQUENCY OF HAIR DYEING AND PERINEAL TALC APPLICATION. RELATIVE RISK POINT ESTIMATES (95% CONFIDENCE INTERVALS)

                                                                                   Hair dyeing                                          p-value for trend
                                                 Never                     s4 times/year                               5 times/year          (1 d.f.)

        Cases                                    112                          29                                        48
        Controls                                 140                          31                                        29
        RR crude)                                   1                   1.17 1[;1.67-2.01                         2.07 1.23-3.49             0.008
        RR age-adjusted)                            1                   1.46 0.78-2.71                            2.04 1.17-3.58             0.014
        RR multiple regression)'                    1                   1.74 0.91-3.32                            2.16 1.19-3.89             0.007
                                                                         Talc application in the perineum
                                                                                                                                        p-value (1 d.f.)
                                                               No                                           Yes

       Cases                                                183                                          6
       Controls                                             193                                          7
       RR crude)                                              1                                   0.90 0.30-2.74                             0.86
       RR age-adjusted)                                       1                                   0.86 0.27-2.68                             0.78
       RR multiple regression)1                               1                                   1.05 0.28-3.98                             0.95
      1Controlling for the variables indicated in the footnote to Table I as well as for use of analgesics and tranquilizers/hypnotics and for
     mutual (hair dyes, talc in the perineal region) confounding influences.


     and the respective confidence interval fairly large, there is                talc in comparison to women reporting no such exposure. Since
     clearly no evidence of an increased risk associated with                     then, 5 other studies have examined the relation between
     perineal application of talc. By contrast, there is a clear, highly          perineal talc application and risk of ovarian cancer, and in
     significant and dose-dependent positive relation between hair                none of them was there a statistically significant association
     dyeing and risk of ovarian cancer.                                           (reviewed by Harlow et al, 1992). On the basis of the existing
                                                                                  studies, Harlow et al. (1992) calculated a significantly elevated
                                                                                 weighted relative risk of 1.3 (95% CI 1.1-1.6). The results of
                               DISCUSSION                                         the present study do not support an association between talc
        The strengths and weaknesses of the present study, as a                  and ovarian cancer but, given the overlapping range of the
     hospital-based case-control investigation, have been consid-                confidence intervals, they are not incompatible with it. It
     ered in another report (Polychronopoulou et al., 1993). Briefly,            should be noted that marginally significant positive associa-
     the study has the power limitations associated with its moder-              tions between talc exposure and risk of ovarian cancer were
     ate size and, as in any case-control study, there exists a                  found in 2 recent case-control studies (Chen et aL, 1992;
     possibility of selection and, less likely, of information bias. It          Rosenblatt et al., 1992) that were not included in the meta-
     should be noted, however, that there was no evidence, as                    analysis by Harlow et al. (1992).
     contrasted to the theoretical potential, that such biases have                  Hair coloring products contain components that are muta-
     actually operated in the present context.                                   genic and carcinogenic in animals (IARC, 1987). An increased
       The possibility that ovarian cancer may be caused by                      risk of breast cancer among long-term users of hair dyes was
    exposure to asbestos has been raised by Keal (1960) and                      reported in the 1970's but several subsequent investigations
    elaborated by Graham and Graham (1967). Longo and Young                      were unable to confirm the early reports (reviewed by Nasca et
    (1979) pointed out that mineral talc is closely related to                   al., 1992). In contrast, several studies have suggested that
    asbestos, and presented clinical and experimental evidence                   occupational exposure to these products may be associated
    linking exposure to talc with ovarian cancer. Cramer et al.                  with hematopoietic cancers (reviewed by Zahm et al., 1992)
    (1982) found a significantly elevated relative risk of 1.92                  and a recent investigation indicated that users of hair coloring
    (p < 0.003) among women who reported perineal exposure to                    products may be at elevated risk of Hodgkin's disease, non-


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         Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 41 of 76 PageID:
                                           65781

      410                                                                 TZONOU ET AL.

      Hodgkin's lymphoma, and multiple myeloma (Zahm et al.,                          ciently reliable to allow drug-specific relative-risk estimates to
      1992). The results of the present study suggest that use of hair               be made.
      dyes may increase the risk of ovarian cancer. Although the                         Non-steroidal anti-inflammatory drugs, such as aspirin,
      association in the present study was dose-dependent and                        inhibit the growth of colon tumors in rodents (reviewed by
      statistically significant, and causality is biologically plausible,            Thun et al., 1991) and there is epidemiologic evidence of a
      an etiologic link between hair dyes and ovarian cancer cannot                  similar effect in humans (Rosenberg et al., 1991; Thun et al.,
      be considered until independent confirmation is available from                 1991). The mechanism is unknown but may be systemic and
      subsequent studies.
                                                                                     involve prostaglandin synthesis or interleukin-6 regulation
         There is no evidence that psychotropic drugs in general or                  (Marnett, 1992). In view of this evidence, an inverse associa-
      the widely used diazepam in particular is associated with                      tion between aspirin and ovarian cancer is not biologically
      cancer. In an earlier Greek study (Tzonou et al., 1984) a                      implausible, but a causal interpretation should not be consid-
     marginally significant positive association was noted between
                                                                                     ered before this finding is independently replicated.
     "psychotropic drugs" and ovarian cancer and a similar associa-
     tion was suggested in an earlier report for prochlorperazine                       The evidence, presented in this report, of an association
     and secobarbital (Friedman and Ury, 1980). There was no                         between ovarian cancer and hair dyes (positive) and analgesics
     evidence, in the present study, of an association between                       (inverse) is not overwhelming and the respective relations are
     tranquilizers and hypnotics, collectively considered, and risk of               not very strong. However, the widespread use of hair coloring
     ovarian cancer. Although diazepam was the most frequently                       products and aspirin indicate that if these associations were
     involved compound, the relevant information was not suffi-                      causal, their population impact would be substantial.

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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 42 of 76 PageID:
                                  65782




                       Exhibit 31
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 43 of 76 PageID:
                                  65783

Int. J. Cancer: 62,678-684 (1995)                                                                Publication of the InternationalUnion Against Cancer
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REPRODUCTIVE AND OTHER FACTORS AND RISK OF EPITHELIAL
OVARIAN CANCER: AN AUSTRALIAN CASE-CONTROL STUDY
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   Of the few factors known to be associated with epithelial            chronopoulou et al., 1993; Hartge et al., 1989). After adjust-
ovarian cancer, the most consistently observed relate to wom-           ment for parity, breast-feeding has been reported to reduce
en’s reproductive function, although even here uncertainties            risk of disease by up to 40%, but this reduction did not appear
remain. We have undertaken a case-control study involving               to be related to duration of breast-feeding (Whittemore et al.,
personal interviews with over 1,600 women, the largest of its           1992; Booth et al., 1989) and was entirely absent in some
kind t o date, t o investigate further the associations between
women’s reproductive histories and other factors and the
                                                                        instances (Hartge et al., 1989; Cramer et al., 1983).
development of ovarian cancer. Cases were drawn from women                 With regard to menstrual factors, a moderately increased
diagnosed with epithelial ovarian cancer in 3 Australian states,        risk (20%) has been seen in women with early menarche in
Queensland, New South Wales and Victoria, between August                some settings (Whittemore et al., 1992; Franceschi et al., 1991;
I990 and December 1993, and controls were drawn a t random              Kelsey and Hildreth, 1983). Some researchers have noted
from the electoral roll, stratified by age and geographic region.       significant associations between late age of menopause and
Trained interviewers administered standard questionnaires t o           increased risk of disease (Franceschi et al., 1991; Booth et al.,
obtain detailed information about women’s reproductive and
contraceptive histories and other factors of interest, such as          1989), while others found no support for this relationship
smoking and family history of ovarian o r other cancer. Findings        (KvHle et al., 1988). No significant links between ovarian cancer
were based on data from 824 cases and 860 controls and                  and menorrhagia, dysmenorrhoea or duration of menstrual
confirmed the reduced risk of ovarian cancer associated with            flow have been recorded (Kelsey and Hildreth, 1983).
increasing parity and duration of use of the oral contraceptive            Of particular interest with respect to the aetiology of ovarian
pill (OCP), hysterectomy and tuba1 ligation. The strongest              cancer, because it is a discretionary exposure, is the apparent
association of all was seen with use of the OCP for 10 years or         protective role of the oral contractive pill (OCP). A recent
more. An inverse association between ovarian cancer and age at
first birth was observed, but this was not statistically significant.
                                                                        review examined 21 studies with data on the association
There were no associations between development of ovarian               between OCP use and subsequent ovarian cancer risk. After
cancer and number of incomplete pregnancies, use of hormone             adjustment for parity, women who had ever used the OCP had
replacement therapy o r menstrual history. Among other factors          a lower risk of epithelial ovarian cancer of around 40%
considered, education after leaving school was negatively associ-       compared with women who had never used the OCP (Parazzini
ated and high body mass index, family history of ovarian cancer,        et al., 1991). The protective effect of OCP use on ovarian
use of talc in the abdominal or perineal region and smoking             cancer risk increases with duration of use, with up to 70%
were positively associated with occurrence of ovarian cancer.           reduction seen for more than 5 years of use compared with
o 1995 Nilq-Liss, Inc.                                                  around 5% reduction for less than 1 year of use (Whittemore et
                                                                        al., 1992). Similarly, consistent inverse associations have been
   Ovarian cancer, the 6th most common cancer occurring in              found between ovarian cancer and certain gynaecological
women, accounts for 4% of all incident cancers and 5% of all            procedures. Tuba1 sterilisation has been associated with a 50%
cancer deaths among women (Silverberg et al., 1990). Its                reduction in risk of ovarian cancer, and a 2 0 4 0 % reduction
incidence varies between different countries and among differ-          has also been seen following hysterectomy with ovarian conser-
ent ethnic groups, ranging from 4 to 15 per 100,000women per            vation (Whittemore et al., 1992; Booth et al., 1989).
year (age-standardised to the world population; Parkin et al.,             Regarding other possible risk factors, a history of any cancer
1992). In Australia, the age-standardised incidence rate for            among first-degree relatives has been shown to be associated
ovarian cancer is approximately 9 per 100,000 (Jelfs et al.,            with an increase in ovarian cancer, estimated to be around
1992).                                                                  80% (Cramer et a[., 1983). In many, but not all studies, ovarian
   Several factors have been reported as being associated with          cancer patients belonged to a higher socio-economic class than
the risk of epithelial ovarian cancer, most notably various             controls (Booth et al., 1989; Kelsey and Hildreth, 1983), and
reproductive and menstrual factors. Compared with nullipa-              risk of disease has also been found to decrease with increasing
rous women, parous women have a lower risk of developing                years of education (Polychronopoulou et al., 1993). While a
ovarian cancer (Whittemore et al., 1992; Kelsey and Hildreth,           slight increase in risk has been associated with perineal
1983), with an estimated 15% reduction in risk associated with          exposure to talc (Chen et al., 1992), most studies have not
each birth or pregnancy (Whittemore et al., 1992; Booth et al.,         found a statistically significant association (Parazzini et al.,
1989; Hartge et al., 1989). Late age at first live birth has been
positively associated with ovarian cancer in some (Polychro-
nopoulou et al., 1993; Booth et al., 1989) but not all studies           9To whom correspondence and reprint requests should be sent, at
(Cramer et al., 1983; Kelsey and Hildreth, 1983), while in a            Queensland Institute of Medical Research, P.O. Royal Brisbane
recent Swedish study, after adjustment for parity and age, risk         Hospital, QLD 4029 Australia. Fax: 61-7-3362 0101.
of disease decreased with later ages at first birth (Adami et al.,
1994). Miscarriages and terminated pregnancies, termed “in-
complete pregnancies” hereafter, may reduce risk to the same              ‘Osee Appendix for list of collaborators.
degree as full-term pregnancies (Booth et al., 1989; Kvlle et al.,
1988), although again other results are not supportive (Poly-             Received: March 27,1995 and in revised form May 29, 1995.
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 44 of 76 PageID:
                                  65784

                                                 RISK FACTORS FOR OVARIAN CANCER                                                   679
1991). In a review of existing studies, Harlow et al. (1992)          plete pregnancies and pregnancy difficulties were entered
calculated a significant (30%) elevation in relative risk associ-     separately in the above base model. Analyses which explored
ated with perineal talc use.                                          associations with breast-feeding, multiple births (twins, etc.)
   We present here data from a large case-control study of            and age at first birth were confined to parous women. All
epithelial ovarian cancer to examine these issues further, with       analyses were performed using the SAS statistical package.
a view to resolving some of the uncertainties.

                                                                                                 RESULTS
                   SUBJECTS AND METHODS
                                                                          Of a total of 1,116 cases of epithelial ovarian cancer
   All histologicallyconfirmed incident cases of primary epithe-       identified, 201 (18%) were ineligible. There were 26 cases
lial ovarian cancer diagnosed between January 1991 and                 excluded because their tumour was deemed to be metastatic
December 1992 and registered in all major gynaecological-              rather than of ovarian origin, and 12 tumours were excluded on
oncology treatment centres in the 3 most populous Australian           histopathological review of tissue sections, with 4 reclassified
states, New South Wales, Victoria and Queensland, were                 as non-epithelial, 7 as benign, and 1 as recurrent ovarian
ascertained. From Queensland, an unselected sample of 30               cancer. A further 82 women were found to be outside the
histologically confirmed cases diagnosed between 1 August,             eligible age range; 68 women were unable to complete the
 1990 and 31 December, 1990 were also included, as well as all         questionnaire due to language difficulties or psychiatric condi-
cases diagnosed in 1993. The histopathology for each case was          tions (n = 49) or because they were too ill (n = 19); and 12
reviewed by an independent pathologist in each state (P.R.,            women were unable to be contacted to invite participation. A
B.S., G.W.) by examining tissue used to establish the original         further case (with peritoneal tumour) was excluded because of
diagnosis. When the consent of each woman’s treating doctor            a previous bilateral oophorectomy. Of the 915 eligible cases,
had been obtained, patients were invited to participate either         824 (90%) were interviewed. With regard to the eligible cases
prior to discharge after initial surgery or when attending the         not interviewed, 50 had died before an interview could take
hospital clinic for subsequent follow-up. Cases, aged between          place, 34 (4%) refused and in 7 cases the doctor did not grant
 18 and 79 years, with whom contact could be made and who              permission for interview. Among 1,527 women listed on the
were capable of completing the questionnaire were eligible for         electoral roll who were randomly selected to take part as
inclusion in the study.                                                controls, 192 could not be traced, 105 were unable to complete
   Controls were chosen from the electoral roll by a random            the questionnaire due to language or psychiatric problems
procedure designed to yield an age distribution similar to that        (n = 69) or because of sickness or death (n = 36), 48 were
anticipated among cases (enrolment to vote is compulsory in           found to have had a previous bilateral oophorectomy and 4
Australia). For each case a control listed as being from a            were out of the nominated age range. Of the remaining 1,178
geographic region similar in degree of urbanisation was se-           eligible controls, 860 (73%) agreed to be interviewed. Consid-
lected and a letter explaining the study and inviting participa-       ering the histopathological categories of cases in the study, 22
tion was sent to the address listed on the electoral register. If a   (3%) had cancer of primary peritoneal origin (ie., extra-
woman was not found at the registered address, every attempt          ovarian serous carcinoma) and 140 (17%) had borderline
was made to trace her current whereabouts. Women who were             epithelial ovarian tumours, leaving 665 (80%) with frankly
unable to be located and invited to participate, those incapable      malignant tumours. The age distributions of cases and controls
of completing the questionnaire and those who gave a history          were similar (Table I); the mean age of cases was 55.5 years
of ovarian cancer or bilateral oophorectomy were not eligible         and of controls, 54.8 years.
to take part.                                                             Education beyond school was crudely associated with a 23%
   Identically trained interviewers administered a standard           decrease in risk of ovarian cancer and a 31% decrease after
questionnaire in a face-to-face intemiew either in the clinic         adjustment for parity (Table I). Women with a BMI greater
(cases) or in the subject’s home (some cases and all controls).       than the 85th percentile had approximately double the risk of
Questions were asked about marital status, education, ethnic-         ovarian cancer compared with women in the middle 30% of
ity, height and weight, smoking history, occupation of self and       the EM1 range (taken as normal weight), after adjustment for
partner and family history of ovarian and any other cancers.          parity. Among nulliparous women there was a 41% increase in
Details of each woman’s reproductive and contraceptive histo-         risk for women who had ever been married or lived with a
ries were obtained by means of a pregnancy and a contracep-           partner compared with those who had never lived with a
tive calendar which elicited, month by month, events in the           partner. Women who said they used talc in the abdominal or
woman’s reproductive life from ages 15 to 50 years. Questions         perineal regions had a small increase (27%) in risk of ovarian
were also asked about difficulties in conceiving, abdominal           cancer, and a small increase (17%) was observed for ever-
surgery and other factors, such as history of talc use or             smokers compared to life-long non-smokers (Table I). After
childhood mumps infection. In addition, dietary data were             adjustment for duration of OCP use, there was a significant
collected from all participants using a self-completed food           positive relation between smoking and ovarian cancer
frequency questionnaire adapted from the instrument devel-            (OR = 1.38,95% CI: 1.12-1.69; data not shown).
oped and validated by Willett et al. (1985).                             One of the strongest associations observed was between
   A number of demographic, environmental, reproductive,              ovarian cancer and immediate family history of the disease.
hormonal and biological factors were examined for possible            Women with a first-degree relative previously diagnosed with
associations with ovarian cancer. Crude odds ratios (ORs) with        ovarian cancer had an approximately 4-fold increase in risk of
confidence limits were calculated as estimates of the relative        disease compared with women who had no immediate family
risk of ovarian cancer. After stratifying by parity, the Mantel-      history of disease. An immediate family history of any cancer
Haenszel estimate for combining stratum-specific ORs was              other than ovarian cancer did not appear to have a significant
used to calculate adjusted ORs. Relative risks were estimated         effect on the risk of disease (Table I).
using multiple categorical logistic regression to simultaneously         Of the gynaecological factors assessed, hysterectomy, tubal
adjust for parity, hysterectomy, tubal ligation and duration of       ligation and any OCP use were all inversely related to ovarian
OCP use and also for possible confounders such as age (in             cancer (Table 11). Long duration of OCP use was strongly and
years), education, talc use, body mass index (BMI), smoking           inversely related to disease, with a 70% reduction in risk seen
and family history of cancer. In addition, menstrual factors,         for 10 or more years of use compared with never use. Hormone
age at first birth, multiple pregnancies, breast-feeding, incom-      replacement therapy (HRT) also was inversely, albeit not
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 45 of 76 PageID:
                                  65785

680                                                         PURDIE ETAL

                  TABLE I - DISTRIBUTION OF VARIOUS PERSONAL AND SOCIAL FACTORS AMONG CASES AND CONTROLS.
                    CRUDE ODDS RATIOS (WITH 95% CONFIDENCE LIMITS) AND ODDS RATIOS ADJUSTED FOR PARITY
                                                         Cases       Controls                               Odds ratio
                                                                     (n = 860)          Crude                adjusted
                                Factor                 (n = 824)'                     odds ratio
                                                          (9%)         (%\                                  for naritv

                   Age (yr)
                     18-29                              4.2       5.5                                0.56 (0.31-1.00
                     30-39                              9.2       8.1
                     40-49                             19.4      23.8
                     50-59                             25.8      19.5            1.34 (1.02-1.77j    1.40 (1.05-1.86
                     60-69                             25.2      25.6            1.0                 1.o
                     70-79                             16.0      17.4            0.93 (0.69-1.26)    0.88 (0.65-1.20)
                   Postschool education             (n = 818) (n = 855)
                     Yes                               42.4      48.8            0.77 (0.64-0.94)    0.69 (0.57-0.84)
                   BMI                              (n = 805) (n = 852)
                     < 15th percentile                 14.0      15.6            1.10 081-149        1.00 073-1 37
                     15-35th percentile                19.6      20.3            1.18 [0:89-1:56]    1.14 [O:86-1:51]
                     35-65th percentile                27.0      32.9            1.0                 1.o
                     65-85th percentile                21.1      19.3            1.34 (1.01-1.77)    1.39 (1.04-1.84)
                     2 85th percentile
                   Married or lived with a partner
                   Ovarian cancer in mother, sister
                       or daughter
                   Family history of any cancer
                                                       18.3
                                                       92.0
                                                        2.7
                                                       41.9
                                                                 12.0
                                                                 93.5
                                                                  0.7
                                                                 41.0
                                                                                        I 1 I r
                                                                                 1.86 1.37-2.53
                                                                                 0.80 0.55-1.16
                                                                                 3.90 1.58-9.68
                                                                                 1.03 (0.85-1.26)
                                                                                                     1.97 1.44-2.70'
                                                                                                     1.41 0.93-2.13
                                                                                                     4.48 1.96-10.3
                                                                                                     1.08 (0.88-1.31)
                       other than ovarian cancer
                   Use of talc around abdomen/         56.7      52.0            1.21 (1.00-1.46)    1.27 (1.04-1.54)
                        perineum
                   Smoking
                     Current or ex-smoker              41.9      37.8            1.19 (0.98-1.44)    1.17 (0.96-1.43)
                     Life-long non-smoker              58.1      62.2            1.0                 1.0
                   'Total is 824 cases and 860 controls unless othenvise specified.-2Adjusted by restricting to
                 nulliparous women.



                                                          Cases       Controls                           OR adjusted
                                 Factor                 (n = 824)'   (n = 860)          Crude OR          for parity
                                                           (%I          (%)

                   Hysterectomy (with ovarian con-    14.1      20.1              0.65 (0.50-0.84)    0.71 (0.55-0.92)
                        servation)
                   Tuba1 ligation                     12.6      22.7              0.49 (0.38-0.64)    0.56 (0.43-0.73)
                   Infection in tubes or uterus    (n = 817) (n = 852)
                     Yes                               6.5       6.7              0.97 (0.66-1.42)    0.91 062-1 35
                   Ever used OCP                      50.5      64.5              0.56 (0.46-0.68)    0.58 [0:48-0:71{
                    Length of use of OCP           (n = 797) (n = 845)
                     Never used                       51.2      36.1              1.0                 1.0
                      < 24 months                     14.8
                     24-59 months                     11.9
                     60-119 months                    13.8
                      2 120 months                     8.3
                   Ever used HRT                      24.2                                            0.93 (0.74-1.16)
                   'Total is 824 cases and 860 controls unless otherwise specified.


significantly, associated with ovarian cancer (Table 11), as was      strual flow and an increase associated with heavy menstrual
a reported history of infection in the tubes or uterus.               flow, though again none of these was significant. Women who
   Regarding relationships between reproductive factors and           had experienced painful periods were found to have a slightly
ovarian cancer, women of parity 2 or more had a significantly         increased risk compared with women who never had painful
lower risk of disease than nulliparous women (Table 111).             periods.
Multiple pregnancies appeared to decrease risk of ovarian                On multivariate analysis, the trend of increasing risk of
cancer (not significantly) after restricting analysis to parous       ovarian cancer with increasing height-adjusted weight calcu-
women and adjusting for parity. Breast-feeding appeared to be         lated from the lowest (below the 15th percentile) to the highest
unrelated to risk of ovarian cancer after adjustment for parity.      (equal to or greater than the 85th percentile) categories
Although on crude analysis age at first birth was not associated      remained highly significant. Hysterectomy and tuba1 ligation
with risk of disease, after adjustment for parity there was           were shown to be independently associated with a decreased
an inverse trend with later ages at first birth (Table 111)           risk of ovarian cancer, as was ever use of OCP (Table V). A
( x : =~ 3~. 7~9 , ~~= 0.05).                                         strong inverse trend was observed with increased duration of
   Menstrual factors, including age at menarche, menopausal           OCP use: 10 or more years of use compared to never use was
status and age at menopause, were not significantly related to        associated with a 74% reduction in risk of disease (Table V).
the occurrence of ovarian cancer (Table IV). Irregular men-           An inverse relation was also seen in women with 2 o r more live
strual cycles were weakly associated with disease, and there          births, with risk decreasing with increasing number of births.
appeared to be a decreased risk associated with light men-            Furthermore, late age at first birth was inversely related to
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 46 of 76 PageID:
                                  65786

                                                RISK FACTORS FOR OVARIAN CANCER                                                  681
                  TABLE 111- DISTRIBUTION O F VARIOUS R E P R O D U n I V E FACTORS AMONG CASES AND CONTROLS. CRUDE
                         ODDS RATIOS (WITH 95% CONFIDENCE LIMITS) AND ODDS RATIOS ADJUSTED FOR PARITY

                                                      Cases       Controls
                                 Factor             (n = 824)'   (n = 860)            Crude OR               O R adjusted
                                                       1%)          i%l                                       for parity

                    Parity
                      0                             22.7      15.6   1.0
                      1                             14.0
                      2                             28.8
                      3                             17.8
                      4                              9.2
                     5+                              7.5
                    Age at first birth (yr)'     (n = 640) (n = 727)
                     15-19                          10.6       8.9   1.22 (0.84-1.77)                  1.13 (0.77-1.66)
                     20-24                          45.9      47.0   1.0                               1.0
                     25-29                          30.5      31.4   0.99 10.78-1.27)
                     30-34                           9.2       8.8   1.07 (0.73-1.58j
                     2 35                            3.8       3.9   1.00 0.57-1.76                    0.64 (0.34-1.20
                    Multiple pregnancies (twins,     1.6       3.0   0.51 10.26-1.00
                        etc.)                                        0.56 (0.29-1.09]'                 0.62 (0.32-1.21)'
                    Incomplete pregnancies
                      0                               71.2        69.7        1.0                      1.0
                      1                               19.5
                      2
                      3+
                                                       4.6
                                                       4.6
                                                                  20.1
                                                                   5.6
                                                                   4.6
                                                                                  !
                                                                              0.95 0.74-1.21
                                                                              0.81 0.52-1.26 !
                                                                              0.97 (0.61-1.531
                                                                                                       1.04 0 81-1.33
                                                                                                       0.89 t0:57-1.38{
                                                                                                       0.94 0.59-1 49
                    Unsuccessfully tried to           12.5         7.3        1.81 1.30-2.52           1.34 {0.94-1:90]
                        become pregnant
                    Ever breast-fed                   61.9        69.6
                                                                                  I
                                                                              0.71 0.58-0.87)
                                                                              0.85 0.65-1.12\2         0.96 m.73-1.2~2     ~




                    'Total is 824 cases and 860 controls unless otherwise specified.-zRestricted to parous women.

                   TABLE IV - DISTRIBUTION OF VARIOUS MENSTRUAL FACTORS AMONG CASES AND CONTROLS. CRUDE
                        ODDS RATIOS (WITH 95% CONFIDENCE LIMITS) AND ODDS RATIOS ADJIJSTED FOR P A R I T Y

                                                   Cases           Controls                                  OR adjusted
                              Factor             (n = 824)'       (n = 860)           Crude OR
                                                    (9%)             (9%)                                     for parity

                    Age at menarche (yr)        (n = 822)        (n = 859)
                      < 12                         14.6             15.5          0.95 (0.72-1.26)     0.95 (0.71-1.27)
                      12-13                        45.9            46.2           1.0                  1.o
                      2 14                         39.5            38.3           1.04 (0.84-1.28)     1.07 (0.86-1.32)
                    Menopausal status
                     Pre-menopausal                39.1             39.4          1.0                  1.0
                     Post-menopausal               60.9             60.6          1.01 (0.83-1.23)     1.09 (0.89-1.33)
                    Age at menopause (yr)       (n = 498)        (n = 517)
                      < 45                         10.0              8.9          1.22 0.78-1.89       1.19 0.76-1.86
                      45-49                        26.9             24.6          1.14 10.84-1.541     1.07 [0.79-1.46{
                      50-52                        43.8             47.3          1.o                  1.0
                      2 53                         20.3             19.2          1.14 (0.82-1.59)     1.11 (0.79-1.56)
                    Regularity of periods       (n = 820)        (n = 858)
                     Very regular                  78.7             76.3         1.0                   1.0
                     Sometimes irregular           13.2             14.3         0.89 0 67-1.18        0.87 0.66-1 15
                     Very irregular                 8.2              9.3         0.85 10:60-1.20]      0.89 {0.63-1:25]
                    Menstrual flow              (n = 818)        (n = 857)
                     Light                          6.0              8.0         0.76 (0.52-1.12)      0.72 (0.49-1.05)
                     Average                       59.3             60.7         1.0                   1.0
                     Heavy                         34.7             31.3         1.14 (0.92-1.40)      1.11 (0.90-1.37)
                    Painful periods             (n = 820)        (n = 856)
                     Often                         27.1             26.9         1.17 (0.91-1.50)
                     Sometimes                     26.8             22.8         1.36 (1.05-1.77
                     Seldom                        17.7             17.4         1.18 (0.88-1.57       1.19 (0.89-1.58
                     Never                         28.4             32.9         1.o                   1.n
                   'Total is 824 cases and 860 controls unless otherwise specified.


occurrence of ovarian cancer, though not significantly. There         pause and age at menarche were not significantly associated
was no association with disease in relation to either number of       with disease. Women who had ever had a multiple pregnancy
incomplete pregnancies overall (Table V) or number of                 were at decreased risk, but the confidence intervals were wide
miscarriages or number of terminated pregnancies taken                (Table V).
separately.
                                                                                                     DISCUSSION
  Painful periods appeared to be positively associated with
disease after adjustment for other factors, and there was a              The size of our case-control study of epithelial ovarian
moderate linear relationship observed between menstrual flow          cancer has enabled us to confirm some of the known associa-
and risk of disease (Table V). Breast-feeding, age at meno-           tions and report some significant associations not previously
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 47 of 76 PageID:
                                  65787

682                                                                     PURDIE ETAL.

                                                                               one ovary each reduced the risk of disease by 3 0 4 0 % . These
                                                                               apparent protective effects of OCP use, tuba1 ligation and
                                                                               hysterectomy with ovarian conservation are consistent with
                                                                               previous findings (Whitemore et al., 1992; Booth et ab, 1989).
                                                                               Our results indicate a strong and significant trend of decreas-
              Factors
                               Ad'usted OR              x 2 for trend          ing risk of epithelial ovarian cancer with each live birth after
                                      ci)                I D value)
                                                                               the first, as has been seen by others (Parazzini et al., 1991;
  BMI (percentile)                                                             Booth et al., 1989). The slight up-turn with 5 or more births
    < 15th                   1.03 0.74-1.44                                    may reflect chance, as indicated by the width of the confidence
   15-35th                   1.26 tO.93-1.701                                  interval. Early age at first birth, after adjustment for parity, has
      35-65th                1.0
    6545th                   1.50 1 12-2.03                                    previously been reported as being protective against ovarian
    285th                    2.00 [1:44-2.791       12.30 (p < 0.001)          cancer, with an elevated risk when age at first birth was 35
                                                                               years or more (Parazzini et al., 1991). In contrast, we have

                                                I
  Hysterectomy               0.69 (0.524.91
  Tubal ligation             0.60 (0.454.80                                    found that risk of epithelial ovarian cancer decreased with
  Ever used OCP'             0.54 (0.43-0.70                                   increasing age at first live birth after adjusting for parity and
  Length of use of OCP                                                         duration of OCP use (not statistically significant). This is
    Never used               1.0                                               consistent with the results of a Swedish study (Adami et al.,
    < 24 months              0.65 (0.47-0.90)                                  1994), which were adjusted for parity but not for other possible
    24-59 months
    60-119 months                                                              confounders such as OCP use. Pooled analyses of 6 population-
    2 120 months                                                               based case-control studies (Whittemore et al., 1992) also
                                                          v
  Ever used HRT              1.03 (0.80-1.33)                                  showed significant inverse associations with late age at first
  Parity                                                                       birth.
    0                        1.o                                                  No obvious effects of age at menarche or age at menopause
      1                                                                        were observed, which is in accordance with a number of studies
      L
      3                                                                        (Kvble et al., 1992; Whittemore et al., 1992). Taken together,
      4                      0.52 0.35-0.78                                    the evidence from these would seem to outweigh the positive
      5 f                    0.84 iO.53-1.331 11.90 (p < 0.001)                relationships with early age at menarche and late age of
  Age at first birth* (yr)                                                     menopause found in some studies (Franceschi et al., 1991;
      15-19                  0.96 (0.62-1.47)                                  Booth et al., 1989). A positive association with painful periods
      20-24                  1.0                                               has not been found consistently by others (Kelsey and Hil-
      25-29                  0.93 (0.71-1.22)                                  dreth, 1983) and may reflect either chance or differential
      30-34                  0.87 0 56-1 36
      2 35                   0.61 !0:32-1:15]        1.43 (p = 0.23)           recall. Some have found a protective effect of incomplete
  Multiple pregnancies2      0.68 (0.33-1.38)                                  pregnancies after adjusting for parity (Booth et al., 1989;
  Incomplete pregnancies                                                       Parazzini et al., 1991); we found no reduction in risk. Consis-
      0                      1.o                                               tent with prior work, no significant associations were found
      1                      1.05 10.81-1.37)                                  between lactation (Hartge et al., 1989; Cramer et d.,1983) or
      2                      0.90 '0.56-1.46                                   HRT (Wu et al., 1988) and risk of ovarian cancer. The strong
      3+                     1.02 $0.61-1.70\        0.00 (D
                                                          " = 0.99)            positive trend ( p < 0.001) noted with increasing BMI, such
  Unsuccessfully tried to    1.21 (0.83-1.77)                                  that women in the highest 15th percentile had a 2-fold increase
      become pregnant                                                          in risk compared with those of normal height-adjusted weight,
  Ever breast-fed2           1.05 (0.77-1.441
  Age at menarche (yr)                                                         has been observed in at least 2 previous studies (Cramer et al.,
      < 12                   0.87 (0.69-1.10)                                  1984; Farrow et al., 1989).
      12-13                  1.o                                                  Immediate family history of ovarian cancer was a strong
      2 14                   1.07 (0.85-1.35)        1.52 (p = 0.22)           predictor of epithelial ovarian cancer, supporting the view that
  MenoDausal status                                                            a significant genetic component exists in at least the small
   Pre'menopausal       LO
    Post-menoDausa1     0.72 (0.50-1.03)                                       percentage of ovarian cancer cases so affected (Cramer et al.,
  Age at menopause (yr)                                                        1983). Some other associations were observed here that have
      < 45
      45-49
      50-52
                                   I
                             1.04 0.65-1.68
                             1.05 0.74-1.50
                             1.o
                                                1                              not been consistently observed in smaller case-control studies.
                                                                               Education beyond secondary school after adjusting for other
                                                                               factors, using multivariate logistic analysis, was associated with
      2 53                   1.14 (0.78-1.66)        0.08 (p = 0.78)           a significant reduction in risk (OR = 0.77, CI 0.62-0.95), as has
  Menstrual flow                                                               been observed before (Polychronopoulou et al., 1993), suggest-
    Light                    0.71 (0.47-1.08)                                  ing that socio-economic status needs further examination
    Average                  1.0
    Heavy                    1.10 (0.87-1.39)        3.00 (p = 0.08)           together with other environmental factors that could explain
  Painful periods                                                              this relationship. Regular use of talc in the region of the
    Often                    1.23 (0.93-1.62)                                  abdomen or perineum was associated with a slight increase in
    Sometimes                1.32 (0.99-1.741                                  risk of disease, which, though not observed in some studies
    Seldom                   1.30 (0.95-1.78                                   (Parazzini et al., 1991), supports other findings (Booth et al.,
    Never                    1.0                     2.33 lo = 0.13)           1989; Harlow et al., 1992) and other clinical and experimental
  'Duration of OCP use not in the model.-*Restricted to par-                   evidence linking exposure to talc with ovarian cancer (Longo
ity r l .                                                                      and Young, 1979). Perhaps of particular note is that cancer of
                                                                               the ovary is not considered to be tobacco-related (Polychro-
                                                                               nopoulou et al., 1993). In this study, however, ever being a
observed. Use of the OCP, after adjustment for other factors,                  smoker, after adjustment for duration of OCP use, appeared to
appeared to reduce the risk of ovarian cancer by 46% com-                      significantly increase risk of disease by almost 40%, and we
pared to never use. Moreover, risk decreased the longer the                    intend to explore this association in greater detail in future
use of OCP: women who took the pill for at least 10 years had                  analyses.
an apparent 74% reduction in risk compared with never users.                      In considering possible biases firstly with respect to the
Tubal ligation and hysterectomy with conservation of at least                  selection of controls ascertained from the electoral roll, the
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 48 of 76 PageID:
                                  65788

                                                     RISK FACTORS FOR OVARIAN CANCER                                                            683
electoral roll status of all cases was investigated. Of the 824            (1971), is supported by some, but not all, evidence from
cases, 750 (91%) were enrolled, 28 (3%) had never been on the              epidemiological studies. Reductions in risk associated with
electoral roll and for 46 cases (6%) electoral roll status could           pregnancy and OCP use are the main factors that support the
not be determined. Analyses were repeated, including only                  hypothesis as ovulation ceases during these times. In the
cases who were on the electoral roll, with no material alter-              present study we conclusively found that childbirth and OCP
ation in the results. Given the control participation rate of 73%          use were associated with reduced risk of disease and that risk
it is also possible that in some instances the exposure patterns           decreased with increased duration of OCP use and increased
among study controls differed systematically from those of the             parity, which support the hypothesis. Other protective factors,
underlying source population of Australian women. The age                  such as hysterectomy and tuba1 ligation, do not appear relevant
distribution of non-responders considered in 3 age bands                   to the incessant ovulation theory as ovulation would not
(18-39, 40-59 and 60-79 years) and according to state of                   normally be suppressed after these surgeries. The hypothesis
residence was virtually identical to that of participating con-            would also predict a reduced risk with late age at menarche
trols, and thus selection bias due to a systematic age difference          and early age at menopause, which has not been shown here.
between responders and non-responders seems unlikely. Turn-                The increase in risk associated with dysmenorrhoea after
ing to the case subjects, the patient populations were consid-             adjustment for OCP use might be taken to offer indirect
ered to be generally representative of all cases occurring in              support to the incessant ovulation theory as ovulation is
women living in the states of Queensland (based on checks                  believed to be a prerequisite for menstrual cramps in the
against cases of epithelial ovarian cancer registered in the               following cycle. An alternative theory is that high gonadotro-
Queensland Cancer Registry showing that more than 95% of                   phin levels increase the risk of disease (Cramer and Welch,
cases had been captured) and Victoria because these are                    1983) and that suppression of gonadotrophin secretion would
comparatively small states and medical services are relatively             reduce risk of ovarian cancer, which is again the case during
centralised (though the precise capture rate is unknown). In               OCP use and pregnancy. Obesity would be expected to
the largest and most populous state of New South Wales,                    decrease risk under this hypothesis if gonadotrophin concentra-
however, identified cases represented around half the cases of             tions are reduced in these women; however, a significant
ovarian cancer diagnosed in the period (probably with under-               positive relationship has been seen between obesity and risk of
representation of women in rural areas). However, stratifica-              disease here and elsewhere (Farrow et al., 1989; Cramer et al.,
tion by state gave similar patterns of risk, suggesting that the           1984).
potential selection bias in ascertaining the New South Wales                  Among reproductive characteristics not considered in detail
cases, and perhaps the Victorian cases to some extent, did not             here in relation to ovarian cancer, low fertility remains a factor
materially distort the findings. Finally, during analysis it was           to be fully investigated, including the quantification of ovula-
assumed that borderline and frankly malignant tumours have a               tory history as far as possible. Women of low parity should be
similar aetiology. In support of this assumption, no differences           categorised into those choosing not to have children and those
in risk estimates between the 2 groups were found when cases               who have had difficulties in conceiving or bearing children, to
with borderline and frankly malignant tumours were analysed                precisely determine the effects of sub-fertility on risk of
separately.                                                                epithelial ovarian cancer. We plan to address these issues in
   Recall and interviewer bias should have been minimised                  subsequent publications.
because of the highly structured and standardised question-
naire delivered by identically trained interviewers and by the
use of detailed calendars for complex contraceptive and
                                                                                                  ACKNOWLEDGEMENTS
pregnancy histories. Although all data presented here were
self-reported, other studies have shown that data relating to                Funding for this study was provided by the Australian
menstrual history, reproductive history and operations are                 National Health and Medical Research Council and the
reasonably valid (Bean et al., 1979). Further, adjustment was              Queensland Cancer Fund. The assistance of Ms. H. Merry,
made for all known confounders in the analysis, although, of               Ms. L. Dommett and Ms. T. Pangan with data editing is
course, confounding by unknown factors is always possible.                 gratefully acknowledged. Thanks, of course, also to the doctors
   The theory that incessant ovulation is a factor in the                  who allowed us to interview their patients and to all the women
development of ovarian cancer, first developed by Fathalla                 who participated in the study.

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684                                                           PURDIE ETAL.

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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 50 of 76 PageID:
                                  65790




                       Exhibit 32
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 51 of 76 PageID:
                                  65791
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 52 of 76 PageID:
                                  65792
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 53 of 76 PageID:
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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 54 of 76 PageID:
                                  65794
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 55 of 76 PageID:
                                  65795
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 56 of 76 PageID:
                                  65796
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 57 of 76 PageID:
                                  65797




                       Exhibit 33
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 58 of 76 PageID:
                                  65798

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                                                                                                      Publication de l’Union Internationale Contre le Cancer
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TUBAL STERILISATION, HYSTERECTOMY AND DECREASED
RISK OF OVARIAN CANCER
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   We have examined the effect of tubal sterilisation and                  manner (Weiss and Harlow, 1986). Available data are largely
hysterectomy on risk of ovarian cancer in a large case-control             inconclusive about these alternatives since the studies have in-
study in eastern Australia involving 824 women aged 18–79                  volved small numbers of women reporting tubal sterilisation and
years, diagnosed with epithelial ovarian cancer between 1990               hysterectomy and details regarding timing of surgery often were
and 1993, and 855 controls randomly selected from the                      lacking. In the largest case-control study of its kind, we have
electoral roll. Relative risks for ovarian cancer were esti-
mated using multiple categorical regression to adjust for age,             studied in greater detail the possible effect of tubal sterilisation or
parity, oral contraceptive use and other risk factors. Tubal               hysterectomy on a woman’s risk of developing epithelial ovarian
sterilisation was associated with a 39% reduction in risk of               cancer, specifically investigating most of the associated factors that
ovarian cancer (RR 0.61, 95% CI 0.46–0.85) and hysterectomy                have been postulated to date.
with a 36% reduction (RR 0.64, 95% CI 0.48–0.85). Risk
remained low 25 years after surgery and was reduced irrespec-                                     SUBJECTS AND METHODS
tive of sterilisation technique, and estimates were similar
among various types of epithelial ovarian cancer. The great-                  Incident cases of primary epithelial ovarian cancer diagnosed
est reduction (74%) was observed among women with pri-                     between August 1990 and December 1993 and registered in
mary peritoneal tumours. Pelvic infection and use of vaginal               gynaecological-oncology treatment centres in 3 Australian states,
sprays or contraceptive foams were not related to ovarian
cancer, while use of talc in the perineal region slightly but              New South Wales, Victoria and Queensland, were ascertained.
significantly increased risk among women with patent fallo-                Tissue used to establish original diagnoses was reviewed by an
pian tubes. Reportedly heavy or painful menses, perhaps                    independent pathologist in each state. Full details have been
associated with retrograde flow, were associated with ovar-                presented elsewhere (Purdie et al., 1995). Briefly, cases aged 18–79
ian cancer, and reduction in risk of disease after hysterec-               years were invited to participate in the study with their doctors’
tomy was greatest among women who had heavy periods.                       consent, and a response rate of 90% was obtained. Control women,
Our findings support the theory that contaminants from the                 frequency-matched for age and urban/rural district of residence,
vagina, such as talc, and from the uterus, such as endome-                 were randomly chosen from the electoral roll (enrolment to vote is
trium, gain access to the peritoneal cavity through patent                 compulsory in Australia), and a letter explaining the study and
fallopian tubes and may enhance the malignant transforma-
tion of ovarian surface epithelium. Surgical tubal occlusion
                                                                           inviting participation was sent to them. Women who gave a history
may reduce the risk of ovarian cancer by preventing the                    of ovarian cancer or bilateral oophorectomy were excluded, and the
access of such agents. Int. J. Cancer 71:948–951, 1997.                    response rate was 73% among eligible controls. In a face-to-face
r 1997 Wiley-Liss, Inc.                                                    interview, identically trained interviewers administered a standard
                                                                           questionnaire, asking about personal details such as education,
                                                                           height and weight, smoking history, details of menstrual cycles and
   Although the factors that cause epithelial ovarian cancer are           family history of ovarian cancer. Full histories of pregnancies and
unknown, there are several discretionary factors that appear to            lactation were obtained, and by means of a calendar, each woman’s
protect against it. Oral contraception is associated with up to 70%        contraceptive practices between the ages of 15 and 50 years were
reduction in risk after 10 or more years of use compared with              elicited. Questions also were asked about history of pelvic infec-
never-use (Purdie et al., 1995), the protection presumably reflect-        tion, abdominal surgery and use of talc. If tubal sterilisation or
ing long-term suppression of ovulation. A 30–50% reduction in risk         hysterectomy had been performed, women were asked about date
has been observed (Booth et al., 1989; Hankinson et al., 1993;             and place of surgery and name of surgeon. Confirmation and details
Irwin et al., 1991; Whittemore et al., 1992), though not consistently
(Chen et al., 1992; Risch et al., 1994; Shu et al., 1989), after tubal
sterilisation, and this is independent of childbearing and oral-
contraceptive use. A similar inverse association is found between            Contract grant sponsors: Australian National Health and Medical Re-
hysterectomy with ovarian conservation and ovarian cancer (Hankin-         search Council; Queensland Cancer Fund.
son et al., 1993; Hartge et al., 1989; Irwin et al., 1991; Risch et al.,
1994; Weiss and Harlow, 1986).                                               *Correspondence to: Queensland Institute of Medical Research, Post
   Explanations include blocking the ascent into the peritoneal            Office, Royal Brisbane Hospital, Qld., 4029, Australia. Fax: 61-7-3362
cavity (Woodruff, 1971) of carcinogenic agents such as talc                0101. e-mail: adeleG@qimr.edu.au
(Henderson et al., 1979), asbestos (Graham and Graham, 1967),
viruses (Wahlberg, 1994) or contraceptive foams or gels (Silver,              The Survey of Women’s Health Study Research Group is comprised of
1994) through surgical closure of the fallopian tubes or post-             the following collaborators: S. Campbell, C. Dalrymple, A. Day, A. Ferrier,
surgical compromise of ovarian circulation (Cattanach, 1985)               K. Free (deceased), P. Grant, N. Hacker, P. Harnett, P. Harvey, R. Houghton,
associated with decreased ovarian function. Alternatively, the             T. Jobling, Peter MacCallum Cancer Institute, R. Planner, T. Proietto, R.
negative associations between pelvic surgery and ovarian cancer            Rome, J. Solomon, B. Susil, G. Wain and G. Wright. Research Assistants:
may be secondary to sub-fertility (Mori et al., 1992) or may be the        C. Birks, P. Brisley, P. Candlish, S. Clarke, K.-A. Lockwood, L. Luck, R.
                                                                           Patterson, L. Potter, A. Ward, M. Watson and M.-E. Yarker.
result of surveillance bias since women whose ovaries have been
screened for malignancy during surgery will have a reduced risk of
cancer for several years compared with women not screened in this            Received 2 December 1996; revised 27 January 1997
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 59 of 76 PageID:
                                  65799

                                                  OVARIAN CANCER, HYSTERECTOMY, TUBAL STERILISATION                                                  949

of operative procedures were then sought from the relevant medical                 Risk remained low 25 years or more after tubal sterilisation, when
practitioners with each woman’s written consent.                                   there was a 57% reduction in risk of ovarian cancer (Table II).
   To test the theory that tubal occlusion prevents entry of foreign               Hysterectomy
agents to the peritoneal cavity through the fallopian tubes, we                       There were 116 cases, and 178 of 860 initially enlisted controls
assessed exposures to vaginal sprays, contraceptive foams and                      who reported undergoing hysterectomy with conservation of at
douches, possible talc lubricant on the surface of condoms (Kasper                 least one ovary prior to the date of index diagnosis. Subsequent
and Chandler, 1995) and talc used specifically in the perineal                     checks of available medical records revealed that bilateral oopho-
region. It also was postulated that if peritoneal irritants were to play           rectomy had been performed in 5 controls, thereafter excluded
a role in the development of epithelial ovarian cancers, then this                 from all analyses; and in a validation study (Green et al., 1997), it
would apply to primary peritoneal cancers in particular, with a                    was shown that 2 cases and 2 controls had not had a previous
consequent substantial reduction in risk to this sub-group after                   hysterectomy, leaving 114 cases (14%) and 171 controls (20%) for
tubal occlusion. Duration of exposure was calculated from age at                   study. Controls with a previous hysterectomy were more likely to
first use to earliest age at pelvic surgery, if any, and age at last use           have had more children or heavy, painful periods than those
(age at diagnosis or at interview if use was continuing). In addition,             without (Table I). Estimated risk of ovarian cancer among women
we investigated whether tubal occlusion might prevent retrograde                   after hysterectomy was reduced compared with women without
menstruation, which may be damaging to the ovary. To this end,                     such a history (RR 0.64, 95% CI 0.48–0.85), with maximum effect
associations between ovarian cancer and painful or heavy periods                   reached 15 or more years after surgery (Table II).
were assessed on the assumption that these symptoms identified
women who may have experienced retrograde menstruation (Smith,                     Surgical tubal occlusion
1991) to a greater degree than women without these symptoms.                          Among women who had had occlusion of the fallopian tubes
   Crude odds ratios (ORs) with 95% confidence intervals (CIs)                     through either or both of these surgical procedures, there was,
were calculated as estimates of the relative risk (RR) of ovarian                  predictably, a 37% reduction in risk of ovarian cancer compared
cancer. Multivariate RRs were estimated using multiple categorical                 with women who had had neither procedure (RR 0.63, 95% CI
logistic regression to simultaneously adjust for parity and duration               0.49–0.79). There was little material variation in the results among
of oral contraceptive use and for other possible confounders, such                 the main histological sub-types of ovarian cancer or between
as age (in years), education, body mass index, smoking and history                 borderline and frankly malignant tumours. After surgical tubal
of ovarian cancer in a first-degree relative. Multivariate RRs are                 occlusion, the risk of developing a serous tumour, the largest
presented in this report except when stated otherwise. All analyses                histological sub-group, was reduced by 46% (RR 0.54, 95% CI
were performed using the SAS (Cary, NC) statistical package.                       0.42–0.70), and the sub-group showing the greatest reduction in
                                                                                   risk was that of women who had primary peritoneal tumours (RR
                                 RESULTS
                                                                                   0.26, 95% CI 0.07–0.87).
Tubal sterilisation                                                                   Pelvic infection before surgery was not related to risk of
                                                                                   epithelial ovarian cancer, and neither was duration of use of vaginal
   Of 824 women with incident ovarian cancer and 855 controls,                     sprays or of contraceptive foams related to risk. Ever-douching for
there were 104 cases (13%) and 194 controls (23%) who reported                     contraceptive purposes was associated with a non-significant 60%
tubal sterilisation. Among a random sample of 64 women for whom                    increase in risk of ovarian cancer. A modest association was seen
surgical records could be located, there was 100% agreement with                   between ovarian cancer and use of talc in the perineal region (RR
the women’s self-reports of tubal sterilisation (Green et al., 1997).              1.3, 95% CI 1.1–1.6). There was no additional effect of longer
Among control subjects, women who had had a tubal sterilisation                    duration of talc use nor was there any relation to reported age when
tended to have had more children more often than those who had                     talc was first used in the perineal region. No associations with
not had tubal sterilisation (Table I). Risk of ovarian cancer was                  duration of partner’s use of condoms (which may have had talc
appreciably reduced in women after tubal sterilisation compared                    lubricants) or with duration of use of a diaphragm (which may have
with other women (RR 0.61, 95% CI 0.46–0.85) (Table II). Among                     been stored in talc) were evident. Compared with women who had
a random sample of 20 cases and 58 controls for whom information                   neither used talc nor had surgical sterilisation, risk was highest
about method of tubal sterilisation was available from either                      among talc users without surgery (RR 1.3, 95% CI 1.0–1.7) and
surgical records or women’s general practitioners, decreased risk of               lowest among women with a history of tubal sterilisation or
ovarian cancer was observed irrespective of sterilisation technique,               hysterectomy who had not applied talc to the perineum (RR 0.6,
with crude RRs of 0.15, 95% CIs 0.02–1.3 after occlusion by tubal                  95% CI 0.50–0.84).
rings; 0.20, 0.04–0.95 after bipolar diathermy; 0.23, 0.07–0.84                       Habitual heavy periods and painful periods were each weakly
after application of clips; and 0.48, 0.24–0.94 after tubal ligation.              associated with ovarian cancer (RR 1.2, 95% CI 0.93–1.4 and RR
                                                                                   1.1, 95% CI 0.86–1.4, respectively), and risk of epithelial ovarian
  TABLE I – PREVALENCE OF POSSIBLE RISK FACTORS AMONG CONTROLS                     cancer among women with either heavy or painful periods was
   WITH AND WITHOUT SURGICAL OCCLUSION OF THE FALLOPIAN TUBES,
  STANDARDIZED TO THE AGE DISTRIBUTION OF ALL CONTROL SUBJECTS1                    raised to a similar level (RR 1.2, 95% CI 1.0–1.5) overall and for
                                                                                   the main histological sub-groups. Women who reported heavy
                               With        Without
                               tubal         tubal         With       Without      periods showed a 20% larger reduction in risk of ovarian cancer
         Risk factor
                           sterilisation sterilisation hysterectomy
                                                                    hysterectomy
                                                        (n 5  171)   (n 5 684)     after hysterectomy (RR 0.54) than women who had light or normal
                            (n 5 194) (n 5 661)
                                                                                   menstrual loss (RR 0.74), though the reduction in risk after tubal
  Post-school educa-         41.4         49.8          47.5          48.3         sterilisation was similar whether or not women reported heavy
    tion                                                                           periods. Women who had experienced painful periods had a lower
  Ever smoked                48.1         37.1          34.3          39.0         risk of ovarian cancer after tubal sterilisation or after hysterectomy
  Parity $2                  94.9         74.3          86.0          76.5         compared with women who reported pain-free periods (Table III).
  Heavy periods              34.8         31.1          51.7          26.1
  Painful periods            61.0         48.5          63.2          46.1                                     DISCUSSION
  Ever used oral con-        68.2         63.0          63.8          64.7
    traceptives                                                                       Ovarian cancer was found to be significantly reduced by 39%
  Past history of pelvic       8.3          6.0          8.5            6.1        after tubal sterilisation and by 36% after hysterectomy. Women
    infection                                                                      who had these procedures tended to have had more children than
  Ever used talc in          41.1         41.1          38.9          40.3
    perineal region                                                                other women and, thus, were already at lower risk of ovarian
                                                                                   cancer, but the low risk persisted after adjustment for parity and
  1Values are percentages.                                                         other factors, which is consistent with previous findings (Booth et
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 60 of 76 PageID:
                                  65800

950                                                                               GREEN ET AL.

 TABLE II – DISTRIBUTION OF CASES AND CONTROLS ACCORDING TO TIME BETWEEN TUBAL STERILISATION AND HYSTERECTOMY AND DATE OF DIAGNOSIS
  AMONG CASES, AND RISK OF OVARIAN CANCER ADJUSTED FOR AGE, EDUCATION, BODY MASS INDEX, PARITY, DURATION OF ORAL-CONTRACEPTIVE USE,
                                             SMOKING AND FAMILY HISTORY OF OVARIAN CANCER

                                                   Tubal sterilisation                                                      Hysterectomy
      Time since                                                                   Relative                                                          Relative
       surgery             Cases                       Controls                                            Cases              Controls
                                                                                  risk (95%                                                         risk (95%
        (years)                                                                   confidence                                                        confidence
                    Number         (%)         Number             (%)              interval)        Number         (%)    Number         (%)         interval)

  No surgery         720           (87)            661            (77)     1.0                       708           (86)    684           (80)   1.0
  Ever surgery       104           (13)            194            (23)     0.61 (0.46–0.85)          114           (14)    171           (20)   0.64 (0.48–0.85)
   0–4                 9            (1)             25             (3)     0.42 (0.19–0.96)           15            (2)     18            (2)   1.5 (0.73–3.3)
   5–9                14            (2)             28             (3)     0.56 (0.27–1.1)            18            (2)     23            (3)   0.89 (0.45–1.7)
  10–14               29            (4)             48             (6)     0.72 (0.43–1.2)            22            (3)     33            (4)   0.67 (0.37–1.2)
  15–19               36            (4)             47             (6)     0.98 (0.60–1.6)            19            (2)     37            (4)   0.52 (0.28–0.94)
  20–24                8            (1)             28             (3)     0.26 (0.11–0.62)           17            (2)     29            (3)   0.54 (0.28–1.1)
  251                  8            (1)             18             (2)     0.43 (0.18–1.0)            25            (3)     31            (4)   0.49 (0.28–0.89)


TABLE III – TUBAL STERILISATION, HYSTERECTOMY AND RISK OF OVARIAN                          effect of tubal closure on risk of ovarian cancer. Potential exposure
  CANCER IN RELATION TO MENSTRUAL HISTORY: RELATIVE RISKS (95%
CONFIDENCE INTERVALS) ADJUSTED FOR OTHER RISK FACTORS ARE SHOWN                            of the peritoneal epithelium to various agents via patent fallopian
                                                                                           tubes is of concern because ovarian surface epithelial cells are
                             Tubal sterilisation                   Hysterectomy
                                                                                           particularly susceptible to malignant transformation. Not only are
  Heavy periods                                                                            these cells prone to molecular genetic errors because of repetitive
    Yes                    0.63 (0.38–1.1)                    0.54 (0.35–0.84)             post-ovulation proliferation but also they behave as generative
    No                     0.60 (0.41–0.86)                   0.74 (0.50–1.1)              stem cells, unlike most epithelia, whereby a single mutation can be
  Painful periods                                                                          passed on to exponentially expanding progeny (Godwin et al.,
    Yes                    0.55 (0.36–0.83)                   0.61 (0.42–0.89)             1993). Exposure to vaginal sprays or foams (Silver, 1994) was not
    No                     0.69 (0.45–1.1)                    0.69 (0.44–1.1)              associated with risk of ovarian cancer, though use may have been
                                                                                           poorly recalled by older women. Talc from condoms (Kasper and
                                                                                           Chandler, 1995) or diaphragms may be another peritoneal contami-
al., 1989; Hankinson et al., 1993; Irwin et al., 1991; Mori et al.,                        nant, but duration of exposure was not associated with ovarian
1992; Whittemore et al., 1992). It is unlikely that the protective                         malignancy in these data. However, use of talc in the perineal
effect of hysterectomy was explained by inclusion of controls with                         region was associated with a significant (30%) increase in risk of
bilateral oophorectomy since most hysterectomies among controls                            ovarian cancer. Again, recall of use of talc among older women
were validated against medical reports (Green et al., 1997). Risk                          may not have been accurate, tending to reduce estimated RRs;
was low 25 years or more after surgery, discounting previous                               moreover, the actual quantity of talc used was unknown. Despite
suggestions (Weiss and Harlow, 1986) that the reduced risk is due                          the limitations, these results add support to the body of evidence
to pre-operative screening for malignancy. However, women who                              implicating talc as a factor in the pathogenesis of peritoneal
had bilateral oophorectomy as well as hysterectomy for pelvic                              epithelial neoplasia (Cramer et al., 1982; Chen et al., 1992; Longo
endometriosis would not have been represented among controls,                              and Young, 1979; Rosenblatt et al., 1992; Whittemore et al., 1988).
possibly lowering their risk of endometrioid ovarian cancer (Rus-                          Notably, women who had never been regularly exposed to talc in
sell, 1994).                                                                               the perineal region and had surgical tubal closure experienced the
                                                                                           lowest risk of ovarian cancer, in contrast to those women with
   Another explanation of the protective effect of tubal surgery is                        patent tubes who were regularly exposed to perineal talc, in
that interruption of trophic utero-ovarian circulation results in                          agreement with Whittemore et al. (1988). Women’s usage of talc in
fewer ovulations (Hankinson et al., 1993; Whittemore et al., 1992)                         the perineal region appears widespread—up to 40% among women
or hormonal imbalance (Cattanach, 1985). The degree to which the                           in the United States (Whittemore et al., 1988) and Australia alike
utero-ovarian circulation is compromised by tubal sterilisation                            (Purdie et al., 1995)—so that even an apparently small increase in
varies with the surgical technique, with diathermy of the fallopian                        RR of ovarian cancer associated with perineal talc use would pose a
tubes expected to interfere with the ovarian circulation more than                         sizable health risk to the population. Talc fibres have been found in
the application of clips or rings, for example. However, the present                       normal and malignant ovaries (Henderson et al., 1979). Talc is
data indicate that sterilisation techniques which minimally disturb                        closely related to and (until recently) variably contaminated by
the ovarian circulation were associated with very low risks of                             asbestos (Longo and Young, 1979) and may have similar effects on
ovarian cancer. Furthermore, neither ovulatory frequency (Rivera                           pleural and peritoneal epithelia. Occupational exposures to talc
et al., 1989) nor hormonal activity (Wu et al., 1992) showed                               (Kleinfeld et al., 1967), asbestos (Acheson et al., 1982) and rock
systematic changes after tubal sterilisation. Indeed, gonadal atro-                        salt (Tarchi et al., 1994) are significantly associated with ovarian
phy is associated with enhanced pituitary gonadotrophin produc-                            cancer mortality.
tion (Oliver, 1990) and may enhance carcinogenesis. Another                                   Some pelvic contaminants do not appear to have been studied in
speculation (Cramer and Xu, 1995) is that the protective effect of                         this context before. Retrograde passage of endometrium is believed
tubal occlusion could be explained by a reduction in uterine growth                        to occur in most women with patent fallopian tubes (Halme et al.,
factors reaching the ovaries through the compromised utero-                                1984). We hypothesised that women who report habitual heavy or
ovarian circulation, but this seems unlikely when removal of the                           painful periods experience retrograde menstruation to a greater
uterus, the source of the growth factors, is not as protective as tubal                    degree than other women and that this explains the association
sterilisation (Cramer and Xu, 1995; Hankinson et al., 1993).                               between heavy or painful periods and ovarian cancer (which is not
Neither is the suggestion that tubal occlusion may block the ascent                        explained by oral-contraceptive use). We tested this theory by
of carcinogenic infectious agents (Wahlberg, 1994) supported here,                         seeking a differential effect of tubal surgery among women
nor in studies of oncogenic human papilloma virus (HPV) and                                according to severity of retrograde menses and found that women
ovarian cancer, only one of which (Kaufmann et al., 1987) has                              who had heavy periods before hysterectomy tended to have a lower
detected HPV-6 DNA, in 10 of 12 ovarian cancers.                                           risk of ovarian cancer after surgery than women who had average
   Our study systematically combined information from women                                or light periods. This effect was not seen for tubal sterilisation,
with either tubal sterilisation or hysterectomy, to investigate the                        perhaps because menorrhagia often occurs after tubal sterilisation.
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 61 of 76 PageID:
                                  65801

                                              OVARIAN CANCER, HYSTERECTOMY, TUBAL STERILISATION                                                            951

After tubal occlusion, women who reported painful periods also                  primary peritoneal tumours, leaving exposure to irritants as one of
had a lower risk of ovarian cancer than those who had surgery but               the few likely causes; indeed, a 76% reduction in risk of peritoneal
did not have painful periods. This general tendency may be due                  tumours was observed after tubal occlusion. In view of this
merely to chance; alternatively, the differential effect may be real,           particular finding and the evidence presented here and elsewhere
suggesting that retrograde passage of endometrial fluid is involved.            that pelvic contaminants such as talc are associated with ovarian
Normal endometrium produces an array of cytokines and growth                    cancer, we conclude that closure of the fallopian tubes by surgery
factors which can stimulate proto-oncogenes and DNA synthesis                   prevents chronic contact between these agents and ovarian epithe-
(Smith, 1991); thus, endometrium in the peritoneal cavity could                 lium. It seems likely that peritoneal irritants act as co-carcinogens
enhance epithelial tumour development and progression.                          by increasing the accumulated number of mutational events in
   Finally, it was hypothesised that if peritoneal irritants do play a          ovarian surface epithelial cells.
causal role in the development of malignancy of the whole
peritoneal surface (Woodruff, 1979) and not only that portion                                             ACKNOWLEDGEMENTS
overlying the ovaries, then the risk of peritoneal cancers in
particular should be substantially reduced after tubal occlusion.                  Funding for this study was provided by the Australian National
This is because the causal mechanism generally proposed for                     Health and Medical Research Council and the Queensland Cancer
ovarian cancer—namely, the repetitive trauma and repair of the                  Fund. We are grateful to Dr. L. Salamonsen for advice regarding
ovarian epithelium (Fathalla, 1971)—would not be implicated for                 uterine influences on the ovary.

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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 62 of 76 PageID:
                                  65802




                       Exhibit 34
 Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 63 of 76 PageID:
                                   65803
2396




Perineal Talc Exposure and Risk of Ovarian
Carcinoma

Stella Chang, B.A.                                 BACKGROUND. Clinical and epidemiologic studies have indicated the possible exis-
Harvey A. Risch, M.D., Ph.D.                       tence of an association between ovarian carcinoma and talcum powder use. Talc
                                                   particles have been detected in histologic sections of ovarian carcinomas. It has
Department of Epidemiology and Public Health,      also been demonstrated that inert particles travel from the perineum to the ovaries.
Yale University School of Medicine, New Haven,     Results from epidemiologic investigations have varied, from risks increased by
Connecticut.                                       twofold to no significant risk detected.
                                                   METHODS. A total of 450 patients with borderline and invasive ovarian carcinoma
                                                   and 564 population controls in metropolitan Toronto and nearby areas of southern
                                                   Ontario, Canada, were identified. These subjects were interviewed about their
                                                   reproductive and menstrual histories as well as their exposure to dusting powders.
                                                   Continuous unconditional logistic regression methods were used for analysis.
                                                   RESULTS. Exposure to talc, via sanitary napkins, direct application to the perineum,
                                                   or both, was significantly associated with risk of ovarian carcinoma (odds ratio
                                                   [OR] 1.42, 95% confidence interval [CI] 1.08–1.86). A borderline-significant associa-
                                                   tion was detected between duration of talc exposure and risk (OR 1.09, 95% CI
                                                   0.98–1.21, per 10 years of exposure). No significant association was found between
                                                   frequency of exposure and risk. In comparing invasive and borderline carcinomas,
                                                   risk remained elevated for both carcinoma types. Only risk for invasive carcinoma
                                                   was statistically significant.
                                                   CONCLUSIONS. This investigation supports previous contentions that exposure to
                                                   talc may increase risk of ovarian carcinoma. Questionable trends in duration and
                                                   frequency of exposure suggest that further studies may be needed to clarify the
                                                   role of talc in the etiology of this disease. Cancer 1997;79:2396–401.
                                                   q 1997 American Cancer Society.


                                                   KEYWORDS: case-control studies, ovarian neoplasms, risk factors, talc.



                                                   O   varian carcinoma is the most commonly fatal gynecologic malig-
                                                       nancy.1 In the United States, approximately 26,000 women de-
                                                   velop the disease annually. Overall, the lifetime risk for the develop-
                                                   ment of ovarian carcinoma is 1.4 in 100.2 Because industrialized
                                                   nations generally have higher prevalence rates of this disease, envi-
Supported in part by Research Grant 6613-
                                                   ronmental exposure has been suggested as an etiologic factor.1
1415-53 from the National Health Research and
Development Program of Health Canada,                   Asbestos, a known sclerosing agent, has been shown to cause
awarded to Dr. Risch.                              bronchogenic lung carcinoma and mesothelioma.3 The incidence of
                                                   ovarian carcinoma generally increases with greater incidence of as-
Address for reprints: Harvey A. Risch, M.D.,       bestosis.4 Furthermore, female asbestos workers have unusually high
Ph.D., Department of Epidemiology and Public       numbers of peritoneal neoplasms, and an association between ovar-
Health, Yale University School of Medicine, 60
                                                   ian carcinoma and asbestos exposure has also been observed in ani-
College Street, P.O. Box 208034, New Haven,
CT 06520-8034.                                     mal models.2,5 Due to its chemical similarity to asbestos, talc has long
                                                   been suspected as a lung and ovarian carcinogen.2,6 Like asbestos,
Received October 23, 1996; revision received       talc is a magnesium silicate. Pulverized talc, or talcum powder, is a
January 31, 1996; accepted January 31, 1996.       popular bath and cosmetic product because of its absorbent and

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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 64 of 76 PageID:
                                  65804
                                                                         Talc and Ovarian Carcinoma/Chang and Risch    2397


  water-repellent properties. Talcum powder is often               Initial contact by letter was followed up with phone
  applied to sanitary napkins and condoms, as well as              calls to determine eligibility. Women with bilateral oo-
  directly to the perineum, typically after bathing. Early         phorectomy performed at least 1 year previously were
  pathology studies have identified talc particles in ovar-        excluded. Overall, 873 eligible controls were identified.
  ian tumors.7,8 An extraction-replication technique de-           Of these women, 564 (64.5%) were interviewed. The
  veloped by Henderson et al.7 detected talc particles             remainder either refused to participate (30.2%), were
  in approximately 75% of ovarian tumors examined.                 too ill to participate (1.9%), or were lost to follow-up
  Furthermore, studies of the transport of particles in            (3.2%).
  the human female reproductive tract have shown that                   A questionnaire was developed to detail the medi-
  nonmotile, inert carbon particles deposited in the va-           cal and reproductive histories of the subjects. This
  gina can be recovered 30 – 35 minutes later in the fallo-        questionnaire was administered during an in-person,
  pian tubes.9 Although findings of talc particles in ovar-        in-home interview after informed consent was ob-
  ian tumors initially met with skepticism, subsequent             tained. The questionnaire focused on menstrual char-
  evaluations appeared to support the contention of an             acteristics, pregnancies, and hormone and contracep-
  association between talc exposure and ovarian carci-             tive use. Questions about regular talc use and type of
  noma.10                                                          talc use, as well as questions from which information
       In addition to pathologic and clinical studies, sev-        about duration and frequency of exposure could be
  eral epidemiologic studies have addressed the plausi-            derived, were included. Dusting or powdering behav-
  bility of an association between talc and ovarian carci-         iors considered included regular application of talc to
  noma. Although many of these case-control studies                the perineum after showering or bathing and dusting
  revealed elevated risks,11 – 18 risk estimates from other        of talc on sanitary napkins. Parallel information about
  studies were not statistically significant19 – 20 or were        cornstarch use was also obtained.
  about unity.21 Thus, the possibility of a risk of ovarian             Analysis was performed by modeling the data
  carcinoma that is related to talc exposure remains to            through multiple unconditional logistic regression
  be investigated further. The population-based case-              with the SAS statistical package. In addition to the
  control analysis described in this article was con-              variables of interest examined here, the models in-
  ducted to examine the role of talc in ovarian carci-             cluded indicator terms for the age categories of the
  noma, with consideration of the duration, frequency,             frequency matching (35 – 49, 50 – 64, and 65 – 79 years),
  and method of exposure.                                          and age as a continuous variable was also included to
                                                                   adjust for residual age effects. Models also contained
  MATERIALS AND METHODS                                            terms for total years of oral contraceptive use; number
  Study methods have been reported in detail else-                 of full-term pregnancies; average duration of
  where22 and will be summarized here. Our study popu-             breastfeeding per pregnancy; and ever having had a
  lation consisted of women between the ages of 35 and             tubal ligation, a hysterectomy, or a mother or sister
  79 years residing in the highly populated area sur-              with ovarian or breast carcinoma.
  rounding the western end of Lake Ontario, Canada.
  Cases were women who had histologically confirmed                RESULTS
  primary, invasive or borderline epithelial ovarian tu-           Table 1 shows the descriptive characteristics of the
  mors first diagnosed between November 1, 1989, and               450 ovarian carcinoma cases and the 564 population
  October 31, 1992. Of the 631 women identified as                 controls. Age at interview was used as a matching vari-
  cases, 450 (71.3%) were interviewed. Fifty-five (8.7%)           able. As observed in many reports,20,22,23 controls had,
  had died, but proxy interviews were not conducted; 29            on average, a greater number of full-term pregnancies.
  (4.6%) had physicians who refused consent; 30 (4.8%)             A higher percentage of controls had had a tubal liga-
  were too ill to participate; 17 (2.7%) were lost to follow-      tion or a hysterectomy, whereas a higher percentage
  up; and 50 (7.9%) refused to participate.                        of cases had a mother or sister with ovarian or breast
       Population-based controls were identified through           carcinoma. Years of oral contraceptive use and months
  the Ontario Ministry of Finance. Information on name,            of lactation per pregnancy showed trends of decreas-
  address, age, and gender was obtained from the Enu-              ing risk with increasing exposure. There were no ap-
  meration Composite Record listings, which include all            preciable differences in the characteristics shown in
  homeowners, tenants, and family members, i.e., all               Table 1 between controls who reported ever having
  persons in the province. From this listing, women liv-           used talc and those not reporting talc use.
  ing in the study area during the same 3-year period                   Table 2 gives the associations between dusting be-
  as the cases were randomly selected. Controls were               haviors and risk of ovarian carcinoma. Overall, 44.0%
  matched to the cases within 3 15-year age groups.                of cases and 35.6% of controls reported exposure to




               / 7b58$$1136        05-18-97 23:46:38        cana       W: Cancer
  Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 65 of 76 PageID:
                                    65805
2398            CANCER June 15, 1997 / Volume 79 / Number 12


TABLE 1
Descriptive Characteristics of Study Population

                                                                                                                                                                                Adjusteda

Characteristics                                                       Cases                                    Controls                                   OR                                       (95% CI)

Age at interview (yrs)                                                57.2                                     57.5                                                             Matched
Born in Canada or the U.S. (%)                                        59.1                                     64.7                                       0.843                                    (0.64–1.11)
Race (% black)                                                        1.56                                     1.95                                       0.804                                    (0.30–2.17)
Length of schooling (yrs)                                             12.3                                     12.5                                       0.983                                    (0.95–1.02)
Number of full-term
   pregnancies                                                        1.90                                     2.45                                       0.820b                                   (0.71–0.92)
Yrs of oral contraceptive use                                         4.17                                     5.53                                       0.915b                                   (0.88–0.95)
Mos of lactation per pregnancy                                        3.95                                     4.21                                       0.946b                                   (0.91–0.99)
Ever had tubal ligation (%)                                           18.0                                     24.3                                       0.659                                    (0.47–0.93)
Ever had hysterectomy (%)                                             13.8                                     24.8                                       0.485                                    (0.34–0.69)
Mother/sister with breast or
   ovarian carcinoma (%)                                              12.9                                     7.98                                       1.917                                    (1.24–2.97)

OR: odds ratio; CI: confidence interval.
a
  Adjusted for age at interview; yrs of oral contraceptive use; number of full-term pregnancies; average duration of breastfeeding per pregnancy; and ever having had a tubal ligation, hysterectomy, or a mother
or sister with ovarian or breast carcinoma.
b
  OR per each, yr or mo, respectively.




talc. Women with any regular talc exposure were at                                                          use showed increased risk, relative to no talc exposure.
an increased risk (odds ratio [OR] 1.42, 95% confidence                                                     The mean frequency of talc use among those who had
interval [CI] 1.08 – 1.86). The use of cornstarch, or corn-                                                 ever used it was 14.6 applications per month for cases;
starch sometimes and talc sometimes, did not yield a                                                        for controls, it was 17.2 applications per month. As a
significant association with risk (cornstarch OR 0.31,                                                      continuous variable, monthly frequency did not sig-
95% CI 0.06 – 1.66; cornstarch/talc OR 0.68, 95% CI                                                         nificantly increase risk of ovarian carcinoma. Cate-
0.18 – 2.55). However, application of cornstarch to san-                                                    goric analysis of frequency showed that frequencies of
itary napkins or directly to the perineum was not com-                                                      less than 10 applications per month may be associated
mon in this population; less than 2% of the study pop-                                                      with increased risk; greater frequencies, however, did
ulation reported this behavior. With respect to the type                                                    not show significant increases in risk.
of exposure, substantially more women reported                                                                   To examine the effects of calendar time of expo-
applying talc to their bodies after bathing or showering                                                    sure and of hysterectomy or tubal ligation, we as-
than using talc on their sanitary napkins. Some 11.3%                                                       sumed that regular after-bath talc use commenced at
of cases and 8.7% of controls reported using talc on                                                        age 20 years. Table 2 shows that duration of after-bath
sanitary napkins. A nonsignificant increase in odds                                                         talc use both before and after 1970 appeared to be
was observed for talc exposure via sanitary napkins                                                         associated with risk of ovarian carcinoma. As might
(OR 1.26, 95% CI 0.81 – 1.96). In total, 38.2% of cases                                                     be expected, the increased risk seemed to be related
and 32.4% of controls reported that they had, at some                                                       mostly to talc use prior to tubal ligation or hysterec-
time, regularly used talc after bathing or showering.                                                       tomy (Table 2). There were no differences in these
The odds ratio seen for use of talc after bathing or                                                        results when various starting ages between 15 and 25
showering alone was of borderline statistical signifi-                                                      years were considered.
cance (OR 1.31, 95% CI 1.00 – 1.73).                                                                             The association between talc exposure and inva-
     The association between duration and frequency                                                         sive ovarian carcinoma, as compared with borderline
of talc use and ovarian carcinoma was also examined.                                                        ovarian carcinoma, was also examined (Table 3). Al-
The mean years of after-bath talc use were 32.9 for                                                         though the risk remained elevated for both carcinoma
cases who had ever used talc after bathing and 35.4                                                         types, only the risk for invasive carcinoma was statisti-
for controls. A borderline-significant trend for years of                                                   cally significant. No differences in risk with respect
talc exposure and risk of ovarian carcinoma was found                                                       to serous, mucinous, or endometrioid tumors were
(OR per 10 years of use 1.06, 95% CI 0.99 – 1.14). When                                                     observed in our data.
duration was considered categorized by tertiles of con-                                                          Substantial alteration in risk of ovarian carcinoma
trol use, only durations of less than 30 years of talc                                                      was not observed for general sanitary napkin use com-




                      / 7b58$$1136                      05-18-97 23:46:38                          cana               W: Cancer
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 66 of 76 PageID:
                                  65806
                                                                                                                     Talc and Ovarian Carcinoma/Chang and Risch          2399


  TABLE 2
  Risk of Ovarian Carcinoma with Use of Talcum Powder or Cornstarch

                                                                           No. (%)                                                                           Adjustedb

                                                            Cases                      Controls              Case meana          Control meana      OR              (95% CI)

  Any talc exposure                                         198 (44.0)                 201 (35.6)                                                   1.420           (1.08–1.86)
  Any cornstarch                                            2 (0.44)                   5 (0.85)                                                     0.305           (0.06–1.66)
  Cornstarch/talc                                           4 (0.89)                   7 (1.24)                                                     0.681           (0.18–2.55)
  Type of talc exposure
    Sanitary napkin                                         51 (11.3)                  49 (8.69)                                                    1.262           (0.81–1.96)
    After bathing                                           172 (38.2)                 183 (32.4)                                                   1.312           (1.00–1.73)
  After-bath talc use/mo                                                                                     14.6                17.2               0.890c          (0.74–1.07)
    õ10                                                     76 (16.9)                  59 (10.5)                                                    1.836           (1.24–2.73)
    10–25                                                   54 (12.0)                  64 (11.3)                                                    1.128           (0.74–1.72)
    ú25                                                     41 (9.11)                  60 (10.6)                                                    0.951           (0.61–1.49)
  Yrs of after-bath talc use                                                                                 32.9                35.4               1.091c          (0.98–1.21)
    õ30                                                     60 (13.3)                  52 (9.22)                                                    1.697           (1.09–2.64)
    30–40                                                   71 (15.8)                  67 (11.9)                                                    1.435           (0.96–2.15)
    ú40                                                     41 (9.11)                  64 (11.3)                                                    0.865           (0.54–1.38)
  Yrs of after-bath talc use
    Before 1970                                                                                              26.4                24.9               1.090c          (0.98–1.22)
    After 1970                                                                                               6.5                 10.4               1.095c          (0.89–1.35)
  Yrs of after-bath talc use
    Before tubal ligation/hysterectomy                                                                       28.4                26.9               1.105c          (0.99–1.24)
    After tubal ligation/hysterectomy                                                                        4.5                 8.5                1.031c          (0.82–1.29)

  OR: odds ratio; CI: confidence interval.
  a
    Mean among those who had ever used talc.
  b
    Adjusted as in Table 1.
  c
    OR for the continuous variable, shown per 10 applications per mo or 10 yrs of use, as appropriate.




  TABLE 3                                                                                                   DISCUSSION
  Risk of Ovarian Carcinoma for Women Who Ever Used Talcum                                                  Results from experimental and epidemiologic studies
  Powder Regularly, by Case Histology
                                                                                                            conducted thus far indicate a possible association be-
                                                 No. (%) who                      Adjusteda                 tween talc exposure and ovarian carcinoma. Histologic
                              Total no.          used talcum                                                evidence first indicated that contaminants such talc
  Histologic type             of cases           powder                   OR             (95% CI)           may become embedded in ovarian tumors.8,24 Experi-
                                                                                                            mental studies have shown that external talc exposure
  Invasive                    367                166 (45.2)               1.513          (1.13–2.02)
  Borderline                  83                 32 (38.6)                1.237          (0.76–2.02)        may eventually reach the ovaries. Henderson et al.10
  Serous                      254                109 (42.9)               1.336          (0.96–1.85)        demonstrated that talc was present in ovaries after
  Mucinous                    80                 35 (43.8)                1.585          (0.97–2.58)        deposition of a talc suspension in the vagina and cervi-
  Endometrioid                74                 36 (48.6)                1.671          (1.00–2.79)        cal os in rats. Similarly, Egli and Newton9 revealed in
                                                                                                            human studies that inert carbon particles deposited
  OR: odds ratio; CI: confidence interval.
  a
    Adjusted as in Table 1.                                                                                 in the vagina can later be recovered in the fallopian
                                                                                                            tubes. Although these studies demonstrated a possible
                                                                                                            route of exposure to talc, they were nevertheless un-
                                                                                                            able to address the effects of long term talc use.
  pared with tampon use. Because few women used san-                                                             Surprisingly, few subsequent pathologic and clini-
  itary napkins or tampons exclusively, the risk was ex-                                                    cal studies have been conducted. Epidemiologic stud-
  amined as a percentage of the length of time that sani-                                                   ies addressing the possible association between talc
  tary napkins were used and a percentage of the length                                                     and ovarian carcinoma have generally reported in-
  of time that tampons were used. Significant trends in                                                     creased risk estimates. Cramer et al.11 found a relative
  risk were not detected for a 10% difference in napkin                                                     risk of 1.92 (95% CI 1.3 – 2.9). Rosenblatt et al.12 re-
  use (OR 1.06, 95% CI 0.99 – 1.13) or for a 10% increase                                                   ported a relative risk of 2.4 (95% CI 1.1 – 5.3) for any
  in tampon use (OR 0.99, 95% CI 0.93 – 1.05).                                                              genital talc exposure. Likewise, Purdie et al. found a




                         / 7b58$$1136                     05-18-97 23:46:38                          cana           W: Cancer
 Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 67 of 76 PageID:
                                   65807
2400     CANCER June 15, 1997 / Volume 79 / Number 12


significant positive association between talc and ovar-        30 years, at frequencies of less than 10 applications
ian carcinoma,14 and other recent studies also support         per month, and prior to tubal ligation or hysterectomy
the hypothesis of elevated risk of ovarian carcinoma           showed the most significant elevations in risk in the
with talc exposure, reporting risk increases of approxi-       current study.
mately two-fold.16 – 18 A few studies have found only               When the outcome, ovarian carcinoma, was fur-
marginally significant or nonsignificant elevations in         ther segregated into invasive and borderline carcino-
risk.19 – 21 However, in investigations such as that re-       mas, talc exposure was associated with both but was
ported by Tzonou et al., the number of women who               only significant for invasive carcinomas. This result
reported talc usage was low.21 More detailed discus-           contrasts with the observations of Harlow et al.,13 who
sion of many of those studies may be found in reviews          found the strongest talc – ovarian carcinoma associa-
elsewhere.25,26                                                tions among women with endometrioid and border-
     This study sought to elucidate further the relation-      line tumors. Cook et al.18 reported no increase in risk
ship between talc and ovarian carcinoma. Talc expo-            of mucinous tumors; this was similar to our observa-
sure through direct perineal application and via sani-         tion that mucinous tumors may not be associated with
tary napkins, the frequency and duration of exposure,          other ovarian carcinoma risk factors.29 An earlier
and the effect of talc within specific histologic sub-         study, however, found no variation in risk by histologic
types were examined. Dusting with talcum powder                subtype,11 and the current study also found no differ-
was common behavior for more than one-third of                 ences in talc use associated with serous, mucinous, or
cases and controls. The primary mode of talc exposure          endometrioid tumors.
appeared to be direct application to the perineum.                  Several lines of evidence support the argument for
Although talc exposure via contraceptives such as con-         an association between talc usage and ovarian carci-
doms and diaphragms has been previously investi-               noma. Talc and asbestos are chemically related; and
gated,27 this type of behavior was rare in the current         although asbestos contamination in talc products has
study population and therefore omitted from analyses.          been closely regulated, talc and asbestos are frequently
Overall, greater risk was associated with any regular          found together in mining strata. Asbestos is a known
talc exposure (OR 1.42, 95% CI 1.08 – 1.86). Any talc          cause of pleural and peritoneal mesotheliomas, which
exposure included talc accumulated from sanitary               are histologically similar to ovarian carcinomas.19 Two
napkins, from powdering after bathing, or from both            possible mechanisms have been suggested for the role
behaviors. Talc exposures via sanitary napkin alone or         of talc in the etiology of ovarian carcinoma. With ovu-
after bathing conveyed similar magnitudes of in-               lation, entrapment of the ovarian epithelium within
creased risk.                                                  the stroma occurs. During this time, talc, if present,
     Commercial talc substitutes often replace talc            may become incorporated into these inclusion cysts,
with cornstarch. Furthermore, women may choose to              providing a favorable environment for carcinogene-
powder or dust with cornstarch instead of talc. When           sis.11 Alternatively, talc may serve to stimulate the en-
cornstarch was assessed in relation to risk of ovarian         trapment of the surface epithelium and may act in a
carcinoma, no associations were found. This suggests           manner similar to ‘‘incessant ovulation,’’ which has
that the association between talc use and risk of ovar-        been proposed as an etiologic factor in ovarian carci-
ian carcinoma may not be due simply to a difference            noma.11,30
in focus on hygiene between cases and controls. Use                 Differences in talc concentration among various
of cornstarch, however, was rare in our population, as         baby powders, body powders, and deodorizing pow-
less than 1% of the cases and controls reported use            ders were not investigated in this study. Furthermore,
of cornstarch alone, and very few cases and controls           reporting error in reported talc use and failure to inter-
reported use of cornstarch sometimes and talc some-            view all eligible case and control subjects may also
times.                                                         have led to biases. As with any case-control study,
     A questionable dose-response relationship was             the possibility of selection bias and information bias
observed between duration or frequency of exposure             exists, although the consistency of this study with oth-
and risk. Duration as a continuous variable indicated          ers that have addressed reproductive factors and ovar-
that risk may increase with increasing years of talc           ian carcinoma is reassuring.23 Further discussion of
exposure. These results are similar to findings by             the strengths and weaknesses of the current study may
Cramer et al.,11 Harlow et al.,13 Harlow and Weiss,28          be found in a previous report.23
Cook et al.,18 and Whittemore et al.,19 in which trends             The results of this study appear to support the
of duration and frequency were not significant. Booth          contention that talc exposure increases risk of ovarian
et al.23 reported a marginally significant trend with          carcinoma. Dusting with talcum powder is not an un-
frequency. It is noteworthy that exposures of less than        usual practice for women, and, given the heterogeneity




             / 7b58$$1136       05-18-97 23:46:38       cana       W: Cancer
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 68 of 76 PageID:
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                                                                                 Talc and Ovarian Carcinoma/Chang and Risch            2401


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Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 69 of 76 PageID:
                                  65809




                       Exhibit 35
    Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 70 of 76 PageID:
                                      65810
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Perineal Powder Exposure and the Risk of Ovarian Cancer



Unda S. Cook,1 Mary L. Kamb,1-2 and Noel S. Weiss 12


           This case-control study evaluated the nsk of epithelial ovanan cancer associated with genital exposure to
        vanous forms of powder application. Cases included all women aged 20-79 years in three counties of western
        Washington who were diagnosed wrth borderline or invasive ovarian cancer from 1986 through 1988; 64.3%
        of eligible cases were interviewed. A sample of similarly aged women who lived in these counties, identified
        by random digit dialing, served as controls. The overall response among control women was 68.0%.
        Information on powder application and other potential nsk factors was ascertained during the in-person
        interview. Overall, ovarian cancer cases (n = 313) were more likely than controls (n = 422) to ever have used
        powder (age-adjusted relative nsk (RR) = 1.5, 95% confidence interval (Cl) 1.1-2.0). After adjustment for age
        and other methods of genital powder application (none vs. any), an elevated relative nsk of ovanan cancer was




                                                                                                                                          Downloaded from http://aje.oxfordjournals.org/ by guest on October 1, 2014
        noted only for women with a history of penneal dusting (RR = 1.6, 95% Cl 1.1-2.3) or use of genital deodorant
        spray (RR = 1.9, 95% Cl 1.1-3.1) These results offer support for the hypothesis, raised by pnor epidemiologic
        studies, that powder exposure from perineal dusting contnbutes to the development of ovarian cancer, and
        they suggest that use of genital deodorant sprays may do so as well. Limitations of the present study include
        the fairly low proportion of eligible women who participated and the potential differential recall of powder
        usage. Am J Epidemiol 1997;145-459-65.

        ovarian neoplasms; powders; talc



   Studies documenting the migration of carbon parti-                       lation-based Cancer Surveillance System of western
cles and radioactive paniculate agents from the vagina                      Washington. Eligible case subjects included white
to the ovaries (1, 2), as well as those that have iden-                     women diagnosed between January 1, 1986, and De-
tified talc-like particles more frequently in ovarian                       cember 31, 1988, who resided in three counties of
tumors than in normal human ovarian tissue (3), have                        western Washington (King, Pierce, and Snohomish
raised concern that genital powder exposure may in-                         counties) and were 20-79 years of age at diagnosis.
crease a woman's risk of developing ovarian cancer.                         After obtaining permission from their personal physi-
While the results of several epidemiologic studies                          cians to contact the women and obtaining written,
have suggested elevated risks for ovarian cancer                            informed consent, we successfully interviewed 329
among women with genital powder exposures (4-11),                           (64.3 percent) of the 512 eligible case subjects. The
results have been inconsistent for particular methods                       remaining 183 women were not interviewed because
of powder application (12). In this population-based                        of death prior to study contact (n - 104, 20.3 percent),
case-control study, information on the method, dura-                        physician or subject refusal (n = 73, 14.3 percent),
tion, and frequency of powder application was col-                          and lack of success in locating the women {n — 6, 1.2
lected to evaluate the impact of genital powder expo-                       percent). Seven women whose self-reported race/
sures on the risk of epithelial ovarian cancer.                             ethnicity was other than white and nine women with
                                                                            unknown genital powder use were also excluded.
MATERIALS AND METHODS                                                       Thus, a total of 313 white women diagnosed with
  Women with invasive or borderline epithelial ovar-                        borderline (n = 79) or invasive (n = 234) epithelial
ian cancer were identified from records of the popu-                        ovarian tumors were available for analysis.
                                                                               Women identified as control subjects for this study
    Received for publication May 20, 1996, and accepted for publi-          were part of a larger control pool selected by random
cation October 22, 1996.
    Abbreviations- Cl, confidence interval; RR, relative nsk
                                                                            digit dialing (13) for several studies of cancer in
    1
      Fred Hutchinson Cancer Research Center, Seattle, WA.                  women. Of the total 10,109 calls made by random
    2
      Department of Epidemiology, University of Washington, Seat-           digit dialing, 5,853 (57.9 percent) were to nonresiden-
tle, WA.
    Reprint requests to Dr. Unda S Cook, MP-381, Fred Hutchinson            tial phone numbers, 3,830 (37.9 percent) were to res-
Cancer Research Center, 1124 Columbia Street, Seattle, WA 98104.            idential phone numbers, and 426 (4.2 percent) were to

                                                                      459
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 71 of 76 PageID:
                                  65811
 460   Cook et al.

 numbers of unknown residential status; 3,604 (94.1         method of powder application, the risk for ovarian
 percent) of the 3,830 calls to residential households      cancer among women who reported any use of the four
 were screened for eligible women who were age              methods of powder application was assessed while
 matched, in 5-year age groups, to the combined female      adjusting for the other methods of powder application
 cancer case group. Of the 721 women identified who         (table 3). Similarly, ovarian cancer risk by exclusive
 were eligible, 521 (72.3 percent) were successfully        and nonexclusive use of the type(s) of powder used for
 interviewed after written, informed consent was ob-        perineal dusting, diaphragm storage, or on sanitary
 tained. The overall response (random digit dialing         napkins was assessed (table 4). To assess the impact of
 screening response multiplied by the interview re-         genital powder exposure on the risk of specific histo-
 sponse) was 68.0 percent. Women who reported race/         logic categories of ovarian tumors (table 5), we
 ethnicity other than white (n — 28), age greater than      grouped borderline and invasive ovarian tumors ac-
 79 (n — 5), a history of bilateral oophorectomy            cording to the following International Classification
 (n = 58), uncertainty concerning a history of bilateral    of Diseases for Oncology histologic codes (15): serous
 oophorectomy (n = 4), and unknown genital powder           tumors (codes 8441, 8442, 8460, 8461, and 8462);
 use (n = 4) were excluded, resulting in a total of 422     mucinous tumors (codes 8470, 8472, 8473, 8480, and
 white control women for analysis.                          8481); endometrioid tumors (codes 8380, 8381, and
    Information regarding genital powder exposures          8560); and other tumors that included clear cell (code




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 was collected by structured, in-person interviews.         8310), undifferentiated (code 8020), and unclassified/
 Women were queried about storing diaphragms in             other (codes 8010, 8050, 8140, 8240, 8260, 8440,
 powder, dusting perineal areas with powder after bath-     8450, and 9000). All relative risk estimates were ad-
 ing, powdering sanitary napkins, and using genital         justed for age. Further adjustment for education, in-
 deodorant sprays (which may contain aerosolized            come, marital status, body mass index (weight (kg)/
 powder). Those who answered affirmatively were             height (m)2), oral contraceptive use, or parity did not
 questioned further about the duration and frequency of     alter the estimated relative risks. Information on lac-
 powder application and about the types of powder           tation was not available. Separate analyses for women
 applied. Powders were grouped into five categories:        diagnosed with invasive ovarian cancer and for those
 cornstarch, talcum powder, baby powder, deodorant          diagnosed with borderline ovarian cancer produced
 powder, and scented body/bath powder. Information          results very similar to those presented in tables 2-5.
 on demographic characteristics, reproductive history,
 medical and screening histories, smoking history, an-
 thropometry, and birth control methods was also pro-       RESULTS
 vided by the women. A calendar was used to record             Selected characteristics of ovarian cancer cases and
 major life events and enhance recall of past exposures.    controls are presented in table 1. Less education, a
 Relevant study information was recorded only for           lower household income, and a higher body mass
 exposures that occurred prior to the diagnosis date of     index were more common among women with ovarian
 cancer among the cases or the analogous reference          cancer than among control women, but oral contracep-
 date among controls.                                       tive use and having had a full-term birth were less
    Logistic regression (EGRET version 26.6; Statistics     common.
 and Epidemiology Research Corporation, Seattle,               Genital powder application was more common
 Washington) was used to determine odds ratios as           among cases (50.8 percent) than controls (39.3 per-
 estimates of the relative risk for ovarian cancer asso-    cent) (table 2). There was an overall 50 percent ele-
 ciated with genital powder application and 95 percent      vation in the risk for ovarian cancer associated with
 confidence intervals (14). For all the relative risk es-   the use of one or more of the four possible methods of
 timates reported in the present analysis, women who        genital powder application (95 percent CI 1.1-2.0).
 reported any method, type, or frequency of genital         Among women who exclusively used a single method
 powder application were compared with women who            of powder application, ovarian cancer risk was most
 stated that they had never applied genital powder in       strongly elevated among those who dusted perineal
 any manner (154 ovarian cancer cases and 256 con-          areas with powder after bathing (RR = 1.8, 95 percent
 trols). Trends were evaluated using the likelihood ratio   CI 1.2-2.9).
 statistic (14).                                               We further examined ovarian cancer risk among
    First, the relative risk for ovarian cancer among       women who reported application of genital powders
 women who reported exclusive use of one of the four        using each of the four methods, although not neces-
 methods of powder application was assessed (table 2).      sarily exclusive use of any method (table 3). Perineal
 Then, because many women used more than one                dusting was associated with an increased risk of ovar-

                                                                              Am J Epidemiol   Vol 145, No. 5, 1997
  Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 72 of 76 PageID:
                                    65812
                                                                                           Powder and Ovarian Cancer   461


           TABLE 1. Characteristics of epithelial ovarian cancer cases and controls: King, Pierce, and Snohomish
           counties, Washington State, 1986-1988

                                                          Cases                               Controls
                           Characteristic                (n = 313)                           (n = 422)
                                                   No                %               No                   %

                 Age (years)
                   20-34                            34               109              84                 19.9
                   35-^t4                           50               160             136                 32 2
                   45-54                            60               192              65                 154
                   55-64                            88               28 1             63                 14 9
                   65-79                            81               25 9             74                 17.5
                 Education (years)
                                                    15                4.8             14                  3.3
                   9-12                            124               39 6            144                 34.1
                   13-16                           146               466             219                 51 9
                   >16                              27                86              45                 107
                   Unknown                           1                03               0
                 Annual household Income ($)
                   <15,000                          90               28 8             83                 19.7




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                   15,000-30,000                    91               29 1            153                 36 3
                   >30>000-45,000                   60               192              81                 192
                   >45,000                          63               20 1             96                 22.7
                   Unknown/refused                   9                29               9                  21
                 Mantal status
                   Single                           32               10.2             33                  7.8
                   Married                         186               59.4            292                 69 2
                   Separated/divorced/widowed       95               304              97                 23 0
                 Body mass Index (kg/m2)
                   <21                              56               179              97                 23.0
                   21-22                            89               28 4            145                 344
                   23-24                            73               23 3             75                 17.8
                   ^25                              95               304             105                 24 9
                 Oral contraceptive use
                   Never or ^12 months             224               71 6            221                 52.4
                   >12 months but <5 years          50               160              93                 220
                   £5 years                         39               125             108                 25.6
                 Total pregnancies
                   0                                57               18.2             56                 13.3
                   1                                42               134              56                 13.3
                   £2                              214               684             309                 73 2
                   Unknown                           0                                 1                  02
                 Total full-term births
                   0                                79               25 2             83                 19.7
                   1                                46               14.7             69                 16.4
                   £2                              188               60.1            269                 63.7
                   Unknown                           0                                 1                  0.2




ian cancer (RR = 1.6, 95 percent CI 1.1-2.3), al-               percent CI 1.1-2.9), but we were unable to evaluate
though there was no clear pattern of increasing risk            exclusive perineal dusting in 1977 and thereafter since
with increasing duration of use. When the small con-            only four cases and 10 controls had this exposure. The
tribution of perineal dusting after a hysterectomy or           use of genital deodorant sprays was also associated
tubal ligation was excluded from the analysis, our              with an elevated ovarian cancer risk (RR = 1.9, 95
relative risk estimates were nearly unchanged (data not         percent CI 1.1-3.1), with the strongest elevation in
shown). In 1976, the cosmetic industry proposed vol-            risk among the small number of women {n — 15) who
untary guidelines to limit contamination of consumer            used these sprays for more than 1 year (RR = 2.7, 95
powders (16), and we attempted to evaluate ovarian              percent CI 1.1-6.6). Storing a diaphragm in powder or
cancer risk associated with any perineal dusting in             powdering sanitary napkins was not related to the risk
1976 or before and with exclusive perineal dusting in           of developing an ovarian tumor (RR = 1.0, 95 percent
1977 or thereafter. Women with any perineal dusting             CI 0.6-1.6, and RR = 0.9, 95 percent CI 0.5-1.5,
in 1976 or before had an elevated risk (RR = 1.8, 95            respectively).

Am J Epidemiol     Vol. 145, No. 5, 1997
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 73 of 76 PageID:
                                  65813
462   Cook et al.


            TABLE 2. Relative risk of epithelial ovarian cancer associated with any genital powder use and by
            exclusive use of various methods of powder application: King, Pierce, and Snohomlsh counties,
            Washington State, 1986-1988
                                                                  Ovarian
                                                                                          Controls
                                 Powder                        cancer cases
                                                                                         (n = 422)             RR»          95% Cl*
                                                                 (n°313)
                                                               No         %         No               %
               Lifetime genital powder application
                  None                                        154        49.2       256         60.7           1.0      Referent
                  Any                                         159        50.8       166         39.3           1.5      1 1-2.0

               Exclusive use of
                 Perineal dusting only                         55        17.6        48          11.4          1.8          1.2-2.9
                 Diaphragm storage In powder only              22         7.0        35              8.3       08           0.4-1.4
                 Powder on sanitary napkins only                12        3.8        10              24        1.5          0.6-3.6
                 Genital deodorant spray only                   18        5.8        28              6.6       1 5          0 8-3.0
                1
                    RR, relative risk, adjusted for age, Cl, confidence Interval




                                                                                                                                                      Downloaded from http://aje.oxfordjournals.org/ by guest on October 1, 2014
   No specific type of powder used for perineal dust-                         tent of talc, asbestiform minerals, or structurally sim-
ing, diaphragm storage, or on sanitary napkins was                            ilar compounds. Powder content has also varied over
strongly related to ovarian cancer risk, although there                       time, presumably with fewer asbestiform minerals
was a suggestion of an elevated risk associated with                          present in more recently manufactured products (17-
any use of talcum powder and bath/body powders                                19).
(RR = 1.6, 95 percent Cl 0.9-2.8, and RR = 1.5, 95                               Our results suggest that a history of perineal dusting
percent Cl 0.9-2.4, respectively) (table 4). When spe-                        or use of genital deodorant sprays has a modest influ-
cific histologic categories of ovarian tumors were ex-                        ence on the development of epithelial ovarian tumors,
amined, any genital powder application was associated                         whereas storing a diaphragm in powder or powdering
with an elevated risk for serous tumors (RR = 1.7, 95                         sanitary napkins does not. Direct comparisons of our
percent Cl 1.1-2.5) and the nonspecific category of                           results with those of the other nine published studies
other tumors (RR = 1.8, 95 percent Cl 1.1-2.8),                               (and among these studies) are somewhat limited be-
whereas no elevation in risk was noted for the small                          cause of differences in the definitions, groupings, and
number of women with mucinous tumors (RR = 0.7,                               analysis of genital powder use. Nonetheless, there is
95 percent Cl 0.4-1.4) or endometrioid tumors (RR =                           some consistency in results among studies. Seven
1.2, 95 percent Cl 0.6-2.3) (table 5).                                        studies including the present one (4, 6, 8-11) reported
                                                                              elevated relative risks for ovarian cancer, ranging from
DISCUSSION                                                                    1.3 to 3.9, among women with powder exposure by
                                                                              "dusting of the perineum." Of the three remaining
   There are several issues that should be considered in
                                                                              studies that evaluated the more general exposure of
the interpretation of our results. A sizable number of
                                                                              "talc use in genital/perineal area" (which may or may
women eligible for our study did not participate, par-
                                                                              not include perineal, sanitary napkin, diaphragm, or
ticularly among those with ovarian cancer. Many
                                                                              undergarment applications), two observed a modest
women with cancer died before they could be ap-
                                                                              elevation in ovarian cancer risk (5, 7), whereas one did
proached about participation in this study, and others
                                                                              not (20).
were too ill to participate. If substantial differences in
powder use existed between participating and nonpar-                             Most studies including the present one have found
ticipating women, our study results may over- or un-                          little, if any, excess risk for ovarian cancer among
derestimate the true risks for ovarian cancer. It is also                     women who stored their diaphragms in powder (4-8,
possible that the completeness of the reporting of                            10); only one study has reported a suggestion of an
powder use differed between cases and controls, bias-                         elevation in risk (11). In the present study, control
ing our relative risk estimates to some degree.                               women more frequently reported washing their dia-
   Additionally, it is not clear how well ascertainment                       phragms prior to use than did ovarian cancer cases, but
of perineal powder application correctly estimates ac-                        ovarian cancer risk was not substantially elevated for
tual exposure to particles in powder that may influence                       the small number of women who did not wash their
ovarian cancer risk. Different consumer brands of                             diaphragms prior to use. The relation between pow-
powder that women used, or even different lots of the                         dering sanitary napkins and ovarian cancer risk is less
same brand, may have varied substantially in the con-                         clear; three studies including the present study found

                                                                                                           Am J Epidemiol     Vol. 145, No. 5, 1997
  Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 74 of 76 PageID:
                                    65814
                                                                                                    Powder and Ovarian Cancer   463


           TABLE 3. Relative risk of epithelial ovarian cancer associated with genital powder use by methods of
           powder application: King, Pierce, and Snohomlsh counties, Washington State, 1986-1988*
                                                        Ovarian
                           Lifetime genital                                       Controls
                                                      cancer cases
                               powder                       313)                  (n = 422)         RRt       95%Clt
                             application             No          %          No                %
                 None                                154        49 2        256           60.7       1.0      Referent

                 Any perinea! dusting                 95        304          87           206        1.6      1.1-2 3
                   Cumulative lifetme days
                     £2,000                           20         64          22               52     1.8      0 9-3.5
                     2,001-5,000                      24         77          26               6.2    1.6      0.9-2 9
                     5,001-10,000                     21         6.7         22               52     1.2      0 6-2 4
                     >10,000                          28         8.9         17               40     1.8      0.9-3.4
                     Unknown                           2         0.6          0

                 Diaphragm storage in powder          46        147         51            12.1       1 0      0.6-1 6
                   Cumulative lifetme months
                     £60                              24         7.7        26                62    1 1       0 6-1.9
                     >60                              15         48         20                4.7   08        0.4-1 7
                     Unknown




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                                                       7         22          5                1.2
                   Usually washed before use
                     No                               19         61         14                33    1.4       0 7-3 0
                    Yes                               20         6.4        31                73    07        0 4-14
                     Unknown                           7         22          6                1.4

                 Any powder on sanitary napkins       38        12.1        40                9.5   09        0.5-1 5
                   Cumulatve lifetime months
                      £120                            25         80         21                5.0   1 3       0 7-2.4
                      >120                            12         3.8        19                4.5   05        0.2-1 1
                      Unknown                          1         03          0
                   Lifetime applicatons
                      £1,000                          23         7.3        19                45    1.3       0.7-2 5
                      >1,000                          14         45         21                5.0   06        0.3-1 2
                      Unknown                          1         0.3         0

                 Any genital deodorant spray          40        12.8        40                9.5    1.9      1.1-31
                   Cumulative lifetime months
                     £12                              24         7.7        31                74    1.5       0 9-2 8
                      >12                             15         48          9                21    2.7*      1.1-66
                      Unknown                          1         03          0
                   Lifetime applications
                      £500                            29         9.3        34                81    1.7       1 0-2.9
                      >500                            10         3.2         6                1.4   2 6*      0.9-7 6
                      Unknown                          1         0.3         0
              • Numbers do not add up to total cases and controls because women may have used a vanety of methods for
           powder application.
              t RR, relative nsk, adjusted for age and for the other methods of genital powder application (none, any), Cl,
           confidence Interval.
              * p value for trend < 0.05.



no association (6, 10), whereas three other studies                    powder and bath/body powders among women using
reported moderate elevations in risk (4, 8, 11).                       these powders for perinea] dusting, diaphragm storage,
  Only two other studies have evaluated particular                     or on sanitary napkins.
types of powder; one reported an excess risk of bor-                      The present study is the first to evaluate the associ-
derline ovarian tumors among women who used de-                        ation between genital deodorant spray use and ovarian
odorant powders (8), and another study reported an                     cancer risk; these preliminary results require confir-
excess risk of ovarian cancer among women who used                     mation in other studies. It is difficult to postulate that
baby powders (10). A strong relation between the                       an increased risk for ovarian cancer may specifically
types of powder used and ovarian cancer risk was not                   be due to powder and associated -constituents when
found in the present study, although there was a sug-                  some of the deodorant sprays do not contain aerosol-
gestion of an elevated risk with any use of talcum                     ized powder. It is possible that it is not powder per se

Am J Epidemiol     Vol. 145, No. 5, 1997
Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 75 of 76 PageID:
                                  65815
464   Cook et al.

            TABLE 4. Relative risk of epithelial ovarian cancer associated with type of powder used wtth perineal
            dusting, diaphragm storage, or sanitary napkins: King, Pierce, and Snohomlsh counties, Washington
            State, 1986-1988
                                                    Ovarian
                         Type                                                  Controls
                                                 cancer cases
                          of                       (n = 313)                  {n=422)                RR*          95%CI«
                        powder                 No            %          No                 %
               Lifetime use (none)            154          492          256               60.7       1.0      Referent

               Exclusive use of
                 Talcum powder only            16            51          16                3.8       1.2t         0.6-2.5
                 Baby powder only              31            99          36                8.5       1.4t         0.8-2.4
                 Comstarch only                 5            16          11                2.6       0.9t         0.3-2.9
                 Deodorizing powder only        9            29          10                2.4       10t          0.4-2.6
                 Bath/body powder only         27            86          25                5.9       1.6+         0.9-3 0
                 Unspecified type only         11            35           4                0.9

               Use oft
                 Any talcum powder             33          10.5          23                55        1.6§         0 9-2.8
                 Any baby powder               52          16.6          61               14.5       1.1§         0.7-1 8




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                 Any comstarch                  8           2.6          16                38        0 8§         0.3-2 0
                Any deodorizing powder         24            in          24                57        1.1§         0.6-2.0
                Any bath/body powder           52          166           43               102        1.5§         0.9-2.4
                 Any unspecified type          24           77           11                2.6
                * RR, relative risk; Cl, confidence Interval,
                t Adjusted for age
                X Numbers do not add up to total cases and controls with any powder use because women may have used a
            variety of powders
                § Adjusted for age and the other types of powders used (yes, no).


            TABLE 5. Relative risk of epithelial ovarian cancer associated wtth any genital powder use by tumor
            histology: King, Pierce, and Snohomlsh counties, Washington State, 1986-1988

                                                      Any                       No
                        Hlstotogk;              powder application       powder application          RR*          95% Cl*
                           type
                                                 No             %        No                %
               Controls                         166          39.3        256              60.7        10      Referent
               Serous tumors (n = 131)           71          54.2         60              458         1.7     1.1-2.5
               Muclnous tumors (n = 43)          14          32.6         29              67.4        0.7     0.4-1.4
               Endometrioid tumors (n = 36)      17          47.2         19              52.8        1.2     0.6-2 3
               Other tumorst (n = 103)           57          55.3         46              44.7        1.8     1.1-2 8
               * RR, relative risk, adjusted for age; Cl, confidence interval
               t Other tumors include 17 clear cell, three undrfferentJated, and 83 unclassified (adenocaranoma or
            unspecified carcinoma) tumors

but other unidentified chemical substances present in                   The specific constituent(s) of powders that may
deodorant sprays that may influence the development                  influence the development of ovarian cancer is un-
of ovarian cancer.                                                   known, although attention has been focused on fibrous
  A partner's use of condoms that were packed in talc                talc particles and asbestos (17-19, 22). Talc, a hydrous
could also have contributed to a woman's genital                     magnesium silicate, is a constituent of almost all body
powder exposure (21). There was insufficient infor-                  and baby powders except for those that are specifically
mation in the present study to address the influence of              labeled as talc free or pure comstarch. The nonfibrous,
condom use on the risk for ovarian cancer. Seven (2.2                sheet-like layers of talc in these powders slide across
percent) ovarian cancer cases and 19 (4.5 percent)                   each other, allowing a smooth application on the skin.
control women reported a history of exposure to con-                 Talc-based powders may also contain fibrous parti-
doms packed in talc, whereas 20 (6.4 percent) cases                  cles, most of which are talc fibers, but some can be
and 34 (8.1 percent) controls did not know if their                  asbestiform fibers (17, 18). While pure talc is rela-
partners had used condoms packed in talc. Further-                   tively nontoxic, adverse health effects can include
more, few women knew or remembered the brand of                      induction of talc granulomas when introduced in open
condoms their partners had used.                                     wounds and, in the occupational setting, pneumoconi-

                                                                                                 Am J Epidemiol     Vol. 145, No. 5, 1997
  Case 3:16-md-02738-MAS-RLS Document 9888-6 Filed 05/29/19 Page 76 of 76 PageID:
                                    65816
                                                                                             Powder and Ovarian Cancer           465


osis (talcosis) in individuals with long-term exposure              2. Ventor PF, Iturralde M. Migration of a paniculate radioactive
                                                                       tracer from the vagina to the peritoneal cavities and ovaries S
to talc dust (19). Occupational exposure to talc does                  AfrMedJ 1979,55 917-19
not appear to increase the risk for pulmonary malig-                3. Henderson WJ, Joslin CA, Turnbull AC, et al Talc and
nancies (19). Most animal studies confirm this, with                   carcinoma of the ovary and cervix J Obstet Gynaecol Br
                                                                       Commonw 1971;78 266-72.
lung tumors developing only in rats exposed to doses                4 Cramer DW, Welch WR, Scully RE, et al. Ovarian cancer and
of talc dust high enough to cause chronic obstructive                  talc- a case-control study. Cancer 1982;50:372-6
and restrictive lung toxicity (19). Excess ovarian tu-              5. Hartge P, Hoover R, Lesher LP, et al. Talc and ovarian cancer.
mors have not been reported in rats and mice with                      (Letter). JAMA 1983,250:1844.
                                                                    6 Wruttemore AS, Wu ML, Paffenbarger RS Jr, et al. Personal
long-term exposure to aerosol talc (23). In contrast,                  and environmental characteristics related to epithelial ovarian
occupational exposure to asbestos fibers has been                      cancer. II Exposures to talcum powder, tobacco, alcohol, and
shown to cause lung tumors (24) and has been asso-                     coffee. Am J Epidemiol 1988;128:1228-40
                                                                    7 Booth M, Beral V, Smith P Risk factors for ovarian cancer a
ciated with the development of ovarian tumors (25).                    case-control study. Br J Cancer 1989;60:592-8.
Thus, while there is little biologic or experimental                8 Harlow BL, Weiss NS A case-control study of borderline
evidence to support a role for talc per se in the devel-               ovarian tumors: the influence of perineal exposure to talc.
                                                                       Am J Epidemiol 1989,130:390-4.
opment of ovarian malignancies, the potential biologic              9. Chen Y, Wu PC, Lang JH, et al. Risk factors for epithelial
effects of consumer powders (with their variable con-                  ovanan cancer in Beijing, China. Int J Epidemiol 1992,21-
stituents) on the human ovary have not been well                       23-9.
                                                                   10 Harlow BL, Cramer DW, Bell DA, et al Perineal exposure to




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